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8
9                             UNITED STATES DISTRICT COURT
10                          SOUTHERN DISTRICT OF CALIFORNIA
11
12     JANET SIHLER, Individually and On              Case No.: 3:20-cv-01528-LL-MSB
13     Behalf of All Others Similarly Situated;
       CHARLENE BAVENCOFF, Individually               SECOND AMENDED CLASS
14     and On Behalf of All Others Similarly          ACTION COMPLAINT FOR:
15     Situated,,
                                                      (1) Violation of California’s Consumer
16                                      Plaintiffs,       Legal Remedies Act;
                                                      (2) Violation of California’s False
17     v.                                                 Advertising Law;
                                                      (3) Violation of the Unfair and Fraudulent
18     THE FULFILLMENT LAB, INC;                          Prongs of California’s Unfair
       RICHARD NELSON; BEYOND                             Competition Law;
19     GLOBAL INC.; BRIGHTREE                         (4) Violation of the Unlawful Prong
20     HOLDINGS CORP.; BMOR GLOBAL                        California’s Unfair Competition Law;
       LLC; DAVID FLYNN; RICKIE JOE                   (5) Civil RICO.
21     JAMES; and JOHN DOES 1-10,
22                                    Defendants.     DEMAND FOR JURY TRIAL
23
24
25
26
27          Plaintiffs Janet Sihler (“Ms. Sihler”) and Charlene Bavencoff (“Ms. Bavencoff”),
28    individually and on behalf of all others similarly situated nationwide and in the State of

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1     California, by and through the undersigned counsel, hereby file this Class Action
2     Complaint against Defendants THE FULFILLMENT LAB, INC. and RICHARD
3     NELSON (collectively, the “TFL Defendants”), BEYOND GLOBAL INC., BRIGHTREE
4     HOLDINGS CORP.; BMOR GLOBAL LLC; DAVID FLYNN; RICKIE JOE JAMES
5     (collectively, the “Keto Defendants”); and JOHN DOES 1 THROUGH 10, and allege as
6     follows:
7                                 JURISDICTION AND VENUE
8            1.    This Court has jurisdiction over this matter because this is a class action in
9     which, on information and belief, the damages exceed $5 million, exclusive of interest and
10    costs, the number of class members exceeds 100, and as demonstrated below, the parties
11    are diverse pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §
12    1332(d). The believed scope of the damages and number of class members are based on
13    Plaintiffs’ investigation and the BBB report attached as Exhibit 1.
14           2.    This court also has jurisdiction because Plaintiffs’ Racketeer Influenced and
15    Corrupt Organizations Act (“RICO”) claim, 18 U.S.C. §§ 1961, et seq., arises under federal
16    law.
17           3.    This Court has supplemental jurisdiction over the state law claims in this
18    action pursuant to 28 U.S.C. § 1367.
19           4.    This Court has personal jurisdiction over the TFL Defendants because they
20    conduct business in California, including this District. Specifically, the TFL Defendants
21    offer numerous “white label” products for wholesale purchase to its business clients,
22    including the scammers who created the Keto Products at issue and who are named as Keto
23    Defendants herein, for e-commerce and internet marketing brand. On information and
24    belief, the TFL Defendants also provide fulfillment services consisting of labeling,
25    packaging, product returns, and other services for its clients, including the Keto
26    Defendants. Indeed, the packing slips for the Keto Products are identical to the packing
27    slips generated by the TFL Defendants’ specialized software, which is shown to potential
28    clients on its website, and the return address listed on the packing slips for the Keto
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1     Products is the Post Office closest to the TFL Defendants’ office in Tampa, Florida.
2             5.   The TFL Defendants have sufficient minimum contacts with this State and/or
3     sufficiently availed themselves of the markets in this State through their return processing
4     of the Keto Products to consumers in this State, including this District, to render the
5     exercise of jurisdiction by this Court permissible. As the return processor, the TFL
6     Defendants are aware of the locations of dissatisfied customers who submit the products
7     for return, including those customers residing in this District. As described in further detail
8     herein, each Defendant purposely directed their conduct towards California residents.
9             6.   Defendants Beyond Global Inc., Brightree Holdings Corp., and BMOR
10    Global LLC sold the Keto Products and are subject to personal jurisdiction because it
11    purposely directed their advertising and sales to California residents as described herein.
12    Defendants Flynn and James controlled their activities and were “guiding spirits” behind
13    them.
14            7.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a) and (b) because
15    a substantial part of the events giving rise to Plaintiffs’ claims occurred while they resided
16    in this judicial district, including purchasing the Keto Products at issue.
17                                   NATURE OF THE ACTION
18            8.   This action involves a form of fraud and cybercrime that has become
19    increasingly common –and lucrative—across the Internet. This particular scam is designed
20    to lure consumers into purchasing worthless weight-loss pills branded “Ultra Fast Keto
21    Boost” and “Instant Keto” (collectively, “Keto Products”) by using fake celebrity and
22    magazine endorsements and claiming that well-known celebrities have endorsed the Keto
23    Products. The operators of this scam deceive consumers by falsely advertising that the
24    purchase prices of the Keto Products are significantly lower than the amounts actually
25    charged to the victims’ debit or credit cards.
26            9.   The scammers’ only goal is to fraudulently obtain the victims’ credit card and
27    bank account information. Once they have it, they send their victims five bottles of bogus
28    Keto Products (more than what they actually agreed to purchase), and then charge their
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1     victims the exorbitant price for all five bottles, a fact to which the victims never agreed and
2     were never properly informed. Simply put, the scammers brazenly overcharge their victims
3     for Keto Products that they never intended, nor consented, to purchase.
4           10.    Using multiple websites, the scammers present one face to the consumer—a
5     “landing page” website offering consumers to “Buy 3 Bottles, Get 2 Free” and “Buy 2
6     Bottles, Get 1 Free” with advertised prices around $120 or less, without any upfront
7     disclosure that, in truth, the consumer will be sent five bottles of pills – regardless of the
8     number of bottles the consumer chose to purchase - and will be billed for all five bottles at
9     a price around $200. They present a completely different face to the banks and credit card
10    companies investigating complaints and requests for chargebacks, which is a second
11    website appearing to fully comply with the law and fully disclose the actual prices of the
12    bottles. However, the second website—the “false front”—is never viewed by the
13    consumer. Instead, the consumer purchases the product from one of the landing pages on
14    a completely different website. Consequently, consumers are left with no recourse because
15    the scammers have defrauded their banks and credit card companies into believing the
16    consumers consented to be billed the actual prices that are listed on the “false front”
17    website, when in fact they did not.
18          11.    These scammers operate in rings, as described in Exhibit 1. Those rings
19    generally include: (1) the marketers/branders of the products, including Beyond Global
20    Inc., Brightree Holdings Corp., BMOR Global LLC, Flynn, and James, who create the
21    landing pages to lure unwitting victims to purchase the Keto Products and also operate a
22    “false front” website to avoid detection by the banks and credit card companies, (2) the
23    fulfillment companies, including the TFL Defendants, who provide generic “white label”
24    products to the marketers/branders, assist the marketers/branders with affiliate marketing
25    and advertising, distribute the products to unwitting consumers nationwide, and handle
26    returns when customers complain, (3) the affiliate networks, who offer generic landing
27    pages for the marketers/branders to simply add the name of their product and logo on the
28    bottle and connect the marketers/branders to individual affiliates who are paid to advertise
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1     the fake celebrity and magazine endorsements, (4) the companies who provide specialized
2     software for the scammers to create their landing pages and “false front” websites and to
3     utilize multiple merchant accounts and chargeback/re-billing screening in order to avoid
4     fraud detection by banks and credit card companies, and (5) the “crooked processors” who
5     assist the scammers in avoiding detection by bank and credit card companies.
6           12.    These rings of scammers are structured in this way in the mistaken belief that
7     the members of the ring will avoid liability by pretending to be legitimate businesses and
8     pretending to have no knowledge of the actions of the others. But every member knows
9     full well what they are doing—the marketers/branders intentionally seek out affiliates to
10    do their dirty work under the pretense of “independent contractor” agreements and operate
11    different websites to avoid fraud detection by banks and credit card companies, the
12    fulfillment companies, including the TFL Defendants, handle numerous consumer
13    complaints for the unauthorized billing of products the consumers did not purchase, the
14    affiliate networks offer generic landing pages for the marketers/branders to simply add the
15    name of their product and logo on the bottle and connect the marketers/branders to
16    individual affiliates who are paid to advertise the fake celebrity and magazine
17    endorsements, as well as the “crooked processors” who openly pitch themselves as being
18    able to help their clients avoid fraud detection and chargebacks.
19          13.    The marketers/branders of the Keto Products are a set of corporations
20    controlled by Defendants Flynn and James, including at least Beyond Global Inc.,
21    Brightree Holdings Corp. and BMOR Global LLC (collectively the “Keto Defendants”),
22    with any others unknown at this time and, therefore, referred to as John Doe Defendants
23    herein, the TFL Defendants should be held jointly and severally liable for the fraud
24    perpetrated by the Keto Defendants. The TFL Defendants knowingly enabled the Keto
25    Defendants to operate the Keto scam—and similar scams—and perpetrated the fraud
26    against consumers.
27          14.    Indeed, as described in detail herein, all of the Defendants together created a
28    lucrative enterprise selling the Keto Products and they have defrauded countless
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1     consumers, including Ms. Sihler and Ms. Bavencoff.
2           15.    This lawsuit seeks to hold accountable the members of the Keto scam that
3     defrauded Ms. Sihler and Ms. Bavencoff, defrauded their banks and credit card companies,
4     and defrauded many other consumers as well.
5
6                                           THE PARTIES
7                                              Plaintiffs
8           16.    Plaintiffs Janet Sihler is a citizen of the State of California and resides in the
9     city of Coronado, County of San Diego, California, where she resided at the time of her
10    purchase of the “InstaKeto” product.
11          17.    On or around December 11, 2019, Ms. Sihler signed up for a “Buy 3 bottles,
12    Get 2 free” promotion of the InstaKeto product with the expectation that she would be
13    billed for three bottles of the product at $39.74 each bottle, and she would receive two
14    additional “free” bottles, for a total purchase price of $119.22. Without her knowledge or
15    authorization, Ms. Sihler’s debit card was overcharged $198.70, which represents the total
16    price for five bottles at $39.74 each. A few days later, she received five bottles branded
17    “Instant Keto.” Ms. Sihler called the Customer Service number listed on the packing slip
18    to dispute the charge, but she was unable to obtain a refund. In fact, the customer service
19    representative informed Ms. Sihler that she would have to ship the bottles back at her own
20    expense to obtain even a partial refund. Ultimately, Ms. Sihler never recovered any of the
21    money taken from her by Defendants.
22          18.    Plaintiffs Charlene Bavencoff is a citizen of the State of California and resides
23    in the city of Santee, County of San Diego, California, where she resided at the time of her
24    purchase of the product. On or around October 14, 2019, Ms. Bavencoff saw a Facebook
25    advertisement for “Ultra Fast Keto Boost” and clicked through to a fake news article
26    claiming the product was endorsed unanimously by all six celebrity sharks on the hit series,
27    “Shark Tank.” Ms. Bavencoff reviewed the purchase options and chose one of the options
28    where she would receive additional bottles at no cost. Like Ms. Sihler, Ms. Bavencoff had
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1     the same expectation—that she would not be billed for the additional “free” bottles.
2     Several days later, she received five bottles of “Ultra Fast Keto Boost.” However, without
3     her knowledge or authorization, Ms. Bavencoff’s credit card was overcharged $198.70,
4     which represents the full price of $39.74 for each bottle.
5           19.     After Ms. Bavencoff tried one bottle and decided it did not work, she called
6     the Customer Service number listed on the packing slip, but the telephone number was
7     disconnected. Ms. Bavencoff never recovered any of the money taken from her by
8     Defendants.
9                                              The Defendants
10          20.     Plaintiffs are informed and believe Defendant THE FULFILLMENT LAB,
11    INC. (“TFL”) is, and at all times herein mentioned was, a corporation organized and
12    existing under the laws of the State of Florida, with its principal place of business located
13    at 5136 West Clifton Street, Tampa, Florida, 33634.
14          21.     Plaintiffs are informed and believe Defendant RICHARD NELSON
15    (“Nelson”) is, and at all times herein mentioned was, a resident of the State of Florida,
16    residing at 16506 Amberwind Lane, Apartment #108, Lutz, Florida 33558-4976.
17    Defendant Nelson is TFL’s current President.
18          22.     Plaintiffs are informed and believe, and based thereon allege, that at all times
19    mentioned herein, each of the TFL Defendants was and now is the agent, servant,
20    employee, representative, and/or alter ego of each of the remaining TFL Defendants, and
21    in so doing the acts alleged herein, was acting within the scope of the authority of such
22    agency, service, employment, representation, and/or alter-ego relationship with permission
23    and consent of each of the remaining TFL Defendants, and is jointly and severally liable
24    for the damages asserted herein.
25          23.     Plaintiffs are informed and believe Defendant BEYOND GLOBAL INC. is a
26    corporation organized and existing under the laws of Wyoming, who lists its address as
27    2232 Dell Range Blvd., Suite 245, Cheyenne, WY 82009 (a virtual office with many other
28    companies listed there), but whose actual principle place of business is in Nevada.
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1           24.    Plaintiffs are informed and believe Defendant BRIGHTREE HOLDINGS
2     CORP is a corporation organized and existing under the laws of Wyoming, who lists its
3     address as 2232 Dell Range Blvd., Suite 245, Cheyenne, WY 82009 (a virtual office with
4     many other companies listed there), but whose actual principle place of business is in
5     Nevada.
6           25.    Plaintiffs are informed and believe Defendant BMOR GLOBAL LLC is a
7     corporation organized and existing under the laws of Nevada, whose address is 7455
8     Arroyo Crossing #220, Las Vegas, NV 89113, and whose principle place of business is in
9     Nevada.
10          26.    Plaintiffs are informed and believe Defendant DAVID FLYNN is an
11    individual residing at 7762 Roaring Springs Circle, Las Vegas NV 89113. Mr. Flynn is a
12    Manager of BMOR Global LLC, is the Vice President of Brightree Holdings Corp and a
13    partner/owner of that company, and on information and belief, has a management position
14    at Beyond Global, Inc.
15          27.    Plaintiffs are informed and believe Defendant RICKIE JOE JAMES is an
16    individual residing at 6335 Paria Ct, Port Orange, FL 32128. Mr. James is a “Master
17    Distributer” at BMOR Global LLC, is the CEO of Brightree Holdings Corp and a
18    partner/owner of that company, and on information and belief, has a management position
19    at Beyond Global, Inc.
20          28.    Plaintiffs are informed and believe DEFENDANTS JOHN DOE 1
21    THROUGH 10 are any other individuals, corporations, or entities responsible for
22    marketing, branding, and/or selling the Keto Products, and any individuals, corporations,
23    or entities providing the capacity to evade fraud detection through services relating to credit
24    card or debit card processing (collectively, the “Doe Defendants”). The true names and
25    capacities of the Doe Defendants sued herein as JOHN DOE 1 through 10, inclusive, are
26    currently unknown to Plaintiffs, who therefore sue such Defendants by fictitious names.
27    Each of the Doe Defendants designated as a JOHN DOE is legally responsible for the
28    unlawful acts alleged herein. Plaintiffs will seek leave of Court to amend this Complaint to
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1     reflect the true names and capacities of the JOHN DOE Defendants when such identities
2     become known.
3           29.    Plaintiffs are informed and believe, and based thereon allege, that each of the
4     Defendants aided and abetted one another by providing substantial encouragement and/or
5     assistance in doing the acts alleged herein, with knowledge of the wrongful nature of the
6     conduct and the harm to Plaintiffs that would result therefrom. There is, and was, a
7     substantial causal connection between the conduct of the aider and abettor and the harm to
8     Plaintiffs, and the encouragement and/or assistance was a substantial factor in causing the
9     resulting harm. As a result, Defendants are not only liable for their direct torts and tortious
10    conduct but are secondarily liable to Plaintiffs as a result of their aiding and abetting.
11                                   FACTUAL ALLEGATIONS
12                                     Background on the Scam
13          30.    The Internet has been plagued in recent years by a flood of scams enticing
14    consumers into purchasing worthless weight-loss products by using fake news articles, fake
15    celebrity endorsements, and fake customer reviews that boast miraculous results and
16    benefits of the products—none of which are true. The scammers advertise their products
17    for a certain price, including promotional offers such as “Buy 3 Bottles, Get 2 Free,” then
18    send all of their victims five bottles of the product, regardless of the number of bottles they
19    actually purchased. The customers soon discover that their debit or credit cards are
20    overcharged for all five bottles that they did not order and never intended to purchase—a
21    “straight sale” scam that is anything but straight.
22          31.    The scammers make the refund and return process virtually impossible, and
23    as a result, most customers are unable to recover their money, including Ms. Sihler and
24    Ms. Bavencoff. This has become a lucrative business as the scammers churn out the same
25    bottles of bogus weight-loss products with different names and labels to continue
26    perpetrating their scheme. The efforts by the Federal Trade Commission (“FTC”) and
27    other regulators to shut down these scams has created a virtual “whack-a-mole” in that
28    scammers can close up shop with one bogus product, then quickly and easily start selling
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                                SECOND AMENDED CLASS ACTION COMPLAINT
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1    another product using the same fraudulent techniques.
2          32.    These scams are not just deceptive—they are criminal. This lawsuit seeks to
3    shut down the ring of scammers who defrauded an unknown number of people, including
4    the named plaintiffs, Janet Sihler and Charlene Bavencoff.
5          33.    The Better Business Bureau (“BBB”) issued a study in December 2018 titled
6    “Subscription Traps and Deceptive Free Trials Scam Millions with Misleading Ads and
7    Fake Celebrity Endorsements.” See Exhibit 1 attached hereto. Written by C. Steven Baker,
8    an International Investigations Specialist for the BBB and former Director for the Midwest
9    Region of the FTC, the report explains in detail the tactics used by scammers to exploit
10   customers who are unaware of their fraudulent techniques.
11         34.    According to the report, these scams have “infested the internet and social
12   media.” Ex. 1, at p. 1. Although the report focuses on “free trial” scams, the same fraudulent
13   techniques used by those scammers are used by the Defendants here, and in fact, the scam
14   here is an evolution of the “free trial scam” designed to avoid FTC scrutiny by billing for
15   a group of unordered bottles all at once, rather than through a continuity subscription. The
16   similarities are clear. For example, all of these scams start out the same way: “You’ve seen
17   them on the internet: ads or links leading to pictures of celebrities and products that sound
18   intriguing. The ads claim these ‘miracle’ products will help you lose weight easily, combat
19   wrinkles or whiten teeth. Often, fraudulent operations involved with these types of ads
20   employ the latest internet marketing techniques and professional looking websites.”
21         35.    While victims of the traditional “free trial scam” are enticed to purchase
22   products through a “risk-free” trial, victims of this “straight sale” scam like Ms. Sihler and
23   Ms. Bavencoff are enticed by the promise of “free bottles.” They are subjected to fake
24   celebrity endorsements and fake customer reviews showing extreme weight loss, as well
25   as the promotional offers to receive “free” bottles of the product. Later, they are shocked
26   to discover that their debit or credit cards have been charged almost $200. The report
27   continues: “There may be a risk that the product doesn’t work as claimed, but it costs next
28   to nothing to find out. Just enter your name, address and credit card number and act quickly;
                                               10
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1    supplies are limited. Better Business Bureau’s (BBB’s) in-depth investigative study found
2    that many of these free trial offers are not free. They do not just send free product samples
3    to try. If you can locate and read the fine print on the order page, or the terms and conditions
4    buried by a link, you’ll discover that you may have only 14 days to receive, evaluate and
5    return the product to avoid being charged $100 or more. In addition, the same hidden
6    information may state that by accepting the offer, you’ve also signed up for monthly
7    shipments of the products. Those also will be charged to your credit card and become
8    subscription traps. Many people find it difficult to contact the seller to stop recurring
9    charges, halt shipments and get a refund.” Ex. 1, at p. 1.
10         36.    The Defendants used similar fraudulent techniques to perpetrate their illegal
11   scam here—indeed, they learned them through a long history of perpetrating “free trial
12   scam” prior to changing their methods to offering “free bottles.” And as the BBB
13   recognized in its study, the sellers of these products are not the only active participants in
14   these scams: “The fraud involves a variety of players, from those who obtain the products
15   to advertisers, shippers and credit card processors.” Ex. 1 at 1.
16         37.    For example, the companies involved often hire “affiliates” to place
17   advertisements for them or to create fake celebrity ads, paying them commissions. Ex. 1
18   at 3. Those affiliates are often hired or paid through a separate “affiliate network.” Id.
19         38.    The BBB describes the role of affiliates and affiliate networks as follows:
20   “Many fake free trial offers use affiliate networks to advertise their products. Someone
21   who wants to drive traffic to their website hires an affiliate network, which in turn hires
22   individual affiliates to place advertising. The affiliates often buy space for ads or sponsored
23   content on popular websites. Clicking on one of these ads will take people to a website
24   where products are sold, or to a ‘landing page’ that then refers users to the main site for the
25   product. Commissions are paid to the affiliate network, which in turn pays the affiliates.
26   Affiliates can either be paid per click or per order placed. Commissions for these
27   misleading ‘free trial’ offers can be $30 to $50 for every person who signs up.” Ex. 1 at 6.
28
                                                11
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1          39.    Another typical player in the scam operations is the “fulfillment company”—
2    which is a company that manufactures and ships the products to consumers, but in fact
3    plays a much greater role in the scam, acting as consultants and creating turn-key scam
4    products knowing full well how they are being sold. The BBB study makes clear that these
5    fulfillment companies are active participants: “The free trial offer operations also have to
6    get the product shipped to victims. Often, fraudulent free trial operations use fulfillment
7    companies to ship the products and, presumably, accept returns.” Ex. 1, at p. 9.
8          40.    A final type of participant in these scams are third party companies which
9    assist in preventing the scammers from losing their merchant accounts with credit card
10   companies or otherwise being flagged for their fraud: “Using a crooked processor. Banks
11   that offer credit card processing hire Independent Sales Organizations (ISO’s) to solicit
12   and sign up merchants for them. The banks require that these agents comply with detailed
13   rules before opening accounts to determine if they are legitimate and to monitor their
14   activity for signs of fraud, such as reviewing chargeback rates and other suspicious activity.
15   But what if those providing processing services are in on the fraud? The FTC has sued a
16   number of these ISOs over the years, often alleging that these third parties were aware of
17   the fraud or actively assisted in helping a fraudulent company evade the rules of the credit
18   card system. For example, in one FTC case an ISO spread the credit card charges over 26
19   merchant accounts to disguise the fraud activity.” Ex. 1 at 11.
20         41.    The fact that “affiliate marketing” is rife with illegal scam operations is well
21   known in the industry. At the Affiliate Summit West in 2019, the preeminent conference for
22   affiliate marketers, the keynote speaker, Neil Patel, repeatedly acknowledged in frank
23   language how widespread such scams are among Internet marketers and among attendees
24   of the conference:1
25
26
27   1
      Neil Patel, The Future of Affiliate Marketing: It’s Not What You Think,
     https://www.youtube.com/watch?v=2hUdbztKLY4 at 0:20 (last visited Jan. 3, 2019)
28   (emphasis added).
                                               12
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1              The sad reality is, at least for a lot of affiliates, the way affiliate marketing
               was a few years ago isn’t gonna exist anymore and it’s gonna get tougher and
2
               tougher. You know, I remember years ago in San Diego I was meeting some
3              friends and they’re like, yeah, we’re selling some skin care product, we got to
               zero to $100 million dollars a year in revenue in twelve months with a brand
4
               new company. Those days are long gone. As you can guess some of those
5              guys probably got hit by the FTC as well.
6
               42.      Mr. Patel continued:2
7
8              I’ve got a marketing blog. I see what a lot of affiliate marketers think ‘cause
               a shit load of ‘em hit me up every single day, I think I’m number one on
9              Google for affiliate marketing. I could be wrong, maybe number two. Either
10             way I just get a ton of affiliate marketing traffic. So, let’s go over fact number
               one: how affiliates currently make money. And hopefully you guys don’t get
11             offended, I’m just gonna be stating the facts. Churn and burn model with
12             Facebook accounts. You guys know what I’m talking about, you used to pay
               people fifty bucks, it used to be crazy back in the day, people were paying
13             hundreds of dollars for Facebook accounts and then they would churn and
14             burn ‘em. You guys familiar with this? No? I love it, you have the biggest
               smile and you’re like, no, and now you’re turning away, you’re like don’t look
15             at me, hopefully no camera’s on me. (LAUGHTER). That’s okay. Everyone
16             has to make a livin’. Hopefully you crushed it while you can. The next model:
               fake news landing pages. “The Shocking Reason Why Joy Behar Is
17             Quitting The View.” Well it’s because she took this new wrinkle cream.
18             (LAUGHTER). She looked ten years younger and now this is what she’s
               selling. And you know what? Joy’s story is so amazing, on that landing page
19             is also a testimonial from her friend Oprah. (LAUGHTER). On how this
20             wrinkle cream also made Oprah look twenty years younger. And you know
               what? Oprah also lost ten pounds while taking this wrinkle cream.
21             (LAUGHTER). She was so addicted to it she was taking it at night, but luckily
22             when her power went off she had one of those flashlights, the survival ones.
               (LAUGHTER). Right?
23
24             That’s how affiliate marketers make money. And again, I’ve seen it,
               there’s nothing wrong with it. Some of you guys do straight sells, so when
25             they click from that Oprah landing page, they go into a straight sell
26             instead of forced continuity. And that’s fine as well. And again this is forced
               continuity, you tell ‘em it’s a free trial, but they don’t really see in the fine
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28   2
         Id. at 5:41.
                                                    13
                                   SECOND AMENDED CLASS ACTION COMPLAINT
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1          print that they’re gonna get billed every single month. And then you target the
           older demographics who have no idea why they’re continually getting
2
           rebilled. And then some of you guys have what’s called a quote-unquote
3          hell room that just deals with the calls. And the refunds. Or the credit
           card processors where you guys rotate up the chargebacks so then that
4
           way, then you guys can keep processing the money.
5
6          43.   Mr. Patel acknowledged that a widespread FTC crackdown was occurring:3
7
           The FTC has been cracking down on certain companies and industries, hence
8          you’re seeing a lot less forced continuity. You guys, many of you have issues
9          with credit card processing, so you’ll do things like, I forgot what the saying
           is but they rotate up the MIGS or the MIDS, I don’t know what the saying is
10         but it’s more so they’re controlling where the chargebacks are going.
11
12         44.   Mr. Patel described the FTC efforts to target not just affiliate marketers but
13   companies such as Facebook:4
14         But they get pressure. ‘Cause those old grandmas are like, hey! Facebook
           screwed me over! They sold me this wrinkle cream! One, I still have my
15
           wrinkles. Two, they keep advertising these false products. So they get
16         pressure. The government doesn’t just want to stop the companies, they go to
           the source and say, stop them from advertising.
17
18         45.   At a Keynote Panel that followed Mr. Patel’s speech, several panelists who
19   operate affiliate networks addressed the same issue. An audience member who was
20   inexperienced in the industry posed the following question about the fake news articles
21   used by many affiliate marketers:5
22
23         Ok, I’m relatively new to the affiliate game myself. Uh, I started my
           business at home, and I have to say that I’m very pleased with the industry
24
25
     3
       Id. at 10:10.
26   4
       Id. at 16:16.
27   5
       Affiliate Summit West 2019 Keynote Panel,
     https://www.youtube.com/watch?v=6KRA8fL6hp0&t=281s, at 50:02 (last visited Feb. 9,
28   2020) (emphasis added).
                                              14
                             SECOND AMENDED CLASS ACTION COMPLAINT
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1            coming out of 25 years of health care. So, my question is, what are the
             regulations from the Federal Trade Commission that publishers are gonna
2
             have to deal with that’s gonna impact our revenue? And is the fed—you guy’s
3            dealing with the Federal Trade Commission, would that impact us? You guys.
             If there was something that you guys had—you had to deal with, that, would
4
             that impact the way we do business with you? .... What is the government
5            looking at as far as publishers, you know, I mean, what do we, what, in the
             next five years, is gonna be the regulations for us in content? Like the fake
6
             news stuff. Everybody talk about the fake news, but nobody even, like,
7            call people who put fake news out. Nobody calls ‘em on it. You know, they
             continue to do it. If I wanted to put something up about one’a you guys,
8
             fake news, what would stop that? You know? What type’a federal laws
9            are gonna be put in place to keep that from happening?
10           46.    The inexperienced audience member may not have understood why these
11   illegal practices were being tolerated by the industry, but the panel knew perfectly well.
12   And their response gave away the game. Todd Crawford, the Vice President of Strategic
13   Initiatives at Impact Radius, a company that connects affiliates to advertisers, responded
14   as follows:6
15           Well, you know, the FTC requires you to disclose that you’re earning money
16           from your links, that you may be earning money for referring sales. You
             know, if you’re promoting fake news, I think that’s more of a brand
17           decision or maybe a network decision on their policy of what they accept.
18           I mean, we even have criteria that, in our marketplace environment, you have
             to, you know, you can’t do certain things that maybe a brand would work with
19           you direct through. So, it, I think there’s no simple answer there but the big
20           picture is the disclosures by the FTC, because they’re going to come after you.
             47. Earlier in the panel, Mr. Crawford commented on a question about what
21
     affiliate networks do when fraud is detected on their networks:7
22
             Well, for example, this is years ago. I helped found Commission Junction. So
23           when I was working there, a very large publisher violated the agreed upon
24           terms that everybody else in here had agreed to, and we kicked ‘em out for
             over a year, and no other network did anything.... [I]n the U.S., it’s so spread
25           out, and it is kinda this every man or woman for themselves. And they’re
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27
     6
         Id. (emphasis added).
28   7
         Id. at 21:44.
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                                 SECOND AMENDED CLASS ACTION COMPLAINT
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1           gonna run their business how they want. I’m all for it, but...
2
            48.    Mr. Crawford’s statements make clear that the companies that are supporting
3
     the scammers are making a policy decision to allow that conduct to occur on their networks.
4
     And he further makes clear that some businesses have chosen not to work with these
5
     scammers, and that they are perfectly capable of doing so. The companies that work with
6
     the scammers are making voluntary, intentional, and knowing decisions to do so—and they
7
     are making that choice because it is an extremely profitable one.
8
            49.    Tellingly, representatives for the TFL Defendants attended both the Affiliate
9
     Summit West in Las Vegas, where Mr. Patel and Mr. Crawford were the keynote speakers,
10
     and the Affiliate Summit East in New York.            Upon information and belief, these
11
     representatives attended the conferences specifically for the purpose of finding scammers
12
     to be their clients.
13
            50.    The attitude of Mr. Patel and others in the affiliate marketing “industry” that
14
     “there’s nothing wrong with” this behavior is deeply disturbing: there is in fact something
15
     quite wrong with targeting the unwitting consumer, the poor, and the elderly with fake
16
     news advertisements and fake “free bottle” promotions for the purpose of defrauding their
17
     debit and credit cards before the victim notices. It is little more than outright theft
18
     conducted under the barest fig leaf of a “business”—and it is precisely what the Defendants
19
     were doing here.
20
            51.    These scams generally involve more than one individual or companies
21
     conspiring together and generally playing the roles described above. Believing that they
22
     can pretend that their affiliates are independent contractors, or that they can pretend to see
23
     no evil and hear no evil and thus escape legal liability, the conspirators work together as a
24
     group to profit from the fraud. But they are quite wrong to believe that they are safe—every
25
     member of these conspiracies knows full well what they are doing, and every member is
26
     jointly and severally liable for the conduct of the others.
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                               SECOND AMENDED CLASS ACTION COMPLAINT
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1                          Plaintiffs Janet Sihler and Charlene Bavencoff are Two of
2                                        Many Victims of the Keto Scheme
3             52.     On or about December 11, 2019, Plaintiffs Janet Sihler saw an advertisement
4    for a weight loss product called “InstaKeto” as she was browsing the Internet. The
5    advertisement stated the product was featured on the well-known television show, “Shark
6    Tank.” She clicked on the advertisement, which took her to the InstaKeto landing page,
7    where she purchased the bottles.
8             53.     Ms. Sihler entered her credit card information and expected to be taken to a
9    final review and submit page that would show her the total purchase price. Instead, the
10   next page stated: “Your order has been submitted.”
11            54.     Ms. Sihler subsequently received a charge on her debit card for $198.70. The
12   charge on her debit card showed the merchant account as “VYA*KETOBOOST
13   8889700695 Port Orange FL.”
14            55.     A few days later, she received five bottles branded “Instant Keto” with a
15   packing slip. The packing slip did not show any prices.8
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         Image redacted to remove Ms. Sihler’s address.
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1          56.    Although the five bottles were labeled “Instant Keto,” the packing slip
2    described the bottles as “KetoBoost” and identified the shipper as “Ultra Fast Instant Keto”
3    with an office located at 3201 Hillsborough Avenue 153201-1378, Tampa, Florida, 33684.
4          57.    Ms. Sihler called the Customer Service telephone number to request a refund.
5    The Customer Service representative flatly refused and informed Ms. Sihler that she would
6    have to ship the bottles back at her own expense to obtain even a partial refund. Ms. Sihler
7    was never able to recover her money.
8          58.    Similarly, on or about October 14, 2019, Plaintiff Charlene Bavencoff saw an
9    advertisement on Facebook for a weight-loss product called “Ultra Fast Keto Boost.” She
10   clicked on the advertisement, which took her to a fake news article claiming the product
11   was featured on “Shark Tank.” She clicked on the advertisement, which took her to the
12   Ultra Fast Keto Boost’s landing page, where she purchased the bottles.
13         59.    Ms. Bavencoff subsequently received a charge on her card for $198.70. The
14   charge on her credit card showed the merchant account as “UltraFast Keto Boost 8444-
15   7041211NV.”
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1            60.   A few days later, she received five bottles branded “Ultra Fast Keto Boost”
2    with a packing slip. The packing slip does not show any prices.9
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18           61.   Ms. Bavencoff tried one bottle for a few weeks; however, she decided the
19   product did not work so she did not use it any further. When she tried contacting Customer
20   Service to obtain a refund, the phone number was disconnected. Like Ms. Sihler, Ms.
21   Bavencoff has not been able to recover her money from Defendants.
22           62.   Although Ms. Sihler and Ms. Bavencoff purchased different products, their
23   packing slips for “InstaKeto” and “Ultra Fast Keto Boost” are virtually identical. Both
24   packing slips have the same layout with the same fields, label size, and font. The shipper’s
25   name and return address are identical as Ultra Fast Instant Keto, 3201 Hillsborough Avenue
26   153201-1378, Tampa, Florida, 33684.
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28   9
         Image redacted to remove Ms. Bavencoff’s address.
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                              SECOND AMENDED CLASS ACTION COMPLAINT
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1          63.    Both Ms. Sihler and Ms. Bavencoff were injured by Defendants’
2    misrepresentations and unfair and unlawful business practices. They suffered a loss of time,
3    inconvenience, and a loss of money. They paid more for the products than they would have
4    had they been aware that Defendants’ representations were false, and ended up with
5    products that were overpriced, inaccurately marketed, and did not have the characteristics,
6    qualities, or value promised by Defendants, and therefore suffered injury in fact.
7                                            The Keto Scam:
8         A Victim Encounters the Product Advertisement through a “Sales Funnel”
9          64.    The “sales funnel” for the Keto Products - the series of websites which leads
10   a victim to sign up for a fraudulent purchase—is typical of the scams about which the FTC
11   and BBB have issued repeated warnings to consumers.
12         65.    The victim initially encounters an advertisement for the product through a
13   third-party site, such as Facebook, which takes the victim to one of the product’s landing
14   pages. Both Ms. Sihler and Ms. Bavencoff viewed online advertisements claiming that the
15   “InstaKeto” and “Ultra Fast Keto Boost” products were unanimously endorsed by all six
16   celebrity “sharks” on Shark Tank.
17         66.    Many of these landing pages are hidden from search engines, they are made
18   inaccessible to anyone who does not view an advertisement, or they are deleted after a few
19   weeks or months to avoid detection. While the specific pages Ms. Sihler and Ms. Bavencoff
20   viewed are unknown, there are two known landing pages for the Keto Products.10
21         67.    One of the known “Ultra Fast Keto Boost” affiliate pages is titled “Weight
22   Loss Supplement That Naturally Burns Fat Gets Biggest Deal in Shark Tank History.”11
23
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25   10
        For Ultra Fast Keto Boost, the landing page is https://ultrafastketoboost.com. For
     InstaKeto, the landing page is http://instaketo.com.
26   11
        Although the webpage is designed to look legitimate, the actual URL is:
27   https://santa-claus.clientshopping.com/?Flow=6915668891661758&uid=
     e20839cde0417e819ec6e97d0cfac59e&access_token=E2gaoH9-
28   zGoFuJ4UuAJGbzrKbDdqeJrKIOD5sF36h=4JuENPNzjMeyrNVUuNXCZ5iWIDdycyr
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                              SECOND AMENDED CLASS ACTION COMPLAINT
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1    The webpage is designed to mimic the format of a legitimate news article with a “Vane
2    Local” logo at the top. A banner running under the title claims that Ultra Fast Keto Boost
3    has been featured in a variety of legitimate publications and beauty websites: Us, New You,
4    Shape, HauteLook, Time, Health & Fitness. The advertisement urges victims to “CLICK
5    HERE to Claim Your Special Offer of Ultra Fast Keto Boost.”
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     AHugAysXC96b2wOvHNuyGndtJ48w8mpl (last accessed Jan. 20, 2020). This webpage
28   is no longer accessible.
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                             SECOND AMENDED CLASS ACTION COMPLAINT
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23         68.    The fake news article claims that the Shark Tank judging panel “unanimously
24   decided to each invest over 1.3 million dollars” in the Ultra Fast Keto Boost product, which
25   was purportedly a company run by two sisters named Anna and Samantha Martin. In fact,
26   there are no such sisters: the women pictured are Shelly Hyde and Kara Haught of Raising
27   Wild Swimwear, who appeared on Shark Tank in Season 8, but who have no affiliation
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1    with Ultra Fast Keto Boost.12
2           69.    The fake news article claims the Shark Tank judges were “amazed” that the
3    Ultra Fast Keto Boost product could do all of the following—“increase resting metabolism
4    more than 130%, flush out harmful toxins, lose weight more easily, block excess fat
5    production by 110%, curb appetite and feel fuller longer, improve mood and sense of well-
6    being, improve sleep by 80%, lower blood pressure, reduce cholesterol, decrease body fat,
7    and regulate blood sugar levels”—a complete falsity. The article features a photograph of
8    all six “sharks”—Mark Cuban, Kevin O’Leary, Daymond John, Barbara Corcoran, Lori
9    Greiner, and Robert Herjavec. The “sharks” are pictured toasting with champagne,
10   presumably to their new investment in Ultra Fast Keto Boost.
11          70.    The webpage also provides numerous “before and after” photographs of
12   people who have apparently experienced extreme weight loss, all of which is attributed to
13   the Ultra Fast Keto Boost pills.
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        Raising Wild: What Happened To Bathing Suit Sisters After Shark Tank, 2Paragraphs,
     https://2paragraphs.com/2017/10/raising-wild-bathing-suit-sisters-schooled-by-corcoran-after-shark-
28   tank-as-founders-learn-to-prioritize-launch-sunglasses/
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                                 SECOND AMENDED CLASS ACTION COMPLAINT
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1          71.    The bottom of the page contains fake Facebook comments touting the
2    beneficial effects of the product.
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1          72.    The affiliate page repeatedly claims that there is a limited supply of Ultra Fast
2    Keto Boost remaining and urges victims to act quickly before supplies run out. Victims are
3    told that the “Special Offer” will expire in 15 minutes and the timer then counts down—
4    but that timer itself is a misrepresentation. There is in fact no limited supply. The website’s
5    code automatically starts a new 15-minute timer every time a user visits the page.
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1          73.   There is a second known affiliate page for Ultra Fast Keto Boost entitled “28+
2    lbs in 4 Weeks: New No-Exercise ‘Skinny Pill’ Melts Belly Fat. Why Every Judge On
3    Shark Tank Backed This Product!”13 The webpage is designed to mimic the format of a
4    legitimate news article from Fox News Channel. A banner running under the title claims
5    that Ultra Fast Keto Boost has been featured in a variety of legitimate publications and
6    beauty websites: The New York Times, Today, The Oprah Network, StyleWatch, and
7    Redbook. As the consumer scrolls the page, a constant banner provides a minute-by-minute
8    countdown as to when the purported “Offer” expires, thereby creating an extreme sense of
9    urgency to click through and purchase the product.
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      The URL is https://www.duoduojianqian.com (last accessed October 6, 2019). This
     13
28   website is no longer accessible.
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1          74.    The fake Fox News Channel article makes the same false claims as the landing
2    page on the so-called “Vane Local” website, and posts the same photo of all six “sharks” -
3    Mark Cuban, Kevin O’Leary, Daymond John, Barbara Corcoran, Lori Greiner, and Robert
4    Herjavec - toasting with champagne, presumably to their new investment in Ultra Fast Keto
5    Boost.
6          75.    The website goes on to claim that “Celebrities Love Ultra Fast Keto” and
7    provides fake endorsements from a number of other celebrities, not just the Shark Tank
8    cast. For example, American Idol star, Jennifer Hudson, is pictured with “before” and
9    “after” photos calling Ultra Fast Keto Boost “her only choice” and that she “had lost a total
10   of 80 pounds and had gone from a size 16 to a size 6.”
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1          76.   Other celebrities are pictured as endorsers as well. Celebrity talk-show host
2    Wendy Williams supposedly exclaims about Ultra Fast Keto Boost: “I feel amazing…and
3    I finally said, ‘Oh, for God’s sake, stop worrying about my weight,’ and it may be the best
4    thing I’ve ever done!”
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20         77.   Celebrity comedian Drew Carey is quoted as being in “love” with Ultra Fast
21   Keto because “I have a hectic schedule and I don’t have a lot of time to devote to workout
22   routines. That’s why I love Ultra Fast Keto! Taking just one per day helped me get my
23   body where I really felt comfortable.”
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14         78.    The affiliate page continues with endorsements from “Us Today’s” offices—
15   presumably a fake combination of well-known publications USA Today and/or US
16   Weekly, and from Fox News that “Fox News is happy to officially recommend it!” The
17   page continues with fake “before” and “after” photos and fake customer reviews—all of
18   which attribute their extreme weight loss to Ultra Fast Keto Boost.
19         79.    The affiliate page also claims that consumers will not find a bigger discount
20   “anywhere else on the internet!” and urges consumers to claim the “biggest discount” of
21   “buy 4 get 3 free and buy 3 get 2 free and buy 2 get 1 free.”
22         80.    The affiliate page goes on to urge consumers to act quickly because there is a
23   limited supply of Ultra Fast Keto Boost. Victims are told that “Only 4 Bottles Still
24   Available” and that the “Special Offer” will end on a specific date—but, again, that date
25   itself is a misrepresentation. There is in fact no end date. The website code simply starts a
26   timer each time someone visits the page, but it has no actual effect.
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1             81.   On information and belief, victims of the Keto scam were all subjected to
2    similar or identical representations and were funneled from affiliate pages similar or
3    identical to the two affiliate pages described herein to the landing pages for the Keto
4    Products.
5             82.   The “Shark Tank” affiliate pages are no longer linked to the websites for these
6    Keto       Products,     but     the   URLs     for   these   pages    included    at    least
7    https://ultrafastketoboost.com and http://instaketo.com, two websites pages operated by the
8    Keto Defendants.
9             83.   The existence of these websites would not be apparent to anyone other than
10   the victims, and anyone who did not view the “Shark Tank” affiliate pages would be unable
11   to find the websites for the Keto Products. This is because the Keto Defendants configured
12   their robots.txt files in a way to prevent search engines like Google or Bing from indexing
13   their pages.           Therefore the URLs above— https://ultrafastketoboost.com and
14   http://instaketo.com—would never show up in a search on these or other search engines.
15   The only way to discover these websites would be via a direct link from a page or
16   advertisement set up by the Keto Defendants.
17            84.   The Doe Defendants who are affiliates or affiliate networks clearly know
18   about these landing pages because they link directly to these pages.
19            85.   A partial image of one of the landing pages for “Ultra Fast Keto Boost”
20   appears below:14
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          https://ultrafastketoboost.com
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                                    SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                3:20-cv-01528-LL-MSB
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16            86.   There are no terms of service or disclaimers visible at all on the landing page.

17   Instead, the victims are bombarded by false claims about the beneficial effects of the

18   product, including that it is a “Revolutionary Break-Through” that has “Scientists, Doctors

19   and Celebrities Buzzing” and has helped “thousands who are already losing up to 1 lb. per

20   day.”15

21            87.   On the landing page, victims are repeatedly told they should rush their order

22   because the supply of Ultra Fast Keto Boost is limited. A pop-up banner at the top warns:

23   “WARNING: Due to extremely high social media demand for our offers with free bottles,

24   there is limited supply of Ultra Fast Keto Boost in stock as of September 24th! Offer

25   expires in ….”16 Like on the affiliate page, the timer is just a countdown that resets for

26   each user when they visit the page and is not tied to the existence of any real timed offer.

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          https://ultrafastketoboost.com
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          Id.
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                                SECOND AMENDED CLASS ACTION COMPLAINT
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1             88.   At the very bottom of the page, there is a “Terms” hyperlink, which a
2    consumer must click and scroll through in order to read a lengthy disclaimer.17 This
3    disclaimer is only visible to customers who click on the hyperlink at the bottom of the
4    shipping page. The websites do not require the customer to read or acknowledge the Terms
5    to complete a checkout.
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11            89.   Buried in the lengthy disclaimer is a section entitled “Refund/Return Policy,”
12   which provides the disclosure that, in order to obtain a full refund, the consumer must
13   contact Customer Service by telephone—not by email—and obtain a RMA (“Return
14   Merchandise Authorization”) number to place on the package, then must ship the product
15   back at the consumer’s own expense within 30 days of the date the consumer ordered the
16   product. The disclaimer also states the product “must NOT be opened or used” and the
17   consumer must pay a $5.00 restocking fee. The disclaimer instructs the consumer to send
18   the returned product to Ultra Fast Keto Boost, 9205 W. Russell Road, Suite 240, Las Vegas,
19   Nevada 89148.
20            90.   The so-called Refund/Return Policy is impossible to follow because it
21   requires the consumer to call—not email—the Customer Service department to obtain the
22   RMA number, but the Customer Service number was not a working number, as it was not
23   working in Ms. Bavencoff’s case. The return policy also requires the consumer to return
24   the item within 30 days of purchase and it must not be opened or used. This makes no
25   sense when the advertisements emphasize that the product must be used every day for 30
26   days in order to see results. The consumer cannot even try it for one day before the refund
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28   17
          https://ultrafastketoboost.com/terms-and-conditions
                                                 33
                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                3:20-cv-01528-LL-MSB
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1    policy is void.
2             91.   At the bottom of the landing page, there also is a “Refund” hyperlink, which
3    a consumer must click to read a shorter, conflicting policy that all orders are “secured with
4    a 30-day Money Back Guarantee” and that a customer may request a refund by “simply”
5    contacting support@ultrafastketoboost.com or 888-970-0686 to obtain an RMA number.18
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13            92.   After the victims enter their personal information on the landing page,
14   including their full name, email address, telephone number, and shipping address, they
15   click “Rush My Order” where they are taken to a check-out page. An image of the top of
16   Ultra Fast Keto Boost’s check-out page appears below.19
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          https://ultrafastketoboost.com/terms-and-conditions/refunds
28   19
          https://ultrafastketoboost.com/checkout
                                                 34
                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                               3:20-cv-01528-LL-MSB
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                         SECOND AMENDED CLASS ACTION COMPLAINT
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1          93.    Notably, there is no requirement that users click a box or take any other action
2    to agree to any terms of service. Once again, the link to the “Terms” is located at the very
3    bottom of the screen next to several other links, in small text, and it requires users to scroll
4    down to locate it. On the phone or tablet, the design for this page similarly requires no
5    assent to the terms of service in any way, and again requires scrolling to a small link at the
6    bottom to even view the terms.
7          94.    The check-out page presents victims with a graphic supposedly describing the
8    product’s current availability as “Low Stock” and urging them to “HURRY!” because the
9    “Special Discount” will expire in only a few minutes. Victims are also told that they have
10   received a “Special Offer Just For You!” and that a “Limited Time Promo Code” has been
11   applied to their cart. On information and belief, the graphic purporting to be a
12   representation of “Current Availability” is simply a static image that does not reflect the
13   current supply of Ultra Fast Keto Boost at all. And these representations have been constant
14   for the duration of the scam—when there is no shortage of Ultra Fast Keto Boost, and on
15   information and belief, there never has been.
16         95.    The check-out page provides graphics for three different purchase options:
17   (1) “Buy 3, Get 2 Free” for $39.74 each bottle; (2) “Buy 2, Get 1 Free” for $49.97 each
18   bottle; and (3) “Buy 1 Bottle” for $69.99. The first option is pre-checked so victims need
19   to deselect that option if they do not want to purchase three bottles. The victims then enter
20   their credit card information and click “Complete Order.”
21         96.    Victims who purchase the Ultra Fast Keto Boost bottles through this landing
22   page are subjected to a number of false or misleading representations. Most reprehensible
23   is the fact victims are never told they will be charged for a total price of $198.70. In fact,
24   the check-out page unambiguously states the opposite: that the consumer will pay a
25   significantly lower purchase price for the bottles.
26         97.    On information and belief, every victim is charged the full amount of $198.70,
27   regardless of the option the victim selects at the check-out page.
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                                                36
                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                  3:20-cv-01528-LL-MSB
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1          98.    A few days later, victims who expected to be charged the advertised amount
2    for their bottles are understandably shocked to see their debit or credit card billed for nearly
3    $200, to which they did not agree. Even if they are lucky enough to get through to
4    Customer Service by telephone, they are told they cannot obtain a full refund.
5          99.    This is nothing more than credit card fraud—lying to customers about what
6    they will pay, taking their credit card information, and billing them for something to which
7    they never agreed.
8          100. Like the consumers who purchased the Ultra Fast Keto Boost product, the
9    consumers who purchased “InstaKeto” bottles were subjected to similar misrepresentations
10   throughout the purchasing process.
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                               SECOND AMENDED CLASS ACTION COMPLAINT
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1              101. The same “shark tank” style affiliate pages existed for “InstaKeto” such as the
2    one shown below.20
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          http://diet001.club/ (last accessed February 12, 2020).
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                                     SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                 3:20-cv-01528-LL-MSB
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1          102. And users who click the links in these InstaKeto pages are taken to a website,
2    https://instaketo.com, which looks identical, except the brand on the bottle shows “Instant
3    Keto” instead of “Ultra Fast Keto Boost.”
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                             SECOND AMENDED CLASS ACTION COMPLAINT
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1          103. At the check-out page, the victims are presented with the same three purchase
2    options, including the option to receive two “free” bottles with the purchase of three bottles.
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                               SECOND AMENDED CLASS ACTION COMPLAINT
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1          104. Again, there are no disclaimers on any of the webpages for the “InstaKeto”
2    product (or “Instant Keto” as it is also referred to in the sales process). The same disclaimer
3    regarding the so-called “Refund/Return Policy” is only visible to customers who scroll to
4    the bottom of the landing page, click on the “Terms” hyperlink in the footer of the page,
5    and scroll through the lengthy disclaimer.
6          105. Once again, consumers purchasing bottles of the “InstaKeto” product with the
7    understanding they will pay a certain price for the bottles through this landing page are
8    subjected to a number of false or misleading representations, including that they will pay a
9    lower price, when, in truth, their debit or credit cards are charged for bottles that they never
10   ordered nor agreed to purchase.
11                The Keto Defendants Use a “False Front” Website to Deceive
12               Banks and Credit Card Companies When a Victim Complains
13         106. Just as an old-time speakeasy would maintain a false front of a legitimate
14   business operation to distract law enforcement from their criminal activities, the Keto
15   Defendants also operate a second website for the Ultra Fast Keto Boost product—
16   https://thesuperbooster.com/—whose sole purpose is to trick anyone conducting an
17   investigation into the validity of these purchases, including a bank or credit card company
18   deciding whether to grant a chargeback to a consumer who complains.21 On information
19   and belief, the InstaKeto product maintained a similar or identical false front.
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       For Instant Keto, the URL for the “false front” website is unknown. The Instant Keto
     bottle references http://www.instantketoboost.com/; however, that website is not
28   accessible.
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                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                  3:20-cv-01528-LL-MSB
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1              107. If a user types in the URL, www.thesuperbooster.com, an entirely different
2    website appears—a “false front” that is designed to be shown to banks if a victim
3    complains. A partial image of this website appears below:
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17             108. This “false front” website is designed to appear legitimate. Unlike the landing
18   pages where consumers must scroll through pages of advertisements, “before” and “after”
19   photos, and fake customer reviews in order to locate the “Terms and Conditions” hyperlink,
20   the false front website makes the “Terms and Conditions” hyperlink visible on the second
21   page.
22             109. Unlike the check-out page shown to consumers, the check-out page on the
23   “false front” website provides the actual purchase prices for each offer. Specifically, the
24   first option to “Buy 3 Bottles, Get 2 Free” lists the actual purchase price of $198.70, instead
25   of $39.74 for each bottle, and the second option to “Buy 2 Bottles, Get 3 Free” lists the
26   actual purchase price of $149.97, instead of $49.97 for each bottle.22 These actual prices
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28   22
          The third option - to purchase one bottle for $69.99 – is the same price shown to consumers.
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                                    SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                           3:20-cv-01528-LL-MSB
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1    are never shown to consumers on the landing pages, and they only discover the inflated
2    charges when they review their debit and credit cards.
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25         110. Notably, there are no false claims of “limited availability” or pop-up banners

26   urging consumers to act immediately while supplies last. In all respects, the “false front”

27   website is designed to look like a legitimate company and not a scam.

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                                              43
                             SECOND AMENDED CLASS ACTION COMPLAINT
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1          111. On information and belief, Plaintiffs and other victims of this scam were
2    directed to the landing pages to complete their purchases, rather than to the “false front”
3    website.
4          112. On information and belief, the Keto Defendants are using the “false front”
5    websites to fraudulently convince bank and credit card representatives that victims had
6    purchased the Keto Products from those websites, as opposed to the landing pages to which
7    affiliates and advertisers actually directed their traffic.
8          113. The maintenance of these “false front” websites is itself an act of deception,
9    intended not just to hide from law enforcement, but to prevent consumers from exercising
10   their lawful right to a chargeback by their bank or credit card company for charges to which
11   they never agreed. Presented only with the false front, banks and credit card companies
12   cannot know that there is fraud being conducted behind it.
13         114. The FTC has recognized this tactic as a common one used by this kind of
14   scammer: “The defendants sometimes hosted multiple versions of the same promotion. If
15   consumers navigated from an embedded link on another site – the much more likely way
16   people would learn about a product – they were taken to pages where products were offered
17   for sale with what the FTC says were undisclosed automatic shipment programs. But a
18   funny thing happened if you just typed in the URL – for example, rippedmusclex.com.
19   That took you to an entirely different site that included more visible disclosures of the trial
20   offer. Why would a company create those different versions? The complaint suggests that
21   it could have been done in an attempt to have a ‘clean’ version for banks, payment
22   processors, and law enforcers.”23
23         115. This is exactly the deception Defendants have committed here. On
24   information and belief, the Keto Defendants operate a host of shell companies, which run
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26   23
       Leslie Fair, Fauxmats, false claims, phony celebrity endorsements, and unauthorized
27   charges, Federal Trade Commission Business Blog (2017), https://www.ftc.gov/news-
     events/blogs/business-blog/2017/11/fauxmats-false-claims-phony-celebrity-endorsements
28   (last visited Sept. 6, 2019).
                                                44
                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                 3:20-cv-01528-LL-MSB
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1    websites promoting the Keto Products. This is a common tactic in such scams: every shell
2    company creates a separate website, and every shell company signs up for its own unique
3    merchant account. All of the merchant accounts are rotated through the customer billings
4    to prevent any individual one from being flagged for fraud due to high levels of
5    chargebacks. Each “false front” website for these shell companies presents itself to visitors
6    as if it is the official website of the Keto Products; however, this makes no sense because
7    there is no business reason to sell the same products from different shell companies, with
8    near-identical websites. The true reason scammers create such websites is to make it more
9    difficult for banks to identify the Keto operation as a fraud by separating out and controlling
10   which merchant accounts and which shell companies the chargebacks are attributed to, and
11   thus preventing or delaying any one merchant account from being identified as conducting
12   a fraud.
13            116. On information and belief, the Keto Defendants present the “false front”
14   website to customers’ banks and credit card companies whenever a chargeback is being
15   investigated, fraudulently representing to the bank that it was the website the customer used
16   to purchase the Keto Products. As the BBB report stated: “in one FTC case an ISO spread
17   the credit card charges over 26 merchant accounts to disguise the fraud activity.” Ex. 1, at
18   p. 11.
19            117. On information and belief, the Keto Defendants have spread their charges over
20   multiple shell corporations as reflected by multiple merchant accounts to avoid
21   accumulating too many chargebacks on any one account and being flagged for the fraud
22   they are conducting. Each of these shell corporations, while currently unknown, is a John
23   Doe Defendant.
24            118. Ms. Sihler and Mr. Bavencoff received almost identical packing slips from
25   the same shipper with the same address, but they were billed from two different merchant
26   accounts—referred to as Merchant Identification Numbers (“MIDs”)—for the Keto
27   Products.
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                               SECOND AMENDED CLASS ACTION COMPLAINT
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1          119. This is not a ploy to confuse consumers, but to defraud their banks. The Keto
2    Defendants designed their scam exactly in accordance with the scam Neil Patel described
3    in his keynote speech to a roomful of scammers: “Or the credit card processors where you
4    guys rotate up the chargebacks so then that way, then you guys can keep processing the
5    money.... You guys, many of you have issues with credit card processing, so you’ll do
6    things like, I forgot what the saying is but they rotate up the MIGs or the MIDs, I don’t
7    know what the saying is but it’s more so they’re controlling where the chargebacks are
8    going.” 24
9          120. As recently as April 11, 2020, victims of the Keto scam have explained in
10   detail their experiences in complaints posted on the BBB website, which were similar or
11   identical to that of Ms. Sihler and Ms. Bavencoff.25 Ultra Fast Keto Boost has received the
12   lowest possible “F” rating on the BBB website and has 564 customer complaints in the last
13   three years, all of which make the same basic complaints regarding advertising/sales,
14   billing/collections, delivery issues, guarantee/warranty, and problems with the product.
15   Ultra Fast Keto Boost and Instant Keto Boost are listed as alternate business names, both
16   of which have the same fulfillment and return address of the United States Post Office
17   located at 3201 W. Hillsborough Avenue, #153201-1378, Tampa, Florida, 33684-9001.26
18         121. Indeed, the BBB’s website has a red banner at the top of Ultra Fast Keto
19   Boost’s profile stating: “Current Alerts For This Business” that show Ultra Fast Keto Boost
20   products “have a pattern of complaints concerning unauthorized and unexpected charges
21   and unresolved refund disputes” and the business is “using fake celebrity endorsements in
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     24
        Neil Patel, The Future of Affiliate Marketing: It’s Not What You Think,
24   https://www.youtube.com/watch?v=2hUdbztKLY4 (last visited Jan. 3, 2019) (emphasis
25   added).
     25
        https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/ultra-fast-keto-boost-
26   0653-90369793/customer-reviews; https://www.bbb.org/us/fl/tampa/profile/not-
27   elsewhere-classified/ultra-fast-keto-boost-0653-90369793/complaints
     26
        The BBB website lists a second address for Ultra Fast Keto, which is 153301
28   Hillsborough Avenue, Tampa, Florida 33684.
                                              46
                             SECOND AMENDED CLASS ACTION COMPLAINT
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1    its advertising.”27
2           122. On January 1, 2020, a victim of the Keto scam identified as Beth E. posted a
3    similar experience to the Plaintiffs: “Their advertising is completely misleading. I thought
4    I was paying $39.74 per bottle for 3 bottles and then getting 2 free. When they confirmed
5    the order there was no invoice attached which I thought was strange so I had no idea they
6    were going to charge $198.70 until I saw my charge card bill. By the time I had realized
7    all of this plus the fact that I had been traveling, the 30 day period for returns had closed. I
8    tried to put in a claim through my credit card company, but the company is providing my
9    authorized charge and explaining that I was getting 2 bottles free by paying $39.74 per
10   bottle for 5 bottles, even though the shipping address that they have associated with the
11   charge is completely bogus. My credit card company refuses to do anything because they
12   are providing there “evidence” and I can’t fight it. Plus now it is a product that I decided
13   that I didn’t even want to use in the first place. Do not order from them! (I’m leaving a 1
14   star rating because I am forced to enter something but, in reality, I would not give it any
15   stars.)”28
16          123. Another victim identified as Carol B. posted on December 11, 2019:
17   “Complete scam. Charged more than advertised, never received an itemized bill, was told
18   I’d get a refund minus a $25 restocking fee, so I mailed it back with return receipt and then
19   never got reimbursed. I called this morning again and was told they do not give refunds.
20   Star rating is ‘0.’”29
21          124. And yet another victim identified as David B. posted on November 27, 2019:
22   “My wife ordered ONE BOTTLE of tablets to be dissolved in water for $37.70. We were
23   charged $198 for FIVE bottles and when they arrived, they were CAPSULES to be
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        https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/ultra-fast-keto-boost-
26   0653-90369793
27   28
        https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/ultra-fast-keto-boost-
     0653-90369793/customer-reviews.
28   29
        Id.
                                                47
                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                  3:20-cv-01528-LL-MSB
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1    swallowed. Dealing with customer service was a nightmare. The best resolution we
2    received was to return the 5 bottles at OUR expense and they would credit us $178. So we
3    paid $20 plus shipping for a falsely advertised item that we did not want and returned. DO
4    NOT ORDER FROM THESE SCAM ARTISTS!”30
5          125. These are just a sample of the 564 complaints posted on the BBB website. It
6    is not a coincidence that so many victims are reporting the exact same thing: that the
7    scammers falsely advertised the purchase prices for the Keto Products, which the
8    consumers relied upon to make their purchases, the consumers later discovered they were
9    overcharged and billed for bottles they did not order and did not agree to purchase, and that
10   when the consumers tried to cancel their unauthorized charges, they were unable to obtain
11   refunds from the company. This is how Defendants treat all of their victims—and the Keto
12   Products were just a thin excuse to commit rampant credit card fraud.
13         126.   The Keto Defendants purport to post a “company response” to some
14   complaints by apologizing for “any misunderstanding” and claiming the customers placed
15   orders for the promotional offers such as “Buy 3, Get 2 Free” that showed the accurate
16   price of $198.7031 The Keto Defendants’ response is just one more part of their deceptive
17   strategy designed to thwart discovery of their fraud because they are referring to the “false
18   front” website, which provides accurate prices.       But this website is only shown to
19   regulators, banks, and credit card companies, not to consumers who are directed to the
20   landing pages. The consumers never see the “false front” website, and therefore, they never
21   see accurate prices.
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23
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27   30
       Id.
     31
       https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/ultra-fast-keto-boost-
28   0653-90369793/complaints
                                               48
                              SECOND AMENDED CLASS ACTION COMPLAINT
                                                                               3:20-cv-01528-LL-MSB
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1          127. The BBB’s website states that in October 2019, the BBB contacted the
2    company regarding its false advertising and false claims about the Keto Products. To date,
3    the company has not responded.32
4                        The Keto Defendants’ Misrepresentations Regarding
5                                      Reviews and Endorsements
6          128. The Keto Defendants marketed the Keto Products exclusively through
7    affiliate marketing networks, including networks and pages run by other Doe Defendants
8    such that every customer who purchases a product from them will be exposed to and view
9    the fake celebrity and magazine endorsements described herein. Ms. Sihler and Ms.
10   Bavencoff specifically recall viewing advertisements stating that the products had been
11   endorsed by the six celebrity “Sharks” and well-known magazines and relied on these
12   endorsements in purchasing the products.
13         129. These celebrity and magazine reviews are material to the customers’ decisions
14   to purchase the Keto Products. Because these celebrities are well-known with well-
15   guarded reputations, their positive, yet fraudulent, “reviews” of the products misleads
16   customers into believing that the Keto Defendants are a credible, well-established
17   company. These celebrities are generally beautiful with desirable appearances, so their fake
18   quotes suggesting they obtained their beauty by using the Keto Products misleads
19   customers about the type of results they may expect from using the products.
20                  The Keto Defendants’ Misrepresentations and Omissions
21                 Regarding the Actual Prices that Consumers Are Charged
22         130. A second way the Keto Defendants deceive consumers on their landing pages
23   is to claim that the consumers will pay the advertised price for a certain number of bottles
24   of the Keto Products, when in fact all of the consumers will receive five bottles and will be
25   charged for all five bottles, which they never agreed to purchase because they were told
26
27
     32
       https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/ultra-fast-keto-boost-
28   0653-90369793/details
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1    that some of the bottles would be “free.” The first page a victim views is an affiliate page,
2    such as the fake “Shark” Tank article, which is run by one or more of the Doe Defendants.
3    These pages urge consumers to click on the product to receive a “special offer.” The second
4    page a victim views is a website controlled by the Keto Defendants -
5    https://ultrafastketoboost.com or https://instaketo.com/ - both falsely representing that the
6    consumers will receive “free bottles” and encouraging them to “Get Your Risk Free
7    Bottle.” When a victim views the final check-out page, the victim is presented with several
8    offers, including promotional offers such as “Buy 3 Bottles, Get 2 Free” for $39.74 per
9    bottle, which should result in a total price of $119.22. On information and belief, every
10   consumer who clicks on “Complete Order” receives five bottles of the Keto Products -
11   regardless of the specific offer selected and the number of bottles the consumer agreed to
12   purchase—and every customer is billed for all five bottles, in an amount nearly $200.
13         131. On information and belief and based on the sales funnel structure, every
14   consumer who purchased Keto Products was exposed to these misrepresentations about the
15   actual prices of the bottles.
16         132. The Keto Defendants made material omissions regarding the actual prices of
17   the bottles on their websites by omitting material information, which they were under a
18   duty to disclose relating to the actual prices of the bottles. The Keto Defendants failed to
19   disclose to consumers who viewed the landing pages that the actual prices charged for the
20   bottles would be significantly higher than the advertised prices, and, in fact, that the
21   consumers would be billed for five bottles of Keto Products, even though they never agreed
22   to purchase five bottles. These terms were never disclosed to the consumers.
23         133.     The Keto Defendants were under a duty to Plaintiffs and the Class Members
24   because they made partial representations—that consumers would pay the advertised price
25   of the promotional offers—but also suppressed, concealed, or did not disclose material
26   facts that qualify those representations, namely, that they would be charged for all five
27   bottles delivered to them, in an amount totaling almost $200, regardless of the number of
28   bottles they ordered and agreed to purchase, and that none of the bottles were actually
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1    “free.”
2             134. The Keto Defendants knew, or by the exercise of reasonable care should have
3    known, that their omissions were untrue and misleading, and deliberately made the
4    aforementioned omissions in order to deceive reasonable consumers like Plaintiffs and
5    other Class Members. Those omissions could have been corrected by including the true
6    total price of the Keto Products on the check-out page and in any other place where
7    references to “free” bottles occurred.
8             135. The Keto Defendants’ omissions regarding the actual prices were material to
9    consumers. A reasonable consumer would attach importance to the truth or falsity of these
10   omissions in deciding whether to purchase the products because if consumers had known
11   they were paying a higher price for the bottles they ordered – and they would be billed for
12   bottles they did not order - they would not have agreed to the offer.
13            136.   Ms. Sihler and Ms. Bavencoff were damaged by these misrepresentations and
14   omissions individually as described herein, and they relied on them in that they would not
15   have signed up for the offers had they been informed of the actual terms of the offers.
16                              The Keto Defendants’ Misrepresentations
17                                      Regarding Limited Supply
18            137. Both the affiliate websites and the Keto Defendants’ websites also include
19   representations of limited supply, as described herein. But on information and belief, those
20   purported limitations and the representations that there was “low stock,” “limited quantities
21   available,” or that the “promotional pricing” or “special offer” was expiring soon were
22   false.
23            138. These misrepresentations are designed to induce consumers to purchase the
24   bottles and to create a false sense of urgency. As a result of these misrepresentations,
25   consumers purchase products they would not have purchased and they pay more for the
26   products than they otherwise would have and are damaged by discovering later that they
27   have been billed for products to which they did not agree.
28            139. The Keto Defendants’ misrepresentations regarding their purported limited
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1    supply are material to consumers. A reasonable consumer would attach importance to the
2    truth or falsity of these misrepresentations in deciding whether to purchase the products
3    because if they knew that the products were not limited in supply and could be purchased
4    at any time, consumers would not feel the need to purchase on impulse and under time
5    pressure that did not exist based on these representations. Plaintiffs and the Class Members
6    reasonably relied upon these representations in making their purchase decisions.
7                   The Keto Defendants’ Misrepresentations and Omissions
8                             Regarding the “False Front” Website
9          140. The Keto Defendants also deceived the consumers’ banks and credit card
10   companies by maintaining a “false front” website at the URL described herein. This
11   website was created intentionally to make it appear to outsiders that the victims of the
12   scheme had been informed of the actual purchase price of the bottles and had consented to
13   the price. The Keto Defendants were under a duty to disclose to Plaintiffs and the Class
14   Members that they maintained this “false front” websites and to disclose that they routinely
15   used that website to deceive banks and credit card companies to prevent consumers from
16   exercising their right to a chargeback.
17         141. Plaintiffs and the Class Members were damaged by these misrepresentations
18   and omissions. All members of the class were damaged because had the banks and credit
19   card companies not been unlawfully deceived, the scheme would have been shut down and
20   none of the Class Members would have been billed. The Keto Defendants further owed
21   duties to all of the Class Members to inform them that there was a “false front” website,
22   and the failure to do so injured every member of the Class.
23         142. The Keto Defendants made material omissions regarding the “false front”
24   websites by omitting material information which they were under a duty to disclose relating
25   to those sites. The Keto Defendants failed to disclose to consumers who viewed the landing
26   pages at https://ultrafastketoboost.com and https://instaketo.com that there was another
27   website, which the Keto Defendants designed to intentionally deceive the consumers’
28   banks and credit card companies if they attempted a chargeback, and that they were not
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1    bound by any of the terms or other disclosures on the scam websites.
2           143. The Keto Defendants were under a duty to disclose this information to
3    Plaintiffs and the Class Members because the Keto Defendants had exclusive knowledge
4    of material facts not known to them, namely that there was another website being used as
5    a “false front.”
6           144. Plaintiffs and the Class Members did not know this, and it was difficult to
7    discover because that information was not located on the website where they purchased the
8    products because the landing pages were designed to be inaccessible and unsearchable
9    from any search engine, and because the “false front” website was placed on an entirely
10   separate URL, which was not linked to the landing pages.
11          145. The Keto Defendants were under a duty to disclose this information to
12   Plaintiffs and the Class Members because the Keto Defendants engaged in active
13   concealment, and they have engaged in affirmative acts of hiding, concealing, and covering
14   up this matter. The Keto Defendants made efforts to hide their landing pages from view as
15   described above, to make the landing pages difficult to find, to delete various
16   advertisements so customers could not find them again, and by creating the “false front”
17   website to conceal from their victims and others the actual landing pages that the victims
18   visited.
19          146. The Keto Defendants were further under a duty to Plaintiffs and the Class
20   Members because they made partial representations to the banks and credit card
21   companies—that they had sold the Keto Products to their victims—but also suppressed,
22   concealed, and did not disclose material facts that qualify those representations, namely
23   that none of the victims had actually purchased the products on the “false front” website
24   that was shown to banks and credit card companies. The Keto Defendants further made
25   partial representations to Plaintiffs and the Class Members—that they would pay the
26   advertised price —without disclosing that if they attempted a chargeback, the Keto
27   Defendants intended to lie about the terms of the agreement to the consumers’ banks and
28   credit card companies.
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1          147. The Keto Defendants knew, or by the exercise of reasonable care should have
2    known, that their omissions were untrue and misleading, and deliberately made the
3    aforementioned omissions in order to deceive reasonable consumers like Plaintiffs and
4    other Class Members. Those omissions could have been corrected by including the omitted
5    information in proximity to the offers contained on the landing pages, or on the packing
6    slips delivered to their victims, or in proximity to their representations to banks and credit
7    card companies.
8          148. The Keto Defendants’ misrepresentations and omissions regarding the “false
9    front” website were material to consumers. A reasonable consumer would attach
10   importance to the truth or falsity of these omissions in deciding whether to purchase the
11   products because if consumers had known that the Keto Defendants were maintaining a
12   fake website for the purpose of defrauding their banks and credit card companies, they
13   would not have purchased the Keto Products with the understanding they were receiving
14   the products at the advertised price.
15         149.    Ms. Sihler and Ms. Bavencoff were damaged by these misrepresentations and
16   omissions individually as described herein, and relied on them in that they would not have
17   signed up for the offers had they been informed of this information.
18                                           The Keto Defendants
19         150. The “Keto Defendants” are a group of Defendants who created, sold,
20   advertised, and otherwise were involved in the creation, sale, and advertising of the Ultra
21   Fast Keto and Instant Keto products. These Defendants include Defendants David Flynn,
22   Rickie Joe James, Beyond Global Inc., Brightree Holdings Corp. and BMOR Global LLC.
23         151. Beyond Global Inc. is a Wyoming corporation which is listed on the bottle for
24   Ultra Fast Keto, which states that the product is “distributed by” Beyond Global Inc.
25         152. Its address is listed on the bottle as being 9205 W. Russell Rd., Suite 240, Las
26   Vegas, NV 89148.
27         153. Wyoming shell corporations are commonly used by Internet scammers
28   because it enables them to hide their identities.
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1          154. On information and belief, Beyond Global Inc. is a shell company being used
2    to mask its owners’ identities, and the company and its owners were involved not only in
3    the distribution of the products but in their creation and marketing. The company’s name
4    does not appear on any of the contacts signed with vendors in relation to the Keto Products.
5          155. Brightree Holdings Corp is a Wyoming Corporation which contracted with
6    various vendors to create, distribute, ship, and market the Keto Products. Brightree
7    Holdings Corp is the entity which nominally contracted with TFL. Brightree Holdings Corp
8    further is the entity which nominally contracted with various affiliate networks to purchase
9    the advertising to promote the Ultra Fast Keto Boost and Instant Keto / InstaKeto products.
10         156. Defendant BMOR Global LLC is a Nevada corporation located at 9121 West
11   Russell Road, Suite 116, Las Vegas, Nevada 89148. Defendant BMOR Global LLC
12   contracted with an affiliate network called NAM Offers on July 12, 2019 to advertise the
13   Ultra Fast Keto Boost product. It used the same website as Brightree Holdings and Beyond
14   Global, www.ultrafastketoboost.com. David Flynn signed the contract using a BMOR
15   Global e-mail address. Brightree Holdings Corp listed its contact information in a contract
16   with a company called DeluxeAds for advertising for the Keto Products as a BMOR Global
17   LLC e-mail address.
18         157. Defendant Rickie Joe James is the CEO of Brightree Holdings Corp. He was
19   listed as a “business leader” of Brightree Holdings Corp. on a contract with an affiliate
20   network called Yeahmobi. He helped manage the relationship with various affiliate
21   networks to advertise the Ultra Fast Keto Boost and Instant Keto / InstaKeto products, and
22   specifically did so with respect to an affiliate network called SmashLoud. Mr. James
23   described himself to SmashLoud as a “partner” of Mr. Flynn. Mr. James is a 50% owner
24   of both Brightree Holdings Corp. and Beyond Global Inc., based on the testimony of Mr.
25   Flynn at the 341 meeting for the company’s Chapter 7 bankruptcy.
26         158. Defendant David Flynn is the Vice President of Brightree Holdings Corp. He
27   was listed as a “business leader” of Brightree Holdings Corp. on a contract with an affiliate
28   network called Yeahmobi. He has described himself as an “owner” or “partner” in various
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1    contracts with third parties, and on information and belief, does in fact have an ownership
2    interest in the company. Mr. Flynn contracted with various affiliate networks on behalf of
3    Brightree Holdings Corp. to advertise the Ultra Fast Keto Boost and Instant Keto /
4    InstaKeto products. Mr. Flynn further signed an agreement between Brightree Holdings
5    Corp and The Fulfillment Lab, Inc. on behalf of Brightree. Mr. Flynn is a Director of
6    Beyond Global, Inc. and a 50% owner of both Beyond Global, Inc. and Brightree Holdings
7    Corp., based on his testimony at the 341 meeting for the company’s Chapter 7 bankruptcy.
8          159. Mr. James and Mr. Flynn met with Nate Thomas, an employee of The
9    Fulfillment Lab, Inc., at the Affiliate Summit East 2019 in August 2019. Both Mr. James
10   and Mr. Flynn followed up and met with employees of The Fulfillment Lab, Inc. to
11   negotiate the arrangement between it and Brightree Holdings Corp., and repeatedly
12   communicated with the company regarding the sales of Ultra Fast Keto Boost and Instant
13   Keto / InstaKeto. The arrangement was formalized in September 2019. Both of them
14   worked with The Fulfillment Lab, Inc. to coordinate the shipping of the Ultra Fast Keto
15   Boost and Instant Keto / InstaKeto products and the other services TFL and Nelson
16   provided. They communicated via at least text, Skype, and e-mail, and TFL was aware
17   from those discussions that multiple corporations were in fact involved and not just
18   Brightree Holdings Corp. Mr. Flynn was described to TFL as the contact for “contracts and
19   billing,” another individual named Mike Campbell was described to TFL as the contact for
20   “integration,” and Mr. James was described to TFL as the contact for “anything else.”
21   Brightree Holdings Corp was one of the top clients for TFL by volume and was given
22   “VIP” service at the specific direction of Richard Nelson. They were such a high volume
23   client that their onboarding created a “buzz” around the offices of TFL among its
24   employees about the account, implying that TFL would have been intimately familiar with
25   the activities and marketing of the Keto Defendants.
26         160. Mr. Flynn and Mr. James specifically directed and controlled the marketing
27   and advertising activities of Beyond Global Inc., Brightree Holdings Corp. and BMOR
28   Global LLC, including purchasing advertising, creating the products, and creating and
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1    running the websites. They hired various vendors to assist in these activities on behalf of
2    Beyond Global Inc., Brightree Holdings Corp. and BMOR Global LLC. Beyond Global
3    was the “marketing partner” of Brightree Holdings Corp. based on the testimony of Mr.
4    Flynn at the 341 meeting for the company’s Chapter 7 bankruptcy.
5          161. Mr. Flynn and Mr. James caused the Ultra Fast Keto Boost and Instant Keto /
6    InstaKeto products to be sold using multiple MIDs, or merchant account ID’s, as part of a
7    “credit card factoring” scheme. Mr. Flynn specifically referenced this scheme in
8    communications with a company called SmashLoud, stating: “We’re updating some mids
9    right now.” Those discussions made clear that there was a “mid situation” in December
10   2019, that all the mids were “down” until January 2020, and that Mr. Flynn was seeking
11   money from the merchant reserve accounts for some group of mids. On information and
12   belief, and based on testimony from Mr. Flynn at the 341 meeting for Beyond Global’s
13   Chapter 7 bankruptcy, this is because the MIDs that the Keto Defendants were using to bill
14   for the Keto Products were flagged for fraud and frozen.
15         162. In December 2019, there was a dramatic drop in the volume of products
16   shipped by TFL on behalf of Brightree Holdings Corp., which went from up to 17,000
17   shipments a week in December 2019 with TFL to between 60 and 157 shipments a week
18   in January. TFL employees were aware that dramatic drops in shipping volume meant that
19   a client had “lost their MIDs.” Losing MIDs occurs when those merchant accounts are
20   flagged for fraud and frozen.
21         163. TFL was specifically informed of this by Mr. Flynn, who told TFL employees
22   Nathan Thomas and Mark Holmes in a January 16, 2020 e-mail: “FYI we have some
23   processing back in place. Should start seeing traffic again today or tomorrow. Probably a
24   few hundred orders a day ramping to 500‐1000 by next week. Will take a month or so to
25   get back to where we were.” Mr. Flynn told the same TFL employees in a Skype chat on
26   January 23, 2020: “So we were turning orders back on last Friday and hit a snag with that
27   processor. I'm finalizing a new processor today. Will probably take them a few days to
28   finalize and approve but that will get us over $500k in volume. We'll test conversions early
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1    next week. As long as the processor approval rates are close to what they promised, we can
2    ramp that up really fast and we are talking with our advertisers and there is traffic that can
3    be had. We're almost through this.” Despite being aware of this, TFL kept shipping the
4    Keto Products for Brightree Holdings Corp. and did so for nearly a year after this lawsuit
5    was filed as well. TFL was indisputably aware of the exact nature of the scheme as of the
6    service of this lawsuit, and the fact that it continued shipping the Keto Products for such a
7    long period afterwards is evidence of its intent.
8          164. Mr. Flynn conspired with TFL employees to specifically defraud a financial
9    institution, VyaPay, regarding the MIDs used to bill for the Keto Products. VyaPay was
10   one of the payment processors being used to process payments for the products. On
11   November 4, 2019, the same day the Instant Keto / Insta Keto products were first sold
12   through TFL, David Flynn messaged TFL employees Nate Thomas and Mark Holmes
13   stating: “guys is there a way to move the nistaketo sales into a different account. We're not
14   processing them with same bank and don't want the current bank to see those sales?” Mr.
15   Holmes responded by offering to separately bill Brightree Holdings Corp from a different
16   account at TFL to enable it to hide its sales from the bank: “David - guessing you would
17   need separate billing too? we could set up a new account.”
18         165. Instead of creating separate accounts in the TFL software and setting up
19   separate billing, TFL and the Keto Defendants renamed the Instant Keto product to
20   “KetoBoost” in the TFL account, and Instant Keto / InstaKeto sales were tracked under
21   that name.
22         166. On November 13, 2019, Mike Campbell, who worked on behalf of the Keto
23   Defendants, messaged TFL employee Nate Thomas requesting access to the TFL shipping
24   software for Wain Swapp and Vanisha Shimmel, two employees of VyaPay. On
25   information and belief, this request was made in connection with VyaPay’s verification
26   and fraud detection procedures. Mr. Flynn worked with TFL employees to ensure that
27   VyaPay would not be able to see in the TFL software that other products were being
28   shipped besides Ultra Fast Keto Boost. This is because card brand rules require that a
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1    processor such as VyaPay consolidate the chargebacks for any products being sold by the
2    same company for purposes of fraud detection. For example, VISA Rule 10.4.3.3 requires
3    that multiple merchant accounts be consolidated for fraud detection purposes and for the
4    purposes of its chargeback thresholds. MasterCard Rule 5.2 similarly prohibits distributing
5    transactions across multiple merchant accounts as an improper means of avoiding fraud
6    detection.
7          167. Instant Keto / InstaKeto sales were tracked under the name “KetoBoost” in
8    the TFL software until August 20, 2020. Shortly after the Defendants were served with this
9    lawsuit, they began shipping the products under the correct name “Instant Keto” in the
10   software again. On that same day, Mr. Flynn confirmed to TFL employee Morgan Keenan
11   in a Skype conversation that the name change had been made to defraud a merchant
12   processor: “Instant keto is listed as keto boost or better boost keto in your system. That was
13   related to when we had a processor with access to check shipments. We can just change it
14   to instant keto in your system now.”
15         168. The Keto Defendants purposely directed their activities towards California by
16   shipping products to California residents, accepting and processing returns and complaints
17   from California residents, and consulting with the TFL Defendants on sales that they knew
18   would be made to California residents.
19         169. These intentional acts were expressly aimed at California residents. The Keto
20   Defendants targeted their conduct at California residents, including the Plaintiffs, and knew
21   they were California residents by virtue of their shipping addresses and other contact
22   information. On information and belief, these acts involved ongoing, systemic, and
23   continuous contact with California because the shipment of Keto Products has been
24   ongoing since at least February 2018, and consumers continue to complain even as of
25   filing. The shipping continued post-suit, at least through July 2021. At least 100,009 bottles
26   of Ultra Fast Keto Boost were shipped to California. This represents a total of at least
27   $3,974,357.66 in gross revenue attributable to sales into the state of California. At least
28   46,473 bottles of Instant Keto / InstaKeto were shipped to California. This represents a
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1    total of at least $1,845,837.02 in sales to the state of California. The acts were entirely
2    commercial in nature, as the Keto Defendants profited by billing consumers for unordered
3    bottles of Keto products. The sales were made through interactive websites which collected
4    geographic information about consumers.
5              170. The Keto Defendants generated substantial profits from their acts aimed at
6    California residents. They intentionally placed the Keto Products into the stream of
7    commerce, knowing and intending that they would be advertised over the Internet to and
8    purchased by California consumers, and conducting and directing such advertising (which
9    was identical or substantially similar to the examples shown herein).
10             171. The Keto Defendants knew or should have foreseen that their actions would
11   cause harm in California. As described above, they intentionally assisted the scammers
12   over a lengthy period of time. They did so knowing that California consumers are being
13   harmed by the scam, and specifically interacting with those consumers when they
14   attempted to obtain refunds from the fraudulent charges. Had they not provided these
15   services, the California consumers would not have been harmed because the Keto Products
16   would not have been shipped to them and their accounts would not have been improperly
17   billed.
18             172. Defendants Flynn and James were guiding spirits behind the sales to
19   California and both knew that they were occurring. They created the products, controlled
20   the business, and orchestrated the advertising campaigns which they knew were targeting
21   California customers. Both had access to and did access The Fulfillment Lab’s GFS
22   software, which provided them with details about the geographic location of consumers,
23   and they thus both knew that they were targeting California consumers through their
24   interactive websites.
25             173.   Because of these facts, personal jurisdiction is appropriate in California over
26   the Keto Defendants.
27             174. Defendants David Flynn, Rickie Joe James, Beyond Global Inc., Brightree
28   Holdings Corp. and BMOR Global LLC are alter egos of one another. They operated
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1    together as a single economic entity, as described below.
2          175. Each of the three corporate entities, Beyond Global Inc., Brightree Holdings
3    Corp. and BMOR Global LLC, sold the same products without regard to corporate
4    formalities. Defendant BMOR Global LLC contracted with an affiliate network named
5    NAM Offers to sell Ultra Fast Keto Boost using the same website, ultrafastketoboost.com,
6    as the other two entities did to sell that product. Brightree Holdings repeatedly used BMOR
7    Global e-mail addresses as its contract information in its contracts.
8          176. BMOR Global LLC and Brightree Holdings Corp. shared the same office
9    space, each listing 9121 West Russell Road, Suite 116, Las Vegas, Nevada 89148 as their
10   address on contracts and invoices. For example, BMOR Global LLC used this address in
11   its contract with NAM Offers, and Brightree Holdings used it with a company called
12   Equinox Nutraceuticals.
13         177. There is an overlap of employees between the companies. Defendants David
14   Flynn and Rickie Joe James are in management roles of each of the three entities. An
15   employee of BMOR Global LLC, Kamesha Warmack, acted on behalf of Beyond Global
16   Inc. and Brightree Holdings Corp., logging into TFL’s fulfillment software using an e-mail
17   account associated with BMOR Global LLC.
18         178. At the 341 meeting for the Chapter 7 bankruptcy, Mr. Flynn testified that the
19   sales of Beyond Global Inc. were “passing through” to Brightree Holdings Corp. Whenever
20   Beyond Global got money, it would always pass it through to Brightree, which then used
21   it to pay its own bills. This is despite the fact that Brightree Holdings Corp. did not own
22   any shares in Beyond Global—instead, Beyond Global’s shares were owned 50/50 between
23   Mr. James and Mr. Flynn. Financials were not broken out separately for Beyond Global.
24   Beyond Global did not file its own tax reports, but instead it was “treated as a wholly owned
25   subsidiary” of Brightree Holdings and its revenues were included in Brightree’s tax
26   returns—even though it was not in fact owned by Brightree at all, meaning Mr. Flynn and
27   Mr. James were commingling their own assets across corporate lines. Mr. Flynn and Mr.
28   James further commingled their assets with Beyond Global by directly paying for fees with
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1    their own money associated with Beyond Global’s bankruptcy. Both Brightree Holdings
2    Corp. and Beyond Global Inc. sold Ultra Fast Keto Boost and Instant Keto, even though
3    Brightree Holdings Corp. owned the intellectual property for those products. Brightree
4    Holdings Corp. further paid all of the advertising expenses for Beyond Global’s sales.
5    Beyond Global’s sales were processed using a custom coded CRM system proprietary to
6    Brightree Holdings Corp., and Beyond Global’s sales data is contained within that CRM
7    and controlled by Brightree Holdings Corp.
8          179. Defendant David Flynn repeatedly used his home address, 7729 Spanish Bay
9    Drive, Las Vegas, NV 89113, as the shipping address for products and materials relating
10   to the Keto Products sold by Brightree Holdings Corp.
11         180. Defendant Rick James used his personal credit card to pay for expenses
12   associated with Brightree Holdings Corp., and in particular paid for its fees associated with
13   an affiliate network named Smart Adv.
14         181. Both Mr. Flynn and Mr. James exercised control over the companies without
15   regard for formalities and treated them as a single entity with no differentiation between
16   the entities and their personal assets or interests.
17         182. BMOR Global LLC, Beyond Global Inc., and Brightree Holdings Corp.
18   shared assets without regard for formalities, namely the use of the same websites, product
19   brand names and intellectual property, and services from the same vendors including call
20   center services.
21         183. It would be inequitable not to treat these entities/individuals as alter egos of
22   one another because the corporate structure is a sham designed to avoid liability, frustrate
23   creditors, and avoid document discovery requests. As described herein, this corporate
24   structure was further designed to perpetrate a fraud and protect its perpetrators from
25   liability. Beyond Global Inc. itself was created as a means to hide the identity of the
26   individuals and companies behind the scam, and the multiple corporations were used to
27   gain access to multiple merchant accounts to bill for the same products on the same
28   websites.
                                                62
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1                          The TFL Defendants’ Participation in the Keto Scam
2           184. Essential to the Keto scheme are the TFL Defendants, who are familiar players
3    in affiliate marketing schemes, including the “straight sale” scam that is the subject of this
4    Complaint. The “TFL Defendants” includes defendants The Fulfillment Lab, Inc. and
5    Richard Nelson.
6           185. TFL was the target of a Florida news channel investigation in December 2019
7    where a Tampa resident, Norman Harris, reported that he was “shocked” to receive five
8    bottles of Instant Keto pills, which he never ordered and did not know the product at all,
9    and he was even more shocked when his credit card was charged $200 for the bottles.33
10   The news channel investigator matched the address on the bottle label, 3201 Hillsborough
11   Avenue, Tampa, Florida, with TFL’s shipping address on the BBB’s website. When the
12   investigator personally visited TFL’s office in Tampa, no one from the company would
13   appear on camera. The company’s COO, Ray Schlecter, told the investigator off camera
14   that the company “ships for companies across the country and is not responsible for their
15   clients’ billing practices.” The investigator later received a call from TFL’s CEO,
16   Defendant Rick Nelson, who told her the same thing, that TFL ships millions of products
17   for companies across the country, and that he “severs relationships with companies that
18   have a high volume of complaints.”
19          186. The BBB conducted its own investigation into TFL’s business practices as far
20   back as July 2017. The BBB’s website posts a red “Current Alerts For This Business”
21   banner across the top of TFL’s profile stating that in July 2017, BBB contacted TFL
22   because “BBB had received significant complaint activity involving a large number of
23   products using addresses owned, operated, and/or affiliated with the business.”34 The
24
25
26
     33
       https://www.wfla.com/8-on-your-side/better-call-behnken/man-receives-keto-pills-he-
     never-ordered-charged-nearly-200/ (posted on December 16, 2019, updated on
27   December 17, 2019).
     34
       https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/the-fulfillment-lab-inc-0653-
28   90142042
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                                 SECOND AMENDED CLASS ACTION COMPLAINT
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1    company did not respond to BBB’s request for information.35
2           187. Based on its investigation, the BBB identified more than 400 product lines
3    having their orders fulfilled and shipped by TFL.36 The BBB concluded:
4
5                  The Fulfillment Lab appears to be a hub for problematic online sellers
6                  to conduct business. The Fulfillment Lab has knowledge that it has, as
7                  customers, many online sellers using deceptive practices to enroll
8                  consumers in continuity programs. The Fulfillment Lab chooses to
9                  continue to do business with these customers, profiting off their
10                 financial successes that are born from these deceptive practices.37
11
12          188. Moreover, the BBB determined that a product line is marketed, with TFL’s
13   knowledge and assistance, “until it generates significant complaint activity, at which time
14   that product line is discontinued.”38
15          189. Consumers have posted numerous complaints regarding TFL on the BBB’s
16   website.39 The complaints make the same general allegations that the products that TFL
17   ships have prices that are falsely advertised, the consumers are billed substantially more
18   than the advertised prices, and the consumers are unable to obtain refunds.
19          190. The company purports to post a “company response” to some of the
20   complaints by stating there is nothing it can do to assist the consumers because it is “not
21   the manufacturer of any products and does not care for customer billing or advertising for
22
23   35
        https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/the-fulfillment-lab-inc-0653-
24   90142042/details
     36
        https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/the-fulfillment-lab-inc-0653-
25   90142042/details#all-alerts
     37
        Id.
26   38
        https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/the-fulfillment-lab-
27   inc-0653-90142042/details
     39
        https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/the-fulfillment-lab-
28   inc-0653-90142042/complaints
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1    any companies. TFL cares only for warehousing, packaging, and shipping as an entirely
2    separate company altogether….TFL cannot control how another company chooses to
3    handle customer billing issues or monitor how they advertise to consumers.”40
4          191. But, TFL’s website shows it is much more than a simple fulfillment center.
5    The company’s marketing and advertising materials to its clients—including scammers—
6    boast TFL’s assistance with, and active participation in, its clients’ businesses. The
7    company’s website provides detailed offers to attract clients with “On-demand products,”
8    “Affiliates,” “Proprietary Software,” and “Dynamic Integration.”
9          192. TFL provides its own white-label product line called “Global On-Demand
10   Fulfillment Portal” for clients to simply affix their own design and logo and sell as scams.41
11   TFL boasts that its clients will “be able to create an initial product offering, instantly add
12   complementary on-demand products, create a customized label, and start selling without
13   having to purchase the products yourself or make an upfront investment. These on-demand
14   products can be white-labeled or private-labeled with customization that aligns with your
15   brand and meets the needs of your customers. With our on-demand fulfillment solutions,
16   the opportunities for complementary product combinations and upsells that drive additional
17   revenue are nearly endless!” 42
18         193. In addition to offering white-label products, TFL also offers its clients an
19   Affiliate Program and provides “Affiliate Marketing Resources” that include articles
20   entitled “3 Reasons to Start an Affiliate Partnership with the Fulfillment Lab”; “How an
21   Affiliate Program Creates New Wholesale Revenue Streams”; “The Best Affiliate
22   Programs for eCommerce Businesses”; and “5 Affiliate Partnership Factors You Need to
23   Consider.”43
24
25
     40
        Id.
26   41
        A white-label product is considered a product or service produced by one company that
27   marketers rebrand to make it appear as if they had made it.
     42
        https://www.thefulfillmentlab.com/on-demand
28   43
        https://www.thefulfillmentlab.com/affiliates
                                               65
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1          194. TFL’s website states: “By signing up, you’ll receive a unique code so you can
2    quickly and easily share it with your contacts. We’ll even send you resources to market
3    and sell TFL with ease that can be directly passed along. Once one of your contacts creates
4    an account using your affiliate code and begins shipping, you’ll get credit and start earning
5    commissions immediately. So sit back, relax, and watch the residual income start rolling
6    in! It’s one of the most simple, speedy, and streamlined ways to increase revenue without
7    increasing the amount of time and effort you have to put in.”
8          195. Plaintiffs are informed and believe that TFL is the fulfillment company for
9    both “Instant Keto” and “Ultra Fast Keto Boost” products, and both products are the same
10   white-labeled products offered by TFL. Photographs of the two products side-by-side
11   demonstrate there is no significant distinction between them. The bottles are the same size,
12   the ingredients and supplement information are identical, the suggested use and caution
13   statements are identical, and the certification labels are the same.
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19            196. Similarly, the packing slips sent with the “Instant Keto” bottles to Ms. Sihler
20   and with the “Ultra Fast Keto Boost” bottles to Ms. Bavencoff are the same, and they follow
21   the exact template of the generic packing slip that is part of TFL’s software presented to
22   potential clients in online demonstration videos regarding their “Proprietary Software.”44
23   Compare the Keto packing slip (top) to the TFL generic packing slip (bottom):
24
25
26
27
28   44
          https://www.thefulfillmentlab.com/proprietary-software
                                                 68
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20         197. The packing slips for both “Instant Keto” and “Ultra Fast Keto Boost” list the
21   same return address as 3201 Hillsborough Avenue 153201-1378, Tampa, Florida 33684.
22   This address is a United States Post Office, which is the closest post office from the TFL
23   office located only 2.4 miles away at 5136 W. Clifton Street, Tampa, Florida 33634.
24   Tellingly, the BBB website lists the TFL office as the same Post Office on Hillsborough
25   Avenue.45
26
27
     45
       https://www.bbb.org/us/fl/tampa/profile/not-elsewhere-classified/the-fulfillment-lab-
28   inc-0653-90142042/details
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1          198. On information and belief, the TFL Defendants not only provide the white-
2    label products to the Keto Defendants perpetrating the Keto scheme, the TFL Defendants
3    also handle the returns from unhappy customers. The packing slips for the Keto Products
4    follow the exact same template of the packing slip in TFL’s software, which is shown in
5    TFL’s online demonstration videos.46
6          199. On information and belief, as Ultra Fast Keto Boost and Instant Keto’s return
7    processor, TFL is aware of the numerous customers who submit the products for return.
8    Along with these returns, TFL is notified by unhappy victims that they are being scammed
9    with false advertisements and fake celebrity endorsements.
10         200. The TFL Defendants’ role in handling product returns means that they
11   necessarily would have had knowledge of customer complaints about the Keto Products.
12   On information and belief, they would have received numerous complaints similar to the
13   ones flooding various Internet pages regarding the Keto Products.
14         201. TFL is not a mere fulfillment company—in fact, they are a scam consulting
15   operation masquerading as one. They provide numerous additional services, including
16   customized software which is designed to harvest data about customers specifically to be
17   used in marketing and advertising.47
18         202. In fact, TFL directly runs advertising campaigns for its customers. TFL’s
19   marketing director, Jelani Hunte, states on his LinkedIn profile that his duties include “Run
20   and monitor marketing campaigns” and “Identify, recruit, and activate affiliates.”48
21         203. The TFL Defendants specifically target free trial scammers as their customers
22   at various conferences, including the Affiliate Summit and the Panama Global Banking
23   Summit, which describes itself as a conference for “high risk” verticals such as “nutra,” or
24   nutraceuticals. Defendant Nelson attended this conference in Panama as a “top sponsor”
25
26   46
        https://gfs.thefulfillmentlab.com/client/16794/inventory/packing-slip/558.
27   47
        https://www.thefulfillmentlab.com/blog/the-fulfillment-lab-is-a-fulfillment-solutions-
     business.
28   48
        https://www.linkedin.com/in/jelani-hunte-89a58aba/.
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1    on behalf of The Fulfillment Lab, and he did so with the specific intention of recruiting
2    scammers as customers for the company.
3            204. The TFL Defendants’ knowledge that victims were complaining is itself an
4    intentional act of deception designed to hide their role in the fraud: the TFL Defendants
5    falsely told victims and the BBB that it is not involved with processing orders, billing, or
6    refunds when its website, presentations, and software make clear that it provides much
7    more.
8            205. The TFL Defendants knew about these complaints as far back as July 2017
9    when the BBB contacted the company as part of its investigation into the company’s
10   business practices, and as recently as December 2019, when the Tampa news channel
11   investigator visited its office asking questions about their business practices. Despite these
12   investigations and consumer complaints, the TFL Defendants have continued to do
13   business with these scammers and have successfully assisted the scammers in perpetrating
14   the fraud against Plaintiffs and the Class Members.
15           206. On information and belief, the TFL Defendants were acting as consultants to
16   assist the scammers in operating their scams in order to generate shipping business, and
17   they did so from at least February 2018 through the present. And on information and belief,
18   the TFL Defendants acted as consultants to assist the Keto Defendants in defrauding
19   consumers, they knew that the fraud was occurring, and intentionally continued to aid and
20   support the Keto Defendants in their fraud despite this knowledge.
21           207. Defendant Richard Nelson is TFL’s President, as well as the President of
22   TFL’s predecessor, Skinutra Inc. (“Skinutra”). Both companies have the same principal
23   office address at 5136 West Clifton Street, Tampa, Florida, 33634.
24           208. Mr. Nelson is no stranger to perpetrating affiliate marketing schemes.
25   Although Skinutra’s website at https://www.skinutra.com has no content, its previous
26   webpages have been archived, and the site was active at least through 2019. In 2015,
27   Skinutra’s website made it clear that it was more than just a fulfillment center and proudly
28   boasted it can actively assist its clients with “straight sale” scams:
                                                72
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1                 We utilize our industry knowledge, strategic partnerships, and global
                  expertise to realistically make available product and service solutions
2
                  designed to streamline implementation, diversification, and expansion of
3                 their sales campaign on a domestic and global level.
4
                  Whether your campaign consists of Trails (sic), Continuity, and or
5                 Straight Sale; SKINUTRA’s has a solution for you.
                  (emphasis added.)
6
7             209. Skinutra’s foregoing statements demonstrate Skinutra clearly understands the
8    different scams pervading the industry, including “trials,” “continuity,” and “straight sale”
9    models. This is exactly the “industry knowledge” that Mr. Patel acknowledged during his
10   keynote speech at the Affiliate Summit West: “Some of you guys do straight sells, so when
11   they click from that Oprah landing page, they go into a straight sell instead of forced
12   continuity.”
13            210. Skinutra’s website also boasts its ability to provide “service solutions” to
14   expand its clients’ sales. This is another code phrase meaning Skinutra will actively assist
15   scammers in maximizing their sales and making as much money as possible before their
16   victims discover the fraud.
17            211. By 2019, the Skinutra website had been updated to make it clear that TFL and
18   Skinutra are related. The bottom of Skinutra’s home page showed “Copyright 2017 THE
19   FULLFILLMENT LAB. All Rights Reserved.” In addition, Skinutra’s information page
20   was updated with a different style, but the same message that “We’ll brand any product we
21   carry with your corporate identity and you’re all set. And of course, when it comes to time
22   to handle all those orders, visit THE FULFILLMENT LAB.”
23            212. Skinutra further bragged that: “Unlike other small business, it does not take
24   much time to start selling Nutraceuticals from the comfort of your home. And to top it off,
25   we do most of the work.”49
26
27
28   49
          https://web.archive.org/web/20190611002235/http://skinutra.com/nutraceuticals/.
                                                73
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1          213. Mr. Nelson specifically directs TFL’s activities with respect to Internet
2    scammers, and he personally led efforts to customize software that would enable their
3    customers (the scammers) to more effectively market their products: “After researching
4    some of the CRM software already on the market, and being unimpressed by it, he decided
5    to create his own, which would give online retailers more visibility about consumer buying
6    habits, as well as the ability to fully customize orders and get better insight into their
7    inventories.”50
8          214. On information and belief, and based on public data on number of complaints
9    to the BBB and elsewhere, the Keto Defendants were one of the largest affiliate marketing
10   scams nationwide in the last year, and were such a high-volume customer for TFL that Mr.
11   Nelson was necessarily personally involved in recruiting them as customers and managing
12   their account. Given this volume, on information and belief Mr. Nelson personally assisted
13   the Keto Defendants in advising on their scam, and given his comments to reporters
14   indicating knowledge of the fraud which occurred prior to the named Plaintiffs being
15   injured, Mr. Nelson personally intended to injure the Plaintiffs and the Class.
16         215.   The TFL Defendants purposely directed their activities towards California by
17   shipping products to California residents, accepting and processing returns and complaints
18   from California residents, consulting with the Keto Defendants on sales that they knew
19   would be made to California residents, and otherwise providing the services listed on their
20   website in connection with California customers.
21         216. These intentional acts were expressly aimed at California residents. The TFL
22   Defendants targeted their conduct at California residents, including the Plaintiffs, and knew
23   they were California residents by virtue of their shipping addresses and other contact
24   information. On information and belief, these acts involved ongoing, systemic, and
25   continuous contact with California because the shipment of Keto Products has been
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       https://gritdaily.com/the-fulfillment-lab-customizes-packaging-to-enhance-the-
28   ecommerce-experience/.
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1    ongoing since at least February 2018, and consumers continue to complain even as of
2    filing. The acts were entirely commercial in nature, as the TFL Defendants marketed
3    themselves as providing services specifically to scammers they knew would sell
4    nationwide via the Internet.
5           217. The TFL Defendants generated substantial profits from their acts aimed at
6    California residents. They intentionally assisted the Keto Defendants in placing the Keto
7    Products into the stream of commerce, knowing and intending that they would be
8    advertised over the Internet to and purchased by California consumers.
9           218. The TFL Defendants knew or should have foreseen that their actions would
10   cause harm in California. As described above, they intentionally assisted the scammers
11   over a lengthy period of time. They have provided various services to the Keto Defendants
12   knowing that California consumers are being harmed by the scam, and specifically
13   interacting with those consumers when they attempted to obtain refunds from the
14   fraudulent charges. Had they not provided these services, the California consumers would
15   not have been harmed because the Keto Products would not have been shipped to them and
16   the Keto Defendants would not have benefitted from the experience of the TFL Defendants
17   in helping other scammers design their business processes.
18          219.    Because of these facts, personal jurisdiction is appropriate in California over
19   the TFL Defendants.
20                                 CLASS ACTION ALLEGATIONS
21          220. Plaintiffs incorporate all preceding and subsequent paragraphs by reference as
22   if set forth fully herein.
23          221. Plaintiffs bring this class action pursuant to Fed. R. Civ. P. Rule 23, seeking
24   certification of Plaintiffs’ claims and certain issues in this action on the Class, consisting
25   of:
26                 Nationwide Class: All consumers in the United States who, within the
27                 applicable statute of limitations period until the date notice is disseminated,
28                 were billed for the Keto Products.
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2            222. Plaintiffs seek certification of the following subclass:
3                   California Class: All consumers in the United States who, within the
4                   applicable statute of limitations period until the date notice is disseminated,
5                   were billed for the Keto Products.
6
7            223.   “Keto Products” means “Instant Keto,” “InstaKeto,” and “Ultra Fast Keto
8    Boost.” Plaintiffs expect that this definition will be modified in discovery as information
9    is obtained from the John Doe Defendants. In particular, Plaintiffs expect that there may
10   be other products sold by the same Defendants with the exact same formulation, similar or
11   identical injuries, but different labels or names. Plaintiffs further expect that the conduct of
12   the affiliates, the Defendants, or the “crooked processors” may be subject to a different and
13   much broader class that encompasses identical injuries that go beyond this specific product
14   line.
15           224. Excluded from the Class are governmental entities, Defendants, any entity in
16   which Defendants have a controlling interest, and Defendants’ officers, directors, affiliates,
17   legal representatives, employees, co-conspirators, successors, subsidiaries, and assigns.
18   Also excluded from the Class is any judge, justice, or judicial officer presiding over this
19   matter and the members of their immediate families and judicial staff.
20           225. Plaintiffs reserve the right to amend or modify the class descriptions by
21   making it more specific or dividing the class members into subclasses or limiting the issues.
22           226. NUMEROSITY: Plaintiffs are informed and believe, and on that basis allege,
23   that the Plaintiffs Class is so numerous that individual joinder of all members would be
24   impracticable. It is apparent that the number of consumers of injured by similar or identical
25   Products by the Defendants would be so large as to make joinder impracticable as the Class
26   (or Classes) would be comprised of thousands of consumers geographically dispersed
27   throughout the United States. While the exact number of Class members is currently
28   unknown, such information can be ascertained through appropriate discovery.
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1          227. COMMONALITY: Defendants’ practices and omissions were applied
2    uniformly to all members of the Class, so that the questions of law and fact are common to
3    all members of the Class. All members of the putative Classes were and are similarly
4    affected by having purchased and used the Keto Products, and the relief sought herein is
5    for the benefit of Plaintiffs and members of the putative Class.
6          228. PREDOMINANCE: Questions of law and fact common to the Class exist that
7    predominate over questions affecting only individual members, including but not limited
8    to:
9              a) whether Defendants’ representations discussed above are misleading, or
10                objectively reasonably likely to deceive;
11             b) whether Defendants’ omissions discussed above involve facts the Defendants
12                were obliged to disclose or facts contrary to representations by the
13                Defendants;
14             c) whether the Defendants’ owed consumers a duty to disclose the omitted
15                material facts;
16             d) whether Defendants’ alleged conduct is unlawful;
17             e) whether the alleged conduct constitutes violations of the laws asserted;
18             f) whether the Defendants’ wrongful conduct was intentional or knowing;
19             g) whether the Defendants’ wrongful conduct warrants punitive damages;
20             h) whether Defendants engaged in false or misleading advertising; and
21             i) whether Plaintiffs and Class members are entitled to appropriate remedies,
22                including restitution, damages, and injunctive relief.
23         229. TYPICALITY: The claims asserted by Plaintiffs in this action are typical of
24   the claims of the members of the Class, as the claims arise from the same course of conduct
25   by Defendants, all members of the Class have been similarly affected by Defendants’
26   course of conduct, and the relief sought is common.
27         230. ADEQUACY: Plaintiffs will fairly and adequately represent and protect the
28   interests of the members of the Class. Plaintiffs have no interest adverse to the interests of
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1    the other Class members. Plaintiffs have retained competent counsel with substantial
2    experience in complex litigation and litigation involving scientific and technical issues,
3    who are committed to vigorously prosecuting this action on behalf of the Class.
4          231. SUPERIORITY: A class action is superior to other available methods for the
5    fair and efficient adjudication of the present controversy, in that it will permit a large
6    number of claims to be resolved in a single forum simultaneously, efficiently, and without
7    the unnecessary hardship that would result from the prosecution of numerous individual
8    actions and the duplication of discovery, effort, expense and burden on the courts that
9    individual actions would engender. The benefits of proceeding as a class action, including
10   providing a method for obtaining redress for claims that would not be practical to pursue
11   individually, are far superior than any difficulties that might be argued with regard to the
12   management of this class action. This superiority makes class litigation superior to any
13   other method available for the fair and efficient adjudication of these claims. Absent a class
14   action, it would be highly unlikely that the representative Plaintiffs or any other members
15   of the Class would be able to protect their own interests because the cost of litigation
16   through individual lawsuits might exceed expected recovery.
17         232. Certification of this class action is appropriate because the questions of law or
18   fact common to the respective members of the Class predominate over questions of law or
19   fact affecting only individual members. Certification also is appropriate because
20   Defendants acted, or refused to act, on grounds generally applicable to the Class, thereby
21   making appropriate the relief sought on behalf of the Class as a whole. Further, given the
22   large number of potentially injured consumers, allowing individual actions to proceed in
23   lieu of a class action would run the risk of yielding inconsistent and conflicting
24   adjudications. Certification of Plaintiffs’ claims for class-wide treatment is also appropriate
25   because Plaintiffs can prove the elements of the claims on a class-wide basis using the same
26   evidence as would be used to prove those elements in individual actions alleging the same
27   claims.
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1           233. Notice to the members of the Class may be accomplished inexpensively,
2    efficiently, and in a manner best designed to protect the rights of all Class members. Class
3    notice can likely be directly sent to individual members of the Class because Defendants’
4    own records and documents will likely identify all members of the Class and contain their
5    contact information.
6                                        CAUSES OF ACTION
7                                     FIRST CAUSE OF ACTION
8                          Violation of the Consumer Legal Remedies Act
9                                     Cal. Civ. Code § 1750, et seq.
10          234. Plaintiffs incorporate all preceding and subsequent paragraphs by reference as
11   if set forth fully herein.
12          235. Plaintiffs bring this claim individually and on behalf of the Class.
13          236. The CLRA prohibits deceptive practices in connection with the conduct of a
14   business that provides goods, property, or services primarily for personal, family, or
15   household purposes.
16          237. Defendants’ false and misleading labeling and other policies, acts, and
17   practices were designed to, and did, induce the purchase and use of Defendants’ Keto
18   Products for personal, family, or household purposes by Plaintiffs and Class Members, and
19   violated and continue to violate the following sections of the CLRA:
20             a. § 1770(a)(2): misrepresenting the source, sponsorship, approval, or
21                 certification of goods or services, in particular through the false
22                 celebrity endorsements and false presentation of websites as news
23                 articles described herein;
24             b. § 1770(a)(3): misrepresenting the affiliation, connection, or association
25                 with, or certification by, another, in particular through the false
26                 celebrity endorsements and false presentation of websites as news
27                 articles described herein;
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                                                   79
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1             c. § 1770(a)(5): representing that goods have sponsorship, approval,
2                characteristics, ingredients, uses, benefits, or quantities that they do not
3                have, in particular through the false celebrity endorsements, the “false
4                front” websites, the representations regarding limited supply, and the
5                false presentation of websites as news articles described herein;
6             d. § 1770(a)(7): representing that goods are of a particular standard,
7                quality, or grade if they are of another, in particular the false celebrity
8                endorsements as described herein;
9             e. § 1770(a)(9): advertising goods with intent not to sell them as
10               advertised, in particular in representing that additional bottles of the
11               Keto Products would be sold at no cost to consumers who purchased
12               two or more bottles of the Keto Products, when the Defendants in fact
13               intended to charge – and did charge - the consumers full price for every
14               single bottle delivered to the consumers;
15            f. § 1770(a)(13): making false or misleading statements of fact
16               concerning reasons for, existence of, or amounts of, price reductions,
17               in particular the false representations of additional “free” bottles with
18               the purchase of two or more bottles, the false representations that the
19               additional bottles would cost $0.00, and the false representations
20               regarding limited supply as described herein.
21         238. Defendants profited from their sales of the falsely, deceptively, and
22   unlawfully advertised Product to unwary consumers.
23         239. Plaintiffs and members of the Class purchased the Products for personal use,
24   in reliance on Defendants’ false and misleading material claims as described herein.
25         240. Defendants David Flynn, Rickie Joe James, Beyond Global Inc., Brightree
26   Holdings Corp. and BMOR Global LLC, directly violated each of the sections of the CLRA
27   listed above. Those defendants sold and distributed the Keto Products, operated
28   ultrafastketoboost.com and instaketo.com, as well as the “false fronts,” and worked with
                                              80
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1    other John Doe affiliates and affiliate networks to create fake celebrity advertisements.
2    These acts were committed by Beyond Global Inc., Brightree Holdings Corp. and BMOR
3    Global LLC, and supervised and controlled by David Flynn and Rickie Joe James
4    personally.
5           241. Aiding and Abetting (TFL): Defendant The Fulfillment Lab, Inc. aided and
6    abetted Beyond Global Inc., the Keto Defendants, and other John Does, and is thus also
7    responsible for and liable for their conduct under this Cause of Action. The Fulfillment
8    Lab, Inc. knew about these violations of the CLRA and knew that these misrepresentations
9    were being made to Plaintiffs and the Class. On September 30, 2019, TFL received a
10   complaint on its BBB page stating “the ad said buy 3 get 2 free. they chareged me to all 5
11   bottles overcharging me. it was keto diet pill ad on face book was buy 3 bottle and get 2
12   free , the charded me for all 5 bottle.... one bottle was $34.95 they chaged me over $200
13   (sic).”51 TFL responded to this complaint on October 17, 2019, acknowledging that it
14   shipped the Keto product, disclaiming any responsibility, and offering to put the consumer
15   in touch with the manufacturer. On November 20, 2019, TFL received a complaint on its
16   BBB page regarding Ultrafast Keto Boost stating that “Shark Tank was used to sell product
17   falsely,” “Price was incorrect when billed,” “Purchase date 9/24/2019 $198.70, Price online
18   was $99.00,” and “It was a scam from the get go.”52 TFL responded to this complaint on
19   December 4, 2019 acknowledging that it shipped Ultrafast Keto Boost, disclaiming any
20   responsibility, and offering to put the consumer in touch with the manufacturer. TFL was
21   specifically made aware that Instant Keto was fraudulent (and specifically made aware that
22   consumers were being shipped more bottles than they paid for) in December 2019 when a
23   local news station interviewed various employees there and ran a story about it. Consumers
24   also made several other complaints on TFL’s BBB page which TFL did not respond to, but
25   which on information and belief, its employees (including Rick Nelson) read because they
26
27   51
        https://www.bbb.org/us/fl/tampa/profile/high-risk-free-trial-offers/the-fulfillment-lab-inc-0653-
     90142042/complaints (last visited Dec. 13, 2020).
28   52
        Id.
                                                   81
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1    repeatedly responded to other complaints on the same page. On October 2, 2019, a
2    consumer complained: “Ultra Fast Keto Boost advertises a 30 day money back guarantee.
3    TFL filled the order.... You try the support site and get more advertising for the product.
4    Call the number they want to give two bottles of ? told them I wanted the full refund as
5    stated. then it was I can give you 25% , I said no full refund. She put me on hold came back
6    and said there would be a $5.00 restocking fee and I would have to pay for return shipping.
7    This advertising a full 30 day refund is fraud not disclosing all details of returns.”53 On
8    November 1, 2019, a consumer complained: “THIS COMPANY ASSOCIATED
9    W/KETOBOOST IS A RIP OFF SCAM. I ORDERED 1 BOTTLE OF KETO BOOST
10   AND THEY CHARGED ME $149.98 THEY SAID THEY WOULD REFUND $79.98
11   BUT NOT ONLY DID THEY NEVER DO IT THEY WONT ANSWER THE PHONE
12   SO THEY GAVE ME ANOTHER NUMBER TO CALL THEY KEEP SAYING THEY
13   WILL REFUND THE DIFFERENCE BUT NEVER HAVE.AND I AM A DISABLED
14   VET ON A FIXED INCOME WHAT A WAY FOR A COMPANY TO TREAT A
15   VETERAN.”54 On December 19, 2019, a consumer complained: “Ordered keto from tv,
16   returned it on 9-19-19. I am in need of refund $198.70.”55
17          242. TFL knew of the CLRA violations and misrepresentations involving the Keto
18   Products from the very beginning of the wrongful conduct. In addition to the BBB reviews
19   posted on TFL’s BBB page specific to the Keto Products and the local news story, other
20   circumstantial evidence about its business practices supports this allegation. As described
21   herein, TFL was contacted by the BBB in July 2017 regarding its’ clients business
22   practices, and was specifically made aware that it was shipping products sold using fake
23   celebrity advertisements and “unauthorized and/or unexpected charges.” Ultrafast Keto
24   Boost is included on a list of TFL products using these deceptive tactics that the BBB
25
26
     53
        https://www.bbb.org/us/fl/tampa/profile/high-risk-free-trial-offers/the-fulfillment-lab-inc-0653-
27   90142042/customer-reviews (last visited Dec. 13, 2020).
     54
        Id.
28   55
        Id.
                                                   82
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1    maintains on the TFL complaints page, which TFL and Defendant Nelson have repeatedly
2    accessed to reply to comments on. As described herein, TFL acted as the returns processor
3    for the Keto Products, and it was made aware of the CLRA violations and
4    misrepresentations through customer complaints. TFL provided its custom software to
5    Beyond Global Inc. and the Keto Defendants, integrated that software into
6    ultrafastketoboost.com and instaketo.com, meaning it was aware of all of the
7    misrepresentations on those websites. TFL further directly runs advertising campaigns for
8    its customers and assists in that advertising, including for Beyond Global Inc. and the Keto
9    Defendants, meaning that it was aware of the fake celebrity advertisements and other
10   misrepresentations described herein as being part of the sales funnel. TFL was further
11   familiar with schemes like this generally because it specifically targeted scammers as
12   customers and recruited them as clients at conferences. TFL further acted as consultants
13   for Beyond Global Inc. and the Keto Defendants in their scam, and in that role was
14   necessarily aware of how the scam worked. Because a large number of TFL’s customers
15   have been “free trial scammers” since its inception, TFL was aware that on April 12, 2019,
16   Mastercard introduced stricter payment processing rules for subscription billing. Those
17   rules made it far more difficult to run a subscription scam. But these scams are generally
18   billed under a particular code: MCC 5968 (Direct Marketing—Continuity/Subscription
19   Merchants). If the products were shipped as a subscription, they would be subject to rules
20   including regular account reviews by Mastercard, strict disclosure requirements, and a
21   requirement to obtain explicit customer permission to charge the card after a “free trial”
22   ended. TFL knew that by shipping the products in a single batch, instead of a subscription,
23   it was helping its existing “free trial scam” customers continue their scam by allowing them
24   to bill under codes that were not subject to the new rules but to continue to ship unordered
25   products. The BBB reviews on the TFL page reflect that customer complaints regarding
26   TFL began shifting from complaints about free trial scams to primarily complaints about
27   multi-bottle shipments around this time. TFL was further aware of the wrongs being
28   committed because it has a multi-month “onboarding” process for new customers in which
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1    Defendant Nelson guided and advised Beyond Global Inc. and the Keto Defendants, and
2    because Beyond Global Inc. and the Keto Defendants were long-term clients of TFL. TFL
3    further has a policy of signing separate contracts with each shell company used by
4    scammers to sign up for merchant accounts, which was revealed in sworn declarations in a
5    separate lawsuit in Vanderpool v. Pai, No. SC129441, filed in Los Angeles County
6    Superior Court. There, TFL was the shipping company for a free trial scammer who was
7    ultimately prosecuted in Puerto Rico. TFL signed separate contracts with the Wyoming
8    shell companies being used to sign up for merchant accounts there. Because of this policy,
9    TFL was aware of the false fronts and merchant accounts scheme here because it was
10   signing contracts with large numbers of companies to ship the same products. The
11   Fulfillment Lab, Inc. knew these violations and misrepresentations were a breach of duty
12   to Plaintiffs and the Class because it knew Beyond Global Inc. and the Keto Defendants
13   were committing fraud, intentional torts, were exposing Plaintiff and the Class to harms
14   TFL could foresee, and TFL knew they were not being treated with due care but instead
15   were being intentionally defrauded.
16         243. The Fulfillment Lab, Inc. gave substantial assistance and encouragement to
17   Beyond Global Inc., the Keto Defendants, and other John Does by: shipping the Keto
18   Products, providing access to their fulfillment software and integrating it with the
19   ultrafastketoboost.com and instaketo.com websites, providing white label product services,
20   providing advice and encouragement, including advice on how to market the products and
21   advice on how to structure the shipments to enable the fraud to avoid VISA and Mastercard
22   rules, providing marketing resources and articles, handling returns and complaints, directly
23   running advertising campaigns, acting as general consultants advising on how to run the
24   scam, and using their strategic partnerships to refer them to other service providers. The
25   Fulfillment Lab, Inc.’s conduct was a substantial factor in causing harm to Plaintiffs and
26   the Class. The shipping services and shipping of the unordered products were a necessary
27   fig leaf to avoid detection of the fraud and to enable victims’ credit cards and bank accounts
28   to be billed without chargebacks being issued by their banks, and by knowingly shipping
                                               84
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1    more bottles than consumers actually ordered TFL enabled the other defendants to issue
2    unauthorized charges for more than the consumers agreed to. Without TFL’s assistance,
3    Beyond Global Inc., the Keto Defendants, and other John Does’ scam could not have
4    operated—they could not have shipped the products, they would not have had products to
5    ship because of the white label services, they would not have been able to target customers
6    using the software data, and they would not have had TFL’s advice on how to avoid new
7    card brand rules designed to flag and prevent the scam. The injuries to Plaintiffs and the
8    Class would not have occurred but for The Fulfillment Lab, Inc.’s conduct because the
9    scam would have been quickly flagged as fraud and the merchant accounts cancelled
10   without these shipping services to provide the “fig leaf” of a purported product sale. The
11   Fulfillment Lab’s conduct was a proximate cause of the injuries to Plaintiffs and the Class
12   because the injuries were direct and reasonably foreseeable results of the conduct, in that
13   TFL knew how the scam worked and knew about the misrepresentations made on the
14   websites, and it was reasonably foreseeable that providing this assistance would result in
15   customers being billed for products they did not order and which were marketed in
16   violation of the CLRA. The Fulfillment Lab, Inc. had specific intent to facilitate the
17   wrongful conduct by Beyond Global Inc., the Keto Defendants, and other John Does and
18   consciously decided to participate in that tortious conduct, as evidenced by its recruitment
19   of scammers at conferences, its continued participation despite consumer complaints and
20   investigations by the BBB and the media, and the other facts suggesting its knowledge.
21         244. Even if it did not have knowledge of the wrongful conduct, The Fulfillment
22   Lab, Inc. is separately responsible for and liable for the CLRA violations and
23   misrepresentations by Beyond Global Inc., the Keto Defendants, and other John Does as
24   an aider and abettor because it gave them substantial assistance in achieving the tortious
25   result and its own conduct, separately considered, constitutes a breach of duty to Plaintiff
26   and the Class. The Fulfillment Lab, Inc. owed duties to Plaintiffs and the Class, including
27   a duty not to commit fraud, a duty not to commit intentional torts, a general duty of due
28   care to avoid exposing Plaintiffs and the Class to foreseeable harms, the duties imposed
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1    under Cal. Civ. Code 1714(a), duties not to injure Plaintiffs and the Class by violating
2    California and Federal laws, and general duties of care arising from its relationship with
3    and interaction with Plaintiffs and the Class. The Fulfillment Lab, Inc.’s own conduct,
4    separately considered, breached these duties because it directly committed torts against
5    Plaintiff and the Class, namely violations of the UCL “unlawful prong” described in the
6    Fourth Cause of Action (specifically, mail fraud, violations of the Sherman Food, Drug, &
7    Cosmetic Law, and violations of the Federal Food, Drug, & Cosmetic Act) and violations
8    of RICO as described in the Fifth Cause of Action. As described above, it gave them
9    substantial assistance in achieving the tortious result.
10         245. Aiding and Abetting (Nelson): Defendant Rick Nelson aided and abetted
11   Beyond Global Inc., the Keto Defendants, and other John Does, and is thus also responsible
12   for and liable for their conduct under this Cause of Action. Mr. Nelson knew about these
13   violations of the CLRA and knew that these misrepresentations were being made to
14   Plaintiffs and the Class. Mr. Nelson was specifically informed of the violations because he
15   was the individual responding on behalf of TFL to the BBB Complaints discussed herein,
16   including the complaints regarding the Keto Products on September 30, 2019 and
17   November 20, 2019. Many of TFL’s responses to customer complaints specifically identify
18   Nelson as the author. On August 13, 2018, TFL received a complaint on its BBB page
19   about “weight loss products” that TFL was shipping which the consumer had not ordered
20   and had specifically cancelled. Mr. Nelson responded on August 28, 2018 acknowledging
21   that TFL had shipped the product and claiming the consumer had agreed via the terms and
22   conditions. On June 27, 2018, TFL received a complaint on its BBB page about a skin
23   cream, informing TFL that it was shipping products to the consumer as part of a “fraud”
24   even though the consumer had never ordered them. On July 6, 2018, Mr. Nelson again
25   responded and again claimed that the consumer had agreed via the terms of service. On
26   March 14, 2018, TFL received a complaint on its BBB page that outlined a “free trial scam”
27   and specifically accused TFL of assisting with it: “I looked on the BBB website and there
28   are numerous complaints similar to mine for this company and many others at this same
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1    address. This matter needs to be investigated by your office. This company is scamming
2    people out of hundreds of dollars and is committing fraud.” Mr. Nelson responded on
3    March 28, 2018, acknowledging that TFL shipped the product but disclaiming any
4    responsibility and pointing to the terms of service. Notably, all three complaints involved
5    the same company—and yet TFL and Nelson continued shipping products for them. Mr.
6    Nelson had knowledge of the fraud because he was personally contacted by journalists
7    from a local news station about the fraud as described herein. He had knowledge as a result
8    of his personal attendance at conferences where he sought free trial scammers as clients,
9    including the Panama Global Banking Summit. He further had knowledge as a result of his
10   role as CEO of TFL, which through much of this period was a smaller company which Mr.
11   Nelson has described as having a “startup” atmosphere, meaning Nelson was aware of all
12   of its activities.56 Mr. Nelson further engages in “live chat meetings” with clients, and as a
13   result of these meetings had personal knowledge of the nature of the wrongs being
14   committed by Beyond Global Inc., the Keto Defendants, and other John Does.57 At a
15   presentation at the Panama Global Banking Summit in 2017, Mr. Nelson stated that he
16   “onboards” customers in a multi-month process and that he “advises” and “guides” them.58
17   He further repeatedly stated that TFL avoids short term customers and instead has long-
18   term relationships with them: “We don’t want business that’s going to be 2 months, 3
19   months, 4 months. We want to do business with people that are going to be here 12 months,
20   2 years, 5 years, 10 years. So everyone on the panel, I know you know everyone’s clients
21   here, they have very long lasting relationships with their clients.”59 By onboarding Beyond
22   Global Inc. and the Keto Defendants, and by advising and guiding them, Nelson acquired
23   detailed knowledge of the wrongs they were committing.
24
25
26   56
        https://gritdaily.com/the-fulfillment-lab-customizes-packaging-to-enhance-the-ecommerce-
     experience/.
27   57
        Id.
     58
        https://panama-gbs.com/rick-del-rio/.
28   59
        Id.
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1          246. Nelson knew of the CLRA violations and misrepresentations involving the
2    Keto Products from the very beginning of the wrongful conduct. This is supported by the
3    evidence above, in particular his involvement in the “onboarding” process and his detailed
4    involvement in advising and guiding clients. Nelson knew these violations and
5    misrepresentations were a breach of duty to Plaintiffs and the Class because he knew
6    Beyond Global Inc. and the Keto Defendants were committing fraud, intentional torts, were
7    exposing Plaintiff and the Class to harms he could foresee, and he knew they were not
8    being treated with due care but instead were being intentionally defrauded.
9          247. Nelson gave substantial assistance and encouragement to Beyond Global Inc.,
10   the Keto Defendants, and other John Does by: directing, controlling, and supervising TFL’s
11   conduct described herein, including shipping the Keto Products, providing access to their
12   fulfillment software and integrating it with the ultrafastketoboost.com and instaketo.com
13   websites, providing white label product services, providing marketing resources and
14   articles, handling returns and complaints, directly running advertising campaigns, acting
15   as general consultants advising on how to run the scam, and using their strategic
16   partnerships to refer them to other service providers. Nelson personally was involved in
17   providing advice and encouragement, both as part of the onboarding process and in live
18   chat meetings, including advice on how to market the products and advice on how to
19   structure the shipments to enable the fraud to avoid VISA and Mastercard rules. Nelson’s
20   conduct was a substantial factor in causing harm to Plaintiffs and the Class. The shipping
21   services and shipping of the unordered products were a necessary fig leaf to avoid detection
22   of the fraud and to enable victims’ credit cards and bank accounts to be billed without
23   chargebacks being issued by their banks, and by causing TFL to knowingly ship more
24   bottles than consumers actually ordered Nelson enabled the other defendants to issue
25   unauthorized charges for more than the consumers agreed to. Without Nelson’s assistance,
26   Beyond Global Inc., the Keto Defendants, and other John Does’ scam could not have
27   operated—they could not have shipped the products, they would not have had products to
28   ship because of the white label services, they would not have been able to target customers
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1    using the software data, and they would not have had Nelson’s advice on how to avoid new
2    card brand rules designed to flag and prevent the scam. The injuries to Plaintiffs and the
3    Class would not have occurred but for Nelson’s conduct because the scam would have been
4    quickly flagged as fraud and the merchant accounts cancelled without these shipping
5    services to provide the “fig leaf” of a purported product sale. Nelson’s conduct was a
6    proximate cause of the injuries to Plaintiffs and the Class because the injuries were direct
7    and reasonably foreseeable results of the conduct, in that Nelson knew how the scam
8    worked and knew about the misrepresentations made on the websites, and it was reasonably
9    foreseeable that providing this assistance would result in customers being billed for
10   products they did not order and which were marketed in violation of the CLRA. Nelson
11   had specific intent to facilitate the wrongful conduct by Beyond Global Inc., the Keto
12   Defendants, and other John Does and consciously decided to participate in that tortious
13   conduct, as evidenced by his recruitment of scammers at conferences, his continued
14   participation despite consumer complaints and investigations by the BBB and the media,
15   and the other facts suggesting his knowledge.
16         248. Even if he did not have knowledge of the wrongful conduct, Nelson is
17   separately responsible for and liable for the CLRA violations and misrepresentations by
18   Beyond Global Inc., the Keto Defendants, and other John Does as an aider and abettor
19   because he gave them substantial assistance in achieving the tortious result and his own
20   conduct, separately considered, constitutes a breach of duty to Plaintiff and the Class.
21   Nelson owed duties to Plaintiffs and the Class, including a duty not to commit fraud, a duty
22   not to commit intentional torts, a general duty of due care to avoid exposing Plaintiffs and
23   the Class to foreseeable harms, the duties imposed under Cal. Civ. Code 1714(a), duties
24   not to injure Plaintiffs and the Class by violating California and Federal laws, and general
25   duties of care arising from TFL’s relationship with and interaction with Plaintiffs and the
26   Class. Nelson’s own conduct, separately considered, breached these duties because he
27   directly committed torts against Plaintiff and the Class, namely violations of the UCL
28   “unlawful prong” described in the Fourth Cause of Action (specifically, mail fraud,
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1    violations of the Sherman Food, Drug, & Cosmetic Law, and violations of the Federal
2    Food, Drug, & Cosmetic Act) and violations of RICO as described in the Fifth Cause of
3    Action. As described above, Nelson gave them substantial assistance in achieving the
4    tortious result.
5           249. Conspiracy (General Allegations): Defendants were part of a conspiracy to
6    commit tortious conduct in violation of the CLRA. The wrongful CLRA violations were
7    directly committed by Beyond Global Inc., the Keto Defendants, and other John Does. The
8    conspiracy was in existence between The Fulfillment Lab Inc., Rick Nelson, the Keto
9    Defendants, and other John Does at least as of August 2019. The conspiracy operated at a
10   high level as follows: the Keto Defendants created the products in conjunction with TFL
11   and Nelson as part of TFL’s white label product program; the Keto Defendants created the
12   websites, false fronts, signed up for merchant accounts with shell companies, and sent false
13   front websites to banks; the Keto Defendants marketed the products with advice and
14   assistance from TFL and Nelson; Nelson personally advised the Defendants on how to run
15   the scam and on their marketing; Nelson directed, controlled, and supervised TFL’s
16   conduct; TFL shipped the products and provided other services in support of the scheme;
17   and other John Does were hired by the Keto Defendants to perform other support services
18   and to create “affiliate advertising” sending victims to the websites. Each Defendants’ role
19   in the conspiracy is described in further detail in this Complaint in the sections on each
20   Defendant, which are incorporated here by reference.
21          250. The conspiracy damaged Plaintiffs and the Class, in that they lost money or
22   property, time, and attention, were billed for products they did not order, and paid more for
23   products than they would have had they been aware that Defendants’ representations were
24   false. Plaintiffs and other Class Members ended up with Products that were overpriced,
25   inaccurately marketed, and did not have the characteristics, qualities, or value promised by
26   Defendants, and therefore suffered injury in fact.
27          251. Conspiracy (TFL): Defendant The Fulfillment Lab Inc. was part of a
28   conspiracy to commit the CLRA violations described herein. TFL agreed with Beyond
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1    Global Inc., the Keto Defendants, and other John Does to commit these wrongful acts, and
2    intended that these wrongful acts be committed. Such agreement is implied by the conduct
3    of the parties and can be inferred from the nature of the acts done because: (1) TFL did not
4    merely help operate this scam but at least 400 other similar scams; (2) TFL structured the
5    shipments specifically to avoid Mastercard rules on subscription payments; (3) TFL had a
6    close and longstanding business relationship with Beyond Global Inc. and the Keto
7    Defendants in which it advised them on marketing and how to run their scams; (4) TFL
8    nominally had a policy of cancelling business relationships with companies “accused of
9    fraudulent business practices” but repeatedly failed to follow that policy as to its co-
10   conspirators here; (5) TFL signed separate contracts with each shell company to ship the
11   same products from the same website, implying knowledge of and agreement to the
12   merchant account aspect of the fraud; (6) TFL specifically targeted scammers running fake
13   celebrity ads and “free trials” to recruit as its clients at conferences; (7) TFL had a multi-
14   month onboarding process for its co-conspirators in which it worked together with them
15   advising them on their business; (8) TFL refused to cooperate in BBB investigations
16   identifying its clients as committing fraud; (9) TFL continued working with its co-
17   conspirators in this lawsuit even after another of its clients was indicted by federal
18   prosecutors on May 15, 2019 in Puerto Rico for merchant account fraud in a “free trial”
19   scam; and (10) TFL continued working with its co-conspirators even after receiving
20   customer complaints of the fraud as the returns processor that it was shipping unordered
21   products that had been falsely advertised. The agreement can be inferred from the
22   relationship between the parties because of the close consulting relationship, because of
23   the length of the business relationship, and because it was structured such that TFL was
24   contracting with numerous shell companies individually despite knowing it was actually
25   working for other John Doe(s). The agreement can be inferred from the interests of the co-
26   conspirators because TFL received payment according to how many items it shipped, and
27   therefore had incentive to encourage the shipment of as many items as possible regardless
28   of whether they were actually ordered. There was at least a tacit agreement to commit the
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1    wrongful acts because TFL was repeatedly informed of these wrongful acts, and yet it did
2    not quit shipping the products or terminate the business relationship despite telling
3    customers complaining about Ultrafast Keto Boost on the BBB website that “TFL carefully
4    reviews its relationship with any company that has been accused of fraudulent business
5    practices.”
6          252. TFL agreed to cooperate in the commission of these wrongful acts and
7    committed wrongful conduct in furtherance of the conspiracy. Such cooperation includes
8    all of the activities identified as substantial assistance and encouragement in the aiding and
9    abetting section of the First Cause of Action, which is incorporated by reference here. TFL
10   acted in concert with its co-conspirators, as explained therein.
11         253. TFL was aware that its co-conspirators planned to commit these CLRA
12   violations, and it knew of the unlawful purpose of the conspiracy, as described supra in the
13   aiding and abetting section of the First Cause of Action as to TFL, which is incorporated
14   here by reference. TFL acted in furtherance of its own financial gain, in that it was paid for
15   its services by Beyond Global Inc. and the Keto Defendants and made money each time a
16   customer was injured. TFL owed duties to Plaintiffs and the Class, including a duty not to
17   commit fraud, a duty not to commit intentional torts, a general duty of due care to avoid
18   exposing Plaintiffs and the Class to foreseeable harms, the duties imposed under Cal. Civ.
19   Code 1714(a), duties not to injure Plaintiffs and the Class by violating California and
20   Federal laws, and general duties of care arising from its relationship with and interaction
21   with Plaintiffs and the Class.
22         254. Conspiracy (Nelson): Defendant Nelson was part of a conspiracy to commit
23   the CLRA violations described herein. Nelson agreed with Beyond Global Inc., the Keto
24   Defendants, and other John Does to commit these wrongful acts, and intended that these
25   wrongful acts be committed. Such agreement is implied by the conduct of the parties and
26   can be inferred from the nature of the acts done because: (1) Nelson personally advised the
27   Keto Defendants and Beyond Global Inc. on how to run the scam and on their marketing,
28   in particular in the onboarding process and in live chats; (2) Nelson directed, controlled,
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1    and supervised TFL’s conduct, including the ten items listed in the conspiracy claim in the
2    First Cause of Action as to TFL, which are incorporated herein by reference; (3) Nelson
3    personally responded to BBB complaints as to the Keto Products, including by describing
4    TFL’s nominal policy of cancelling business relationships with companies “accused of
5    fraudulent business practices,” but then did nothing to investigate or cancel the
6    relationship; (4) Nelson was aware of the BBB investigation since 2017 but continued to
7    cause TFL to work with clients he knew to be committing fraud; (5) Nelson personally
8    recruited clients he knew to be committing fraud at conferences; (6) Nelson was contacted
9    by local media regarding the InstaKeto product but again failed to enforce TFL’s nominal
10   policy as to fraudulent business practices; and (7) Nelson advised his co-conspirators on
11   how to structure the shipments to enable the fraud to avoid VISA and Mastercard rules.
12   The agreement can be inferred from the relationship between the parties because of the
13   close consulting relationship, because of the length of the business relationship, because it
14   was structured such that TFL was contracting with numerous shell companies individually
15   despite knowing it was actually working for other John Doe(s), and because of Nelson’s
16   role in onboarding clients and in controlling TFL’s activities. The agreement can be
17   inferred from the interests of the co-conspirators because Nelson owns TFL, and TFL
18   received payment according to how many items it shipped, and therefore he had incentive
19   to encourage the shipment of as many items as possible regardless of whether they were
20   actually ordered. There was at least a tacit agreement to commit the wrongful acts because
21   Nelson was repeatedly informed of these wrongful acts, and yet he did not quit shipping
22   the products or terminate the business relationship despite telling customers complaining
23   about Ultrafast Keto Boost on the BBB website that “TFL carefully reviews its relationship
24   with any company that has been accused of fraudulent business practices.”
25         255. Nelson agreed to cooperate in the commission of these wrongful acts and
26   committed wrongful conduct in furtherance of the conspiracy. Such cooperation includes
27   all of the activities identified as substantial assistance and encouragement in the aiding and
28   abetting section of the First Cause of Action, which is incorporated by reference here.
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1    Nelson acted in concert with his co-conspirators, as explained therein.
2             256. Nelson was aware that his co-conspirators planned to commit these CLRA
3    violations, and he knew of the unlawful purpose of the conspiracy, as described supra in
4    the aiding and abetting section of the First Cause of Action as to Nelson, which is
5    incorporated here by reference. Nelson acted in furtherance of his own financial gain, in
6    that TFL was paid for its services by Beyond Global Inc. and the Keto Defendants and
7    made money each time a customer was injured, and Nelson further profited by providing
8    other services through other companies he owned such as Skinutra. Nelson owed duties to
9    Plaintiffs and the Class, including a duty not to commit fraud, a duty not to commit
10   intentional torts, a general duty of due care to avoid exposing Plaintiffs and the Class to
11   foreseeable harms, the duties imposed under Cal. Civ. Code 1714(a), duties not to injure
12   Plaintiffs and the Class by violating California and Federal laws, and general duties of care
13   arising from his role in TFL’s relationship with and interaction with Plaintiffs and the
14   Class.
15            257. Pursuant to Cal. Civ. Code § 1780(d), Plaintiffs have attached its affidavit of
16   venue hereto as Exhibit 2.
17            258. As a result of Defendants’ violations of the CLRA, Plaintiffs and the Class
18   have suffered irreparable harm and seek injunctive relief prohibiting further violations of
19   the CLRA. Plaintiffs and the Class also seek to recover their attorneys’ fees and costs.
20            259. Ms. Sihler and Ms. Bavencoff have standing to seek injunctive relief because
21   they may be injured by the Defendants’ conduct in the future. Defendants appear to be
22   cycling through product names and product types, and on information and belief, have been
23   running other “straight sale” scams. Defendants may present other offers that result in
24   fraudulent billing and which would be difficult to detect or identify as coming from them.
25   Defendants also have Ms. Sihler’s and Ms. Bavencoff’s personal information and could try
26   to use their personal information for nefarious purposes without their consent, just as they
27   did in the past.
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1           260. Under Cal. Civ. Code § 1782(d), Plaintiffs may without prior notification file
2    a complaint alleging violations of the CLRA that seeks injunctive relief only. If the
3    Plaintiffs later send a CLRA notification letter and the defendant does not remedy the
4    CLRA violations within 30 days of notification, the Plaintiffs may amend their CLRA
5    causes of action without leave of court to add claims for damages.
6           261. Pursuant to §1782 of the CLRA, Plaintiff sent CLRA letters to the named
7    Defendants on September 8, 2020. Defendants failed to adequately respond to Plaintiffs’
8    demands within 30 days of the letters pursuant to §1782 of the CLRA. Plaintiff and the
9    Class therefore also seek actual damages, punitive damages, restitution, and any other relief
10   that the Court deems proper pursuant to the CLRA.
11                                   SECOND CAUSE OF ACTION
12                       Violation of the California False Advertising Law
13                                Cal. Bus. & Prof. Code §§ 17500, et seq.
14          262. Plaintiffs incorporate all preceding and subsequent paragraphs by reference as
15   if set forth fully herein.
16          263. Plaintiffs bring this claim individually and on behalf of the Class.
17          264. Pursuant to California Business and Professions Code § 17500, et seq., it is
18   unlawful to engage in advertising “which is untrue or misleading, and which is known, or
19   which by the exercise of reasonable care should be known, to be untrue or misleading . . .
20   [or] to so make or disseminate or cause to be so made or disseminated any such statement
21   as part of a plan or scheme with the intent not to sell that personal property or those
22   services, professional or otherwise, so advertised at the price stated therein, or as so
23   advertised.”
24          265. Defendants have violated § 17500, et seq., in particular as described herein
25   through the false celebrity endorsements, the false advertised prices of the products, the
26   omissions regarding their “false front” websites, their presentation of the “false front”
27   websites to banks and credit card companies, the representations regarding limited supply,
28   their efforts to make it difficult to obtain refunds, the “free” bottles representations, the
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1    false representation that the additional bottles of product would cost $0.00 with the
2    purchase of two or more bottles, and the false presentation of websites as news articles
3    described herein.
4          266. Pursuant to California Business and Professions Code § 17505, “No person
5    shall state, in an advertisement of his goods, that he is a producer, manufacturer, processor,
6    wholesaler, or importer, or that he owns or controls a factory or other source of supply of
7    goods, when such is not the fact, and no person shall in any other manner misrepresent the
8    character, extent, volume, or type of his business.”
9          267. Defendants have violated § 17505, in particular through their representations
10   of limited supply, the “false front” website, the false celebrity endorsements, and the false
11   presentation of websites as news articles described herein.
12         268. Defendants misled consumers by making misrepresentations and untrue
13   statements about their products as described herein.
14         269. Defendants misled consumers by omitting material information which they
15   were under a duty to disclose as described herein. Defendants were under a duty to disclose
16   this material information to Plaintiffs and the Class Members.
17         270. Defendants knew, or by the exercise of reasonable care should have known,
18   that their representations and omissions were untrue and misleading, and deliberately made
19   the aforementioned representations and omissions in order to deceive reasonable
20   consumers like Plaintiffs and other Class Members. In particular and inter alia, this is
21   evidenced by the numerous negative reviews online regarding these products and others
22   which were specifically directed at the Defendants or their companies by name, by
23   customer complaints which, on information and belief, were communicated directly to the
24   Defendants by victims, by the outlandishness of the conduct described and of the stories
25   the Defendants concocted regarding celebrity endorsements, including the judging panel
26   on Shark Tank, Jennifer Hudson, Wendy Williams, Drew Carey, and others, the significant
27   publicity these illegal schemes have received, prior FTC actions and criminal prosecutions
28   against similar enterprises, and the fact that the prevalence and illegality of these activities
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1    is well known in the affiliate marketing and direct marketing industries.
2          271. As a direct and proximate result of Defendants’ misleading and false
3    advertising, Plaintiffs and the other Class Members have suffered injury in fact and have
4    lost money or property, time, and attention. Plaintiffs reasonably relied upon Defendants’
5    representations regarding their products. In reasonable reliance on Defendants’ false
6    representations, Plaintiffs and other Class Members purchased the products at issue and
7    paid more for those products than they would have had they been aware that Defendants’
8    representations were false. Plaintiffs and other Class Members ended up with Products that
9    were overpriced, inaccurately marketed, and did not have the characteristics, qualities, or
10   value promised by Defendants, and therefore Plaintiffs and other Class Members have
11   suffered injury in fact.
12         272. Defendants’ representations were material to the decision of Plaintiffs and the
13   Class Members to purchase Defendants’ products, and a reasonable person would have
14   attached importance to the truth or falsity of the representations made by the Defendants
15   in determining whether to purchase the Defendants’ products. The suggestion that the
16   products were endorsed by celebrities and magazines was a factor in Ms. Sihler’s and Ms.
17   Bavencoff’s purchases and tended to lend credibility to the Keto products, and a reasonable
18   consumer who knew this was false would not have purchased the products. With respect
19   to the omissions by Defendants as described herein, those omissions were material and
20   Plaintiffs and the Class Members would have behaved differently if the information had
21   been disclosed. Had Defendants disclosed the omitted information, that the consumers
22   would be overcharged for bottles they never ordered nor consented to purchasing, that there
23   was not a limited supply, and that Defendants intended to use the “false front” websites to
24   defraud the consumers’ banks and credit card companies if they attempted a chargeback,
25   Plaintiffs and the Class Members would have been aware of these facts and would not have
26   purchased the products from Defendants or would not have paid the same price for those
27   products.
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1          273. Defendants advertised to Plaintiffs and other Class Members, through written
2    representations and omissions made by Defendants and their employees that the Keto
3    Products would be of a particular nature and quality.
4          274. Defendants David Flynn, Rickie Joe James, Beyond Global Inc., Brightree
5    Holdings Corp. and BMOR Global LLC directly violated the FAL. Those defendants sold
6    and distributed the Keto Products, operated ultrafastketoboost.com and instaketo.com, as
7    well as the “false fronts,” and worked with other John Doe affiliates and affiliate networks
8    to create fake celebrity advertisements. These acts were committed by Beyond Global Inc.,
9    Brightree Holdings Corp. and BMOR Global LLC, and supervised and controlled by David
10   Flynn and Rickie Joe James personally.
11         275. Aiding and Abetting (TFL): Defendant The Fulfillment Lab, Inc. aided and
12   abetted Beyond Global Inc., the Keto Defendants, and other John Does, and is thus also
13   responsible for and liable for their conduct under this Cause of Action. The Fulfillment
14   Lab, Inc. knew about these violations of the FAL and knew that these misrepresentations
15   were being made to Plaintiffs and the Class.
16         276. TFL knew of the FAL violations and misrepresentations involving the Keto
17   Products from the very beginning of the wrongful conduct. Plaintiff incorporates by
18   reference the facts and allegations outlined in the Aiding and Abetting portion of the First
19   Cause of Action as to TFL’s knowledge. In addition to the BBB reviews specific to the
20   Keto Products and the local news story, other circumstantial evidence about its business
21   practices supports this allegation. As described herein, TFL acted as the returns processor
22   for the Keto Products, and it was made aware of the FAL violations and misrepresentations
23   through customer complaints. TFL provided its custom software to Beyond Global Inc.
24   and the Keto Defendants, integrated that software into ultrafastketoboost.com and
25   instaketo.com, meaning it was aware of all of the misrepresentations on those websites.
26   TFL further directly runs advertising campaigns for its customers and assists in that
27   advertising, including for Beyond Global Inc. and the Keto Defendants, meaning that it
28   was aware of the fake celebrity advertisements and other misrepresentations described
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1    herein as being part of the sales funnel. TFL was further familiar with schemes like this
2    generally because it specifically targeted scammers as customers and recruited them as
3    clients at conferences. TFL further acted as consultants for Beyond Global Inc. and the
4    Keto Defendants in their scam, and in that role was necessarily aware of how the scam
5    worked. Plaintiff incorporates by reference the facts from the First Cause of Action
6    regarding the Mastercard rule changes, which TFL was aware of and intentionally designed
7    its clients’ shipments to circumvent. TFL further had an onboarding process and live
8    customer chats resulting in its knowledge of the wrongs. TFL further had a policy of
9    signing separate contracts with each shell company meaning it knew of the merchant
10   account scheme and false fronts. The Fulfillment Lab, Inc. knew these violations and
11   misrepresentations were a breach of duty to Plaintiffs and the Class because it knew
12   Beyond Global Inc. and the Keto Defendants were committing fraud, intentional torts, were
13   exposing Plaintiff and the Class to harms TFL could foresee, and TFL knew they were not
14   being treated with due care but instead were being intentionally defrauded.
15         277. The Fulfillment Lab, Inc. gave substantial assistance and encouragement to
16   Beyond Global Inc., the Keto Defendants, and other John Does by: shipping the Keto
17   Products, providing access to their fulfillment software and integrating it with the
18   ultrafastketoboost.com and instaketo.com websites, providing white label product services,
19   providing advice and encouragement, including advice on how to market the products and
20   advice on how to structure the shipments to enable the fraud to avoid VISA and Mastercard
21   rules, providing marketing resources and articles, handling returns and complaints, directly
22   running advertising campaigns, acting as general consultants advising on how to run the
23   scam, and using their strategic partnerships to refer them to other service providers. The
24   Fulfillment Lab, Inc.’s conduct was a substantial factor in causing harm to Plaintiffs and
25   the Class. The shipping services and shipping of the unordered products were a necessary
26   fig leaf to avoid detection of the fraud and to enable victims’ credit cards and bank accounts
27   to be billed without chargebacks being issued by their banks, and by knowingly shipping
28   more bottles than consumers actually ordered TFL enabled the other defendants to issue
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1    unauthorized charges for more than the consumers agreed to. Without TFL’s assistance,
2    Beyond Global Inc., the Keto Defendants, and other John Does’ scam could not have
3    operated—they could not have shipped the products, they would not have had products to
4    ship because of the white label services, they would not have been able to target customers
5    using the software data, and they would not have had TFL’s advice on how to avoid new
6    card brand rules designed to flag and prevent the scam. The injuries to Plaintiffs and the
7    Class would not have occurred but for The Fulfillment Lab, Inc.’s conduct because the
8    scam would have been quickly flagged as fraud and the merchant accounts cancelled
9    without these shipping services to provide the “fig leaf” of a purported product sale. The
10   Fulfillment Lab’s conduct was a proximate cause of the injuries to Plaintiffs and the Class
11   because the injuries were direct and reasonably foreseeable results of the conduct, in that
12   TFL knew how the scam worked and knew about the misrepresentations made on the
13   websites, and it was reasonably foreseeable that providing this assistance would result in
14   customers being billed for products they did not order and which were deceptively
15   marketed. The Fulfillment Lab, Inc. had specific intent to facilitate the wrongful conduct
16   by Beyond Global Inc., the Keto Defendants, and other John Does and consciously decided
17   to participate in that tortious conduct, as evidenced by its recruitment of scammers at
18   conferences, its continued participation despite consumer complaints and investigations by
19   the BBB and the media, and the other facts suggesting its knowledge.
20         278. Even if it did not have knowledge of the wrongful conduct, The Fulfillment
21   Lab, Inc. is separately responsible for and liable for the FAL violations and
22   misrepresentations by Beyond Global Inc., the Keto Defendants, and other John Does as
23   an aider and abettor because it gave them substantial assistance in achieving the tortious
24   result and its own conduct, separately considered, constitutes a breach of duty to Plaintiff
25   and the Class. The Fulfillment Lab, Inc. owed duties to Plaintiffs and the Class, including
26   a duty not to commit fraud, a duty not to commit intentional torts, a general duty of due
27   care to avoid exposing Plaintiffs and the Class to foreseeable harms, the duties imposed
28   under Cal. Civ. Code 1714(a), duties not to injure Plaintiffs and the Class by violating
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1    California and Federal laws, and general duties of care arising from its relationship with
2    and interaction with Plaintiffs and the Class. The Fulfillment Lab, Inc.’s own conduct,
3    separately considered, breached these duties because it directly committed torts against
4    Plaintiff and the Class, namely violations of the UCL “unlawful prong” described in the
5    Fourth Cause of Action (specifically, mail fraud, violations of the Sherman Food, Drug, &
6    Cosmetic Law, and violations of the Federal Food, Drug, & Cosmetic Act) and violations
7    of RICO as described in the Fifth Cause of Action. As described above, it gave them
8    substantial assistance in achieving the tortious result.
9          279. Aiding and Abetting (Nelson): Defendant Rick Nelson aided and abetted
10   Beyond Global Inc., the Keto Defendants, and other John Does, and is thus also responsible
11   for and liable for their conduct under this Cause of Action. Plaintiff incorporates by
12   reference the facts and allegations outlined in the Aiding and Abetting portion of the First
13   Cause of Action as to Nelson’s knowledge. Mr. Nelson knew about these violations of the
14   FAL and knew that these misrepresentations were being made to Plaintiffs and the Class.
15   In particular and as described supra, Mr. Nelson knew because of his involvement in
16   responding to BBB complaints, because of being questioned by local media, because of his
17   personal attendance at conferences recruiting scammers as clients, because of his role as
18   CEO, because of his involvement in live chat meetings and onboarding, and because of the
19   length of the business relationship with Beyond Global Inc. and the Keto Defendants.
20   Nelson knew of the FAL violations and misrepresentations involving the Keto Products
21   from the very beginning of the wrongful conduct. Nelson knew these violations and
22   misrepresentations were a breach of duty to Plaintiffs and the Class because he knew
23   Beyond Global Inc. and the Keto Defendants were committing fraud, intentional torts, were
24   exposing Plaintiff and the Class to harms he could foresee, and he knew they were not
25   being treated with due care but instead were being intentionally defrauded.
26         280. Nelson gave substantial assistance and encouragement to Beyond Global Inc.,
27   the Keto Defendants, and other John Does by: directing, controlling, and supervising TFL’s
28   conduct described herein, including shipping the Keto Products, providing access to their
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1    fulfillment software and integrating it with the ultrafastketoboost.com and instaketo.com
2    websites, providing white label product services, providing marketing resources and
3    articles, handling returns and complaints, directly running advertising campaigns, acting
4    as general consultants advising on how to run the scam, and using their strategic
5    partnerships to refer them to other service providers. Nelson personally was involved in
6    providing advice and encouragement, both as part of the onboarding process and in live
7    chat meetings, including advice on how to market the products and advice on how to
8    structure the shipments to enable the fraud to avoid VISA and Mastercard rules. Nelson’s
9    conduct was a substantial factor in causing harm to Plaintiffs and the Class. The shipping
10   services and shipping of the unordered products were a necessary fig leaf to avoid detection
11   of the fraud and to enable victims’ credit cards and bank accounts to be billed without
12   chargebacks being issued by their banks, and by causing TFL to knowingly ship more
13   bottles than consumers actually ordered Nelson enabled the other defendants to issue
14   unauthorized charges for more than the consumers agreed to. Without Nelson’s assistance,
15   Beyond Global Inc., the Keto Defendants, and other John Does’ scam could not have
16   operated—they could not have shipped the products, they would not have had products to
17   ship because of the white label services, they would not have been able to target customers
18   using the software data, and they would not have had Nelson’s advice on how to avoid new
19   card brand rules designed to flag and prevent the scam. The injuries to Plaintiffs and the
20   Class would not have occurred but for Nelson’s conduct because the scam would have been
21   quickly flagged as fraud and the merchant accounts cancelled without these shipping
22   services to provide the “fig leaf” of a purported product sale. Nelson’s conduct was a
23   proximate cause of the injuries to Plaintiffs and the Class because the injuries were direct
24   and reasonably foreseeable results of the conduct, in that Nelson knew how the scam
25   worked and knew about the misrepresentations made on the websites, and it was reasonably
26   foreseeable that providing this assistance would result in customers being billed for
27   products they did not order and which were marketed in violation of the FAL. Nelson had
28   specific intent to facilitate the wrongful conduct by Beyond Global Inc., the Keto
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1    Defendants, and other John Does and consciously decided to participate in that tortious
2    conduct, as evidenced by his recruitment of scammers at conferences, his continued
3    participation despite consumer complaints and investigations by the BBB and the media,
4    and the other facts suggesting his knowledge.
5           281. Even if he did not have knowledge of the wrongful conduct, Nelson is
6    separately responsible for and liable for the FAL violations and misrepresentations by
7    Beyond Global Inc., the Keto Defendants, and other John Does as an aider and abettor
8    because he gave them substantial assistance in achieving the tortious result and his own
9    conduct, separately considered, constitutes a breach of duty to Plaintiff and the Class.
10   Nelson owed duties to Plaintiffs and the Class, including a duty not to commit fraud, a duty
11   not to commit intentional torts, a general duty of due care to avoid exposing Plaintiffs and
12   the Class to foreseeable harms, the duties imposed under Cal. Civ. Code 1714(a), duties
13   not to injure Plaintiffs and the Class by violating California and Federal laws, and general
14   duties of care arising from TFL’s relationship with and interaction with Plaintiffs and the
15   Class. Nelson’s own conduct, separately considered, breached these duties because he
16   directly committed torts against Plaintiff and the Class, namely violations of the UCL
17   “unlawful prong” described in the Fourth Cause of Action (specifically, mail fraud,
18   violations of the Sherman Food, Drug, & Cosmetic Law, and violations of the Federal
19   Food, Drug, & Cosmetic Act) and violations of RICO as described in the Fifth Cause of
20   Action. As described above, Nelson gave them substantial assistance in achieving the
21   tortious result.
22          282. Conspiracy (General Allegations): Defendants were part of a conspiracy to
23   commit tortious conduct in violation of the FAL. The wrongful FAL violations were
24   directly committed by Beyond Global Inc., the Keto Defendants, and other John Does. The
25   conspiracy was in existence between The Fulfillment Lab Inc., Rick Nelson, the Keto
26   Defendants, and other John Does at least as of August 2019. The conspiracy operated at a
27   high level as follows: the Keto Defendants created the products in conjunction with TFL
28   and Nelson as part of TFL’s white label product program; the Keto Defendants created the
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1    websites, false fronts, signed up for merchant accounts with shell companies, and sent false
2    front websites to banks; the Keto Defendants marketed the products with advice and
3    assistance from TFL and Nelson; Nelson personally advised the Keto Defendants on how
4    to run the scam and on their marketing; Nelson directed, controlled, and supervised TFL’s
5    conduct; TFL shipped the products and provided other services in support of the scheme;
6    and other John Does were hired by the Keto Defendants to perform other support services
7    and to create “affiliate advertising” sending victims to the websites. Each Defendants’ role
8    in the conspiracy is described in further detail in this Complaint in the sections on each
9    Defendant, which are incorporated here by reference.
10         283. The conspiracy damaged Plaintiffs and the Class, in that they lost money or
11   property, time, and attention, were billed for products they did not order, and paid more for
12   products than they would have had they been aware that Defendants’ representations were
13   false. Plaintiffs and other Class Members ended up with Products that were overpriced,
14   inaccurately marketed, and did not have the characteristics, qualities, or value promised by
15   Defendants, and therefore suffered injury in fact.
16         284. Conspiracy (TFL): Defendant The Fulfillment Lab Inc. was part of a
17   conspiracy to commit the FAL violations described herein. TFL agreed with Beyond
18   Global Inc., the Keto Defendants, and other John Does to commit these wrongful acts, and
19   intended that these wrongful acts be committed. Such agreement is implied by the conduct
20   of the parties and can be inferred from the nature of the acts done, as explained in the
21   conspiracy section as to TFL in the First Cause of Action, which is incorporated by
22   reference herein. The agreement can be inferred from the relationship between the parties
23   because of the close consulting relationship, because of the length of the business
24   relationship, and because it was structured such that TFL was contracting with numerous
25   shell companies individually despite knowing it was actually working for other John
26   Doe(s). The agreement can be inferred from the interests of the co-conspirators because
27   TFL received payment according to how many items it shipped, and therefore had incentive
28   to encourage the shipment of as many items as possible regardless of whether they were
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1    actually ordered. There was at least a tacit agreement to commit the wrongful acts because
2    TFL was repeatedly informed of these wrongful acts, and yet it did not quit shipping the
3    products or terminate the business relationship despite telling customers complaining about
4    Ultrafast Keto Boost on the BBB website that “TFL carefully reviews its relationship with
5    any company that has been accused of fraudulent business practices.”
6          285. TFL agreed to cooperate in the commission of these wrongful acts and
7    committed wrongful conduct in furtherance of the conspiracy. Such cooperation includes
8    all of the activities identified as substantial assistance and encouragement in the aiding and
9    abetting section of the First Cause of Action, which is incorporated by reference here. TFL
10   acted in concert with its co-conspirators, as explained therein.
11         286. TFL was aware that its co-conspirators planned to commit these FAL
12   violations, and it knew of the unlawful purpose of the conspiracy, as described supra in the
13   aiding and abetting section of the First Cause of Action as to TFL, which is incorporated
14   here by reference. TFL acted in furtherance of its own financial gain, in that it was paid for
15   its services by Beyond Global Inc. and the Keto Defendants and made money each time a
16   customer was injured. TFL owed duties to Plaintiffs and the Class, including a duty not to
17   commit fraud, a duty not to commit intentional torts, a general duty of due care to avoid
18   exposing Plaintiffs and the Class to foreseeable harms, the duties imposed under Cal. Civ.
19   Code 1714(a), duties not to injure Plaintiffs and the Class by violating California and
20   Federal laws, and general duties of care arising from its relationship with and interaction
21   with Plaintiffs and the Class.
22         287. Conspiracy (Nelson): Defendant Nelson was part of a conspiracy to commit
23   the FAL violations described herein. Nelson agreed with Beyond Global Inc., the Keto
24   Defendants, and other John Does to commit these wrongful acts, and intended that these
25   wrongful acts be committed. Such agreement is implied by the conduct of the parties and
26   can be inferred from the nature of the acts done as explained in the conspiracy section as
27   to TFL in the First Cause of Action, which is incorporated by reference herein. The
28   agreement can be inferred from the relationship between the parties because of the close
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1    consulting relationship, because of the length of the business relationship, because it was
2    structured such that TFL was contracting with numerous shell companies individually
3    despite knowing it was actually working for other John Doe(s), and because of Nelson’s
4    role in onboarding clients and in controlling TFL’s activities. The agreement can be
5    inferred from the interests of the co-conspirators because Nelson owns TFL, and TFL
6    received payment according to how many items it shipped, and therefore he had incentive
7    to encourage the shipment of as many items as possible regardless of whether they were
8    actually ordered. There was at least a tacit agreement to commit the wrongful acts because
9    Nelson was repeatedly informed of these wrongful acts, and yet he did not quit shipping
10   the products or terminate the business relationship despite telling customers complaining
11   about Ultrafast Keto Boost on the BBB website that “TFL carefully reviews its relationship
12   with any company that has been accused of fraudulent business practices.”
13         288. Nelson agreed to cooperate in the commission of these wrongful acts and
14   committed wrongful conduct in furtherance of the conspiracy. Such cooperation includes
15   all of the activities identified as substantial assistance and encouragement in the aiding and
16   abetting section of the First Cause of Action, which is incorporated by reference here.
17   Nelson acted in concert with his co-conspirators, as explained therein.
18         289. Nelson was aware that his co-conspirators planned to commit these FAL
19   violations, and he knew of the unlawful purpose of the conspiracy, as described supra in
20   the aiding and abetting section of the First Cause of Action as to Nelson, which is
21   incorporated here by reference. Nelson acted in furtherance of his own financial gain, in
22   that TFL was paid for its services by Beyond Global Inc. and the Keto Defendants and
23   made money each time a customer was injured, and Nelson further profited by providing
24   other services through other companies he owned such as Skinutra. Nelson owed duties to
25   Plaintiffs and the Class, including a duty not to commit fraud, a duty not to commit
26   intentional torts, a general duty of due care to avoid exposing Plaintiffs and the Class to
27   foreseeable harms, the duties imposed under Cal. Civ. Code 1714(a), duties not to injure
28   Plaintiffs and the Class by violating California and Federal laws, and general duties of care
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1    arising from his role in TFL’s relationship with and interaction with Plaintiffs and the
2    Class.
3             290. The misleading and false advertising described herein presents a continuing
4    threat to Plaintiffs and the Class Members in that Defendants persist and continue to engage
5    in these practices, and they will not cease doing so unless and until forced to do so by this
6    Court. Defendants’ conduct will continue to cause irreparable injury to consumers unless
7    enjoined or restrained. Plaintiffs are entitled to injunctive relief ordering Defendants to
8    cease their false advertising, and Plaintiffs and all Class Members are entitled to restitution
9    of the entirety of the Defendants’ revenues associated with their false advertising, or such
10   portion of those revenues as the Court may find equitable.
11                                    THIRD CAUSE OF ACTION
12                         Violation of the Unfair and Fraudulent Prongs
13                            of the California Unfair Competition Law
14                                Cal. Bus. & Prof. Code §§ 17200, et seq.
15            291. Plaintiffs incorporate all preceding and subsequent paragraphs by reference as
16   if set forth fully herein.
17            292. Plaintiffs bring this claim individually and on behalf of the Class under the
18   “unfair” and “fraudulent” prongs of California’s Unfair Competition Law, Business and
19   Professions Code section 17200, et seq., on behalf of themselves and the Classes against
20   Defendants.
21            293. As alleged herein, Plaintiffs have suffered injury in fact and lost money or
22   property as a result of Defendants’ conduct because Ms. Sihler and Ms. Bavencoff were
23   billed, without their permission, significantly more money than the advertised prices for
24   the Keto Bottles. Plaintiffs suffered their injuries at the time of purchase when Plaintiffs
25   bought the Keto Products that did not deliver the benefits Defendants promised, as well as
26   on the dates their debit and credit cards were billed, without their permission, for additional
27   bottles of product that were supposed to be free.
28
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1          294. The Unfair Competition Law, Business & Professions Code §17200, et seq.
2    (“UCL”) prohibits “unfair competition,” which includes “any unlawful, unfair or
3    fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising
4    and any act prohibited by Chapter 1 (commencing with Section 17500) of Part 3 of Division
5    7 of the Business and Professions Code.”
6          295. Defendants committed “unfair” business acts or practices by, among other
7    things: (1) engaging in conduct where the utility of such conduct, if any, is outweighed by
8    the gravity of the consequences to Plaintiffs and members of the Classes; (2) engaging in
9    conduct that is immoral, unethical, oppressive, unscrupulous, or substantially injurious to
10   Plaintiffs and members of the Classes; and (3) engaging in conduct that undermines or
11   violates the spirit or intent of the consumer protection laws alleged in this Class Action
12   Complaint.
13         296. The utility of the conduct committed by Defendants and as described herein
14   is nonexistent. There is no utility to falsely suggest to customers that the product has been
15   endorsed by celebrities; to falsely claim that the “media is in a frenzy” about the product;
16   to falsely attribute use of the product to “before” and “after” photographs of individuals
17   with extreme weight loss; to post fake customer reviews about the benefits of the product;
18   to falsely claim there is a limited supply of the product and that the special offers will
19   expire soon; to falsely claim that the formula is patented; and to run a “false front” website
20   that deceives banks and regulators, or to any of the other conduct by Defendants. The harm
21   to consumers caused by this conduct, by contrast, is significant. Defendants’ conduct
22   described herein not only deprived the consumers of the value they were expecting to
23   receive, it also caused them to treat themselves with ineffective products rather than
24   alternative options, deprived them of money, and interfered with their lawful efforts to
25   convince their banks and credit card companies that a fraudulent transaction had occurred.
26         297. Defendants’ conduct as described in this Complaint offends established public
27   policies. Defendants’ conduct violated numerous civil and criminal statutes, as described
28   further herein and in detail in the Fourth Cause of Action. Those statutes exist for a reason:
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1    to protect consumers from unfair marketing practices, and in many cases to protect
2    consumers’ health. It is a particularly important public policy issue to avoid these kinds of
3    violations in products that relate to health care or that are ingested into the human body
4    given the risks of such violations.
5          298. Defendants’ conduct as described in this Complaint is immoral, unethical,
6    oppressive, and unscrupulous, as well as substantially injurious to Plaintiffs and the Class.
7    In particular and inter alia, this is evidenced by the outlandishness of the conduct described
8    and of the story Defendants concocted regarding celebrity endorsements, including the
9    judging panel on Shark Tank, Jennifer Hudson, Wendy Williams, Drew Carey, and other
10   celebrities, the significant publicity these illegal free trial schemes have received, prior
11   FTC actions against similar criminal enterprises, and the fact that the illegality of these
12   activities is well known in the affiliate marketing and direct marketing industries, and by
13   the widespread dishonesty present in Defendants’ marketing materials.
14         299. Defendants’ conduct as described in this Complaint violates the letter, spirit,
15   and intent of the consumer protection laws. Their products are marketed dishonestly and
16   in violation of various consumer protection laws, as described herein and in the Causes of
17   Action of this Complaint.
18         300. As detailed herein, Defendants’ unfair and/or fraudulent practices include
19   disseminating false and/or misleading representations, through their marketing and
20   advertising.
21         301. Defendants are aware that the claims or omissions they have made about the
22   Keto Products were and continue to be false and misleading.
23         302. Defendants had an improper motive—profit before accurate marketing—in
24   their practices related to their deceptive practices, as set forth herein.
25         303. There were reasonably available alternatives to further Defendants’ legitimate
26   business interests other than the conduct described herein. For example, Defendants could
27   have removed the false and misleading representations from their advertisements, provided
28   omitted information to Plaintiffs and the other Class Members to avoid any deception, and
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1    could have complied with the law rather than violating the statutes as described in
2    Plaintiff’s Fourth Cause of Action.
3          304. As a direct and proximate result of Defendants’ unfair or fraudulent business
4    acts and practices and misleading and false advertising, Plaintiffs and the other Class
5    Members have suffered injury in fact and have lost money or property, time, and attention.
6    Plaintiffs reasonably relied upon Defendants’ representations regarding their products. In
7    reasonable reliance on Defendants’ false representations, Plaintiffs and other Class
8    Members purchased the products at issue and paid more for those products than they would
9    have had they been aware that Defendants’ representations were false. Plaintiffs and other
10   Class Members ended up with the Keto Products that were overpriced, inaccurately
11   marketed, and did not have the characteristics, qualities, or value promised by Defendants,
12   and therefore Plaintiffs and other Class Members have suffered injury in fact.
13         305. Defendant’s representations were material to the decision of Plaintiffs and the
14   Class Members to purchase Defendant’s products, and a reasonable person would have
15   attached importance to the truth or falsity of the representations made by Defendant in
16   determining whether to purchase Defendant’s products, as described in detail herein. With
17   respect to the omissions by Defendant as described herein, those omissions were material
18   and Plaintiffs and the Class Members would have behaved differently if the information
19   had been disclosed. Had Defendants disclosed the omitted information, Plaintiffs and the
20   Class Members would have been aware of it and would not have purchased the products
21   from Defendant or would not have paid the same price for those products. Similarly, had
22   Defendants not engaged in the unfair and fraudulent business acts or practices described in
23   this Complaint, Plaintiffs and the Class Members would not have purchased the products
24   from Defendant or would not have paid the same price for those products.
25         306. As purchasers and consumers of Defendants’ Products, and as members of the
26   general public who purchased and used the Products and have suffered injury in fact and
27   lost money and property as a result of this unfair competition and unlawful conduct,
28   Plaintiffs and the Class are entitled to and bring this class action seeking all available
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1    remedies under the UCL.
2          307. The unfair and unlawful competitive practices described herein presents a
3    continuing threat to Plaintiffs and the Class Members in that Defendants persist and
4    continue to engage in these practices, and will not cease doing so unless and until forced
5    to do so by this Court. Defendants’ conduct will continue to cause irreparable injury to
6    consumers unless enjoined or restrained. Under Business & Professions Code § 17203,
7    Plaintiffs are entitled to injunctive relief ordering Defendants to cease their unfair
8    competitive practices, and Plaintiffs and all Class Members are entitled to restitution of the
9    entirety of the Defendants’ revenues associated with their unlawful acts and practices, or
10   such portion of those revenues as the Court may find equitable.
11         308. Defendants David Flynn, Rickie Joe James, Beyond Global Inc., Brightree
12   Holdings Corp. and BMOR Global LLC directly violated the UCL’s “unfair” and
13   “fraudulent” prongs. Those defendants sold and distributed the Keto Products, operated
14   ultrafastketoboost.com and instaketo.com, as well as the “false fronts,” and worked with
15   other John Doe affiliates and affiliate networks to create fake celebrity advertisements.
16   These acts were committed by Beyond Global Inc., Brightree Holdings Corp. and BMOR
17   Global LLC, and supervised and controlled by David Flynn and Rickie Joe James
18   personally.
19         309. Aiding and Abetting (TFL): Defendant The Fulfillment Lab, Inc. aided and
20   abetted Beyond Global Inc., the Keto Defendants, and other John Does, and is thus also
21   responsible for and liable for their conduct under this Cause of Action. The Fulfillment
22   Lab, Inc. knew about these violations of the UCL and knew that these misrepresentations
23   were being made to Plaintiffs and the Class.
24         310. TFL knew of the UCL violations and misrepresentations involving the Keto
25   Products from the very beginning of the wrongful conduct. Plaintiff incorporates by
26   reference the facts and allegations outlined in the Aiding and Abetting portion of the First
27   Cause of Action as to TFL’s knowledge. In addition to the BBB reviews specific to the
28   Keto Products and the local news story, other circumstantial evidence about its business
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1    practices supports this allegation. As described herein, TFL acted as the returns processor
2    for the Keto Products, and it was made aware of the UCL violations and misrepresentations
3    through customer complaints. TFL provided its custom software to Beyond Global Inc.
4    and the Keto Defendants, integrated that software into ultrafastketoboost.com and
5    instaketo.com, meaning it was aware of all of the misrepresentations on those websites.
6    TFL further directly runs advertising campaigns for its customers and assists in that
7    advertising, including for Beyond Global Inc. and the Keto Defendants, meaning that it
8    was aware of the fake celebrity advertisements and other misrepresentations described
9    herein as being part of the sales funnel. TFL was further familiar with schemes like this
10   generally because it specifically targeted scammers as customers and recruited them as
11   clients at conferences. TFL further acted as consultants for Beyond Global Inc. and the
12   Keto Defendants in their scam, and in that role was necessarily aware of how the scam
13   worked. Plaintiff incorporates by reference the facts from the First Cause of Action
14   regarding the Mastercard rule changes, which TFL was aware of and intentionally designed
15   its clients’ shipments to circumvent. TFL further had an onboarding process and live
16   customer chats resulting in its knowledge of the wrongs. TFL further had a policy of
17   signing separate contracts with each shell company meaning it knew of the merchant
18   account scheme and false fronts. The Fulfillment Lab, Inc. knew these violations and
19   misrepresentations were a breach of duty to Plaintiffs and the Class because it knew
20   Beyond Global Inc. and the Keto Defendants were committing fraud, intentional torts, were
21   exposing Plaintiff and the Class to harms TFL could foresee, and TFL knew they were not
22   being treated with due care but instead were being intentionally defrauded.
23         311. The Fulfillment Lab, Inc. gave substantial assistance and encouragement to
24   Beyond Global Inc., the Keto Defendants, and other John Does by: shipping the Keto
25   Products, providing access to their fulfillment software and integrating it with the
26   ultrafastketoboost.com and instaketo.com websites, providing white label product services,
27   providing advice and encouragement, including advice on how to market the products and
28   advice on how to structure the shipments to enable the fraud to avoid VISA and Mastercard
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1    rules, providing marketing resources and articles, handling returns and complaints, directly
2    running advertising campaigns, acting as general consultants advising on how to run the
3    scam, and using their strategic partnerships to refer them to other service providers. The
4    Fulfillment Lab, Inc.’s conduct was a substantial factor in causing harm to Plaintiffs and
5    the Class. The shipping services and shipping of the unordered products were a necessary
6    fig leaf to avoid detection of the fraud and to enable victims’ credit cards and bank accounts
7    to be billed without chargebacks being issued by their banks, and by knowingly shipping
8    more bottles than consumers actually ordered TFL enabled the other defendants to issue
9    unauthorized charges for more than the consumers agreed to. Without TFL’s assistance,
10   Beyond Global Inc., the Keto Defendants, and other John Does’ scam could not have
11   operated—they could not have shipped the products, they would not have had products to
12   ship because of the white label services, they would not have been able to target customers
13   using the software data, and they would not have had TFL’s advice on how to avoid new
14   card brand rules designed to flag and prevent the scam. The injuries to Plaintiffs and the
15   Class would not have occurred but for The Fulfillment Lab, Inc.’s conduct because the
16   scam would have been quickly flagged as fraud and the merchant accounts cancelled
17   without these shipping services to provide the “fig leaf” of a purported product sale. The
18   Fulfillment Lab’s conduct was a proximate cause of the injuries to Plaintiffs and the Class
19   because the injuries were direct and reasonably foreseeable results of the conduct, in that
20   TFL knew how the scam worked and knew about the misrepresentations made on the
21   websites, and it was reasonably foreseeable that providing this assistance would result in
22   customers being billed for products they did not order and which were deceptively
23   marketed. The Fulfillment Lab, Inc. had specific intent to facilitate the wrongful conduct
24   by Beyond Global Inc., the Keto Defendants, and other John Does and consciously decided
25   to participate in that tortious conduct, as evidenced by its recruitment of scammers at
26   conferences, its continued participation despite consumer complaints and investigations by
27   the BBB and the media, and the other facts suggesting its knowledge.
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1          312. Even if it did not have knowledge of the wrongful conduct, The Fulfillment
2    Lab, Inc. is separately responsible for and liable for the UCL violations and
3    misrepresentations by Beyond Global Inc., the Keto Defendants, and other John Does as
4    an aider and abettor because it gave them substantial assistance in achieving the tortious
5    result and its own conduct, separately considered, constitutes a breach of duty to Plaintiff
6    and the Class. The Fulfillment Lab, Inc. owed duties to Plaintiffs and the Class, including
7    a duty not to commit fraud, a duty not to commit intentional torts, a general duty of due
8    care to avoid exposing Plaintiffs and the Class to foreseeable harms, the duties imposed
9    under Cal. Civ. Code 1714(a), duties not to injure Plaintiffs and the Class by violating
10   California and Federal laws, and general duties of care arising from its relationship with
11   and interaction with Plaintiffs and the Class. The Fulfillment Lab, Inc.’s own conduct,
12   separately considered, breached these duties because it directly committed torts against
13   Plaintiff and the Class, namely violations of the UCL “unlawful prong” described in the
14   Fourth Cause of Action (specifically, mail fraud, violations of the Sherman Food, Drug, &
15   Cosmetic Law, and violations of the Federal Food, Drug, & Cosmetic Act) and violations
16   of RICO as described in the Fifth Cause of Action. As described above, it gave them
17   substantial assistance in achieving the tortious result.
18         313. Aiding and Abetting (Nelson): Defendant Rick Nelson aided and abetted
19   Beyond Global Inc., the Keto Defendants, and other John Does, and is thus also responsible
20   for and liable for their conduct under this Cause of Action. Plaintiff incorporates by
21   reference the facts and allegations outlined in the Aiding and Abetting portion of the First
22   Cause of Action as to Nelson’s knowledge. Mr. Nelson knew about these violations of the
23   UCL and knew that these misrepresentations were being made to Plaintiffs and the Class.
24   In particular and as described supra, Mr. Nelson knew because of his involvement in
25   responding to BBB complaints, because of being questioned by local media, because of his
26   personal attendance at conferences recruiting scammers as clients, because of his role as
27   CEO, because of his involvement in live chat meetings and onboarding, and because of the
28   length of the business relationship with Beyond Global Inc. and the Keto Defendants.
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1    Nelson knew of the UCL violations and misrepresentations involving the Keto Products
2    from the very beginning of the wrongful conduct. Nelson knew these violations and
3    misrepresentations were a breach of duty to Plaintiffs and the Class because he knew
4    Beyond Global Inc. and the Keto Defendants were committing fraud, intentional torts, were
5    exposing Plaintiff and the Class to harms he could foresee, and he knew they were not
6    being treated with due care but instead were being intentionally defrauded.
7          314. Nelson gave substantial assistance and encouragement to Beyond Global Inc.,
8    the Keto Defendants, and other John Does by: directing, controlling, and supervising TFL’s
9    conduct described herein, including shipping the Keto Products, providing access to their
10   fulfillment software and integrating it with the ultrafastketoboost.com and instaketo.com
11   websites, providing white label product services, providing marketing resources and
12   articles, handling returns and complaints, directly running advertising campaigns, acting
13   as general consultants advising on how to run the scam, and using their strategic
14   partnerships to refer them to other service providers. Nelson personally was involved in
15   providing advice and encouragement, both as part of the onboarding process and in live
16   chat meetings, including advice on how to market the products and advice on how to
17   structure the shipments to enable the fraud to avoid VISA and Mastercard rules. Nelson’s
18   conduct was a substantial factor in causing harm to Plaintiffs and the Class. The shipping
19   services and shipping of the unordered products were a necessary fig leaf to avoid detection
20   of the fraud and to enable victims’ credit cards and bank accounts to be billed without
21   chargebacks being issued by their banks, and by causing TFL to knowingly ship more
22   bottles than consumers actually ordered Nelson enabled the other defendants to issue
23   unauthorized charges for more than the consumers agreed to. Without Nelson’s assistance,
24   Beyond Global Inc., the Keto Defendants, and other John Does’ scam could not have
25   operated—they could not have shipped the products, they would not have had products to
26   ship because of the white label services, they would not have been able to target customers
27   using the software data, and they would not have had Nelson’s advice on how to avoid new
28   card brand rules designed to flag and prevent the scam. The injuries to Plaintiffs and the
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1    Class would not have occurred but for Nelson’s conduct because the scam would have been
2    quickly flagged as fraud and the merchant accounts cancelled without these shipping
3    services to provide the “fig leaf” of a purported product sale. Nelson’s conduct was a
4    proximate cause of the injuries to Plaintiffs and the Class because the injuries were direct
5    and reasonably foreseeable results of the conduct, in that Nelson knew how the scam
6    worked and knew about the misrepresentations made on the websites, and it was reasonably
7    foreseeable that providing this assistance would result in customers being billed for
8    products they did not order and which were marketed in violation of the UCL. Nelson had
9    specific intent to facilitate the wrongful conduct by Beyond Global Inc., the Keto
10   Defendants, and other John Does and consciously decided to participate in that tortious
11   conduct, as evidenced by his recruitment of scammers at conferences, his continued
12   participation despite consumer complaints and investigations by the BBB and the media,
13   and the other facts suggesting his knowledge.
14         315. Even if he did not have knowledge of the wrongful conduct, Nelson is
15   separately responsible for and liable for the UCL violations and misrepresentations by
16   Beyond Global Inc., the Keto Defendants, and other John Does as an aider and abettor
17   because he gave them substantial assistance in achieving the tortious result and his own
18   conduct, separately considered, constitutes a breach of duty to Plaintiff and the Class.
19   Nelson owed duties to Plaintiffs and the Class, including a duty not to commit fraud, a duty
20   not to commit intentional torts, a general duty of due care to avoid exposing Plaintiffs and
21   the Class to foreseeable harms, the duties imposed under Cal. Civ. Code 1714(a), duties
22   not to injure Plaintiffs and the Class by violating California and Federal laws, and general
23   duties of care arising from TFL’s relationship with and interaction with Plaintiffs and the
24   Class. Nelson’s own conduct, separately considered, breached these duties because he
25   directly committed torts against Plaintiff and the Class, namely violations of the UCL
26   “unlawful prong” described in the Fourth Cause of Action (specifically, mail fraud,
27   violations of the Sherman Food, Drug, & Cosmetic Law, and violations of the Federal
28   Food, Drug, & Cosmetic Act) and violations of RICO as described in the Fifth Cause of
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1    Action. As described above, Nelson gave them substantial assistance in achieving the
2    tortious result.
3           316. Conspiracy (General Allegations): Defendants were part of a conspiracy to
4    commit tortious conduct in violation of the UCL. The wrongful UCL “unfair” and
5    “fraudulent” prong violations were directly committed by Beyond Global Inc., the Keto
6    Defendants, and other John Does. The conspiracy was in existence between The
7    Fulfillment Lab Inc., Rick Nelson, the Keto Defendants, and other John Does at least as of
8    August 2019. The conspiracy operated at a high level as follows: the Keto Defendants
9    created the products in conjunction with TFL and Nelson as part of TFL’s white label
10   product program; the Keto Defendants created the websites, false fronts, signed up for
11   merchant accounts with shell companies, and sent false front websites to banks; the Keto
12   Defendants marketed the products with advice and assistance from TFL and Nelson;
13   Nelson personally advised the Keto Defendants on how to run the scam and on their
14   marketing; Nelson directed, controlled, and supervised TFL’s conduct; TFL shipped the
15   products and provided other services in support of the scheme; and other John Does were
16   hired by the Keto Defendants to perform other support services and to create “affiliate
17   advertising” sending victims to the websites. Each Defendants’ role in the conspiracy is
18   described in further detail in this Complaint in the sections on each Defendant, which are
19   incorporated here by reference.
20          317. The conspiracy damaged Plaintiffs and the Class, in that they lost money or
21   property, time, and attention, were billed for products they did not order, and paid more for
22   products than they would have had they been aware that Defendants’ representations were
23   false. Plaintiffs and other Class Members ended up with Products that were overpriced,
24   inaccurately marketed, and did not have the characteristics, qualities, or value promised by
25   Defendants, and therefore suffered injury in fact.
26          318. Conspiracy (TFL): Defendant The Fulfillment Lab Inc. was part of a
27   conspiracy to commit the UCL violations described herein. TFL agreed with Beyond
28   Global Inc., the Keto Defendants, and other John Does to commit these wrongful acts, and
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1    intended that these wrongful acts be committed. Such agreement is implied by the conduct
2    of the parties and can be inferred from the nature of the acts done, as explained in the
3    conspiracy section as to TFL in the First Cause of Action, which is incorporated by
4    reference herein. The agreement can be inferred from the relationship between the parties
5    because of the close consulting relationship, because of the length of the business
6    relationship, and because it was structured such that TFL was contracting with numerous
7    shell companies individually despite knowing it was actually working for other John
8    Doe(s). The agreement can be inferred from the interests of the co-conspirators because
9    TFL received payment according to how many items it shipped, and therefore had incentive
10   to encourage the shipment of as many items as possible regardless of whether they were
11   actually ordered. There was at least a tacit agreement to commit the wrongful acts because
12   TFL was repeatedly informed of these wrongful acts, and yet it did not quit shipping the
13   products or terminate the business relationship despite telling customers complaining about
14   Ultrafast Keto Boost on the BBB website that “TFL carefully reviews its relationship with
15   any company that has been accused of fraudulent business practices.”
16         319. TFL agreed to cooperate in the commission of these wrongful acts and
17   committed wrongful conduct in furtherance of the conspiracy. Such cooperation includes
18   all of the activities identified as substantial assistance and encouragement in the aiding and
19   abetting section of the First Cause of Action, which is incorporated by reference here. TFL
20   acted in concert with its co-conspirators, as explained therein.
21         320. TFL was aware that its co-conspirators planned to commit these UCL
22   violations, and it knew of the unlawful purpose of the conspiracy, as described supra in the
23   aiding and abetting section of the First Cause of Action as to TFL, which is incorporated
24   here by reference. TFL acted in furtherance of its own financial gain, in that it was paid for
25   its services by Beyond Global Inc. and the Keto Defendants and made money each time a
26   customer was injured. TFL owed duties to Plaintiffs and the Class, including a duty not to
27   commit fraud, a duty not to commit intentional torts, a general duty of due care to avoid
28   exposing Plaintiffs and the Class to foreseeable harms, the duties imposed under Cal. Civ.
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1    Code 1714(a), duties not to injure Plaintiffs and the Class by violating California and
2    Federal laws, and general duties of care arising from its relationship with and interaction
3    with Plaintiffs and the Class.
4          321. Conspiracy (Nelson): Defendant Nelson was part of a conspiracy to commit
5    the UCL violations described herein. Nelson agreed with Beyond Global Inc., the Keto
6    Defendants, and other John Does to commit these wrongful acts, and intended that these
7    wrongful acts be committed. Such agreement is implied by the conduct of the parties and
8    can be inferred from the nature of the acts done as explained in the conspiracy section as
9    to TFL in the First Cause of Action, which is incorporated by reference herein. The
10   agreement can be inferred from the relationship between the parties because of the close
11   consulting relationship, because of the length of the business relationship, because it was
12   structured such that TFL was contracting with numerous shell companies individually
13   despite knowing it was actually working for other John Doe(s), and because of Nelson’s
14   role in onboarding clients and in controlling TFL’s activities. The agreement can be
15   inferred from the interests of the co-conspirators because Nelson owns TFL, and TFL
16   received payment according to how many items it shipped, and therefore he had incentive
17   to encourage the shipment of as many items as possible regardless of whether they were
18   actually ordered. There was at least a tacit agreement to commit the wrongful acts because
19   Nelson was repeatedly informed of these wrongful acts, and yet he did not quit shipping
20   the products or terminate the business relationship despite telling customers complaining
21   about Ultrafast Keto Boost on the BBB website that “TFL carefully reviews its relationship
22   with any company that has been accused of fraudulent business practices.”
23         322. Nelson agreed to cooperate in the commission of these wrongful acts and
24   committed wrongful conduct in furtherance of the conspiracy. Such cooperation includes
25   all of the activities identified as substantial assistance and encouragement in the aiding and
26   abetting section of the First Cause of Action, which is incorporated by reference here.
27   Nelson acted in concert with his co-conspirators, as explained therein.
28
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1             323. Nelson was aware that his co-conspirators planned to commit these UCL
2    violations, and he knew of the unlawful purpose of the conspiracy, as described supra in
3    the aiding and abetting section of the First Cause of Action as to Nelson, which is
4    incorporated here by reference. Nelson acted in furtherance of his own financial gain, in
5    that TFL was paid for its services by Beyond Global Inc. and the Keto Defendants and
6    made money each time a customer was injured, and Nelson further profited by providing
7    other services through other companies he owned such as Skinutra. Nelson owed duties to
8    Plaintiffs and the Class, including a duty not to commit fraud, a duty not to commit
9    intentional torts, a general duty of due care to avoid exposing Plaintiffs and the Class to
10   foreseeable harms, the duties imposed under Cal. Civ. Code 1714(a), duties not to injure
11   Plaintiffs and the Class by violating California and Federal laws, and general duties of care
12   arising from his role in TFL’s relationship with and interaction with Plaintiffs and the
13   Class.
14                                  FOURTH CAUSE OF ACTION
15                                  Violation of the Unlawful Prong
16                            of the California Unfair Competition Law
17                                  Cal. Bus. & Prof. Code §§ 17200, et seq.
18            324. Plaintiffs incorporate all preceding and subsequent paragraphs by reference as
19   if set forth fully herein.
20            325. Plaintiffs bring this claim under the “unlawful” prong of California’s Unfair
21   Competition Law, Business and Professions Code section 17200, et seq., individually and
22   on behalf of the Class against the Defendants.
23            326. The Unfair Competition Law, Business & Professions Code §17200, et seq.
24   (“UCL”) prohibits “unfair competition,” which includes “any unlawful, unfair or
25   fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising
26   and any act prohibited by Chapter 1 (commencing with Section 17500) of Part 3 of Division
27   7 of the Business and Professions Code.”
28
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1          327. As detailed in Plaintiffs’ First Cause of Action, the Defendants’ acts and
2    practices are unlawful because they violate the California Consumer Legal Remedies Act,
3    Cal. Civ. Code § 1750, et seq.
4          328. As detailed in Plaintiffs’ Second Cause of Action, the Defendants’ acts and
5    practices are unlawful because they violate the California False Advertising Law, Business
6    & Professions Code §§ 17500, et seq.
7          329. As detailed in Plaintiffs’ Third Cause of Action, the Defendants’ acts and
8    practices are unlawful because they violate the prongs of California’s Unfair Competition
9    Law, Cal. Bus. & Prof. Code §§ 17200, et seq., which prohibit any “unfair or fraudulent
10   business act or practice and unfair, deceptive, untrue or misleading advertising....”
11                                            Bank Fraud
12                                  In Violation Of 18 U.S. Code § 1344
13         330. The Defendants’ conduct as described herein is unlawful because they have
14   committed bank fraud and conspired to commit multiple counts of bank fraud in violation
15   of 18 U.S. Code § 1344.
16         331. Pursuant to 18 U.S. Code § 1344, “[w]hoever knowingly executes, or attempts
17   to execute, a scheme or artifice (1) to defraud a financial institution; or (2) to obtain any of
18   the moneys, funds, credits, assets, securities, or other property owned by, or under the
19   custody or control of, a financial institution, by means of false or fraudulent pretenses,
20   representations, or promises” is in violation of the statute.
21         332. Pursuant to 18 U.S. Code § 1349, “[a]ny person who attempts or conspires to
22   commit any offense under this chapter shall be subject to the same penalties as those
23   prescribed for the offense, the commission of which was the object of the attempt or
24   conspiracy.”
25         333. The Defendants conspired to commit bank fraud and to receive money
26   obtained from bank fraud in violation of federal law.
27         334. The money obtained by the Defendants through https://ultrafastketoboost.com
28   and https://instaketo.com/ websites was obtained through credit cards or debit cards and
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1    was thus under the custody or control of financial institutions (Ms. Sihler’s bank, Bank of
2    America, and Ms. Bavencoff’s credit card company, San Diego County Credit Union).
3    That money was obtained fraudulently. As described in this Complaint, Defendants
4    intentionally used fake news stories and fake endorsements from celebrities, with the intent
5    that Plaintiffs and other Class Members rely upon them, in order to obtain their debit and
6    credit card numbers for the purpose of fraudulently bill them for bottles of the Keto
7    Products, to which they did not agree to purchase. Defendants intentionally created a “false
8    front” website for the purpose of defrauding banks and credit card companies into believing
9    that customers consented to these charges, when in fact the customers were expressly
10   informed that they would pay the advertised price for Keto Products.
11         335. Moreover, Defendants further “churned” the merchant accounts of various
12   shell companies to deceive banking institutions and prevent them from identifying the
13   billings as fraudulent, which would have enabled the banks to prevent Defendants from
14   continuing to charge their customers. On information and belief, Defendants utilized
15   specialized software to provide them with automated “load balancing,” which enabled
16   Defendants to charge their victims’ credit cards and debit cards using merchant accounts
17   that were not detected by the fraud detection systems.
18         336. Defendants knowingly conspired together to commit these violations and to
19   benefit financially from this illegal scheme.
20         337. Defendants’ actions with respect to the Keto Products as described above are
21   in violation of 18 U.S. Code § 1344 and thus constitute unlawful business acts or practices
22   under the UCL.
23                                          Wire Fraud
24                              In Violation Of 18 U.S. Code § 1343
25         338. Defendants’ conduct as described herein is unlawful because they have
26   committed wire fraud and conspired to commit multiple counts of wire fraud in violation
27   of 18 U.S. Code § 1343.
28
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1          339. Pursuant to 18 U.S. Code § 1343, “[w]hoever, having devised or intending to
2    devise any scheme or artifice to defraud, or for obtaining money or property by means of
3    false or fraudulent pretenses, representations, or promises, transmits or causes to be
4    transmitted by means of wire, radio, or television communication in interstate or foreign
5    commerce, any writings, signs, signals, pictures, or sounds for the purpose of executing
6    such scheme or artifice” is in violation of the statute.
7          340. Pursuant to 18 U.S. Code § 1349, “[a]ny person who attempts or conspires to
8    commit any offense under this chapter shall be subject to the same penalties as those
9    prescribed for the offense, the commission of which was the object of the attempt or
10   conspiracy.”
11         341. The Defendants conspired to commit wire fraud and to receive money
12   obtained from wire fraud in violation of federal law.
13         342. The Defendants transmitted written communications by means of wire as part
14   of their scheme to defraud, in particular through Internet advertisements, their websites,
15   through telephone communications with consumers which were intended to prevent them
16   from exercising their lawful right to obtain a refund of their money, and through telephone
17   or Internet communications to banks and credit card companies asserting that their charges
18   had been agreed to by customers or that their “false front” websites were the website
19   consumers visited. Those transmissions crossed state lines, at least from Florida to
20   California and other states.
21         343. The        money       obtained     by      the   Defendants        through       the
22   https://ultrafastketoboost.com    and    https://instaketo.com/   websites     was     obtained
23   fraudulently. As described in this Complaint, the Defendants intentionally used fake news
24   stories and fake endorsements from celebrities, with the intent that Plaintiffs and the other
25   Class Members rely upon them, in order to obtain their debit and credit card numbers for
26   the purpose of fraudulently billing them for bottles of the Keto Products, to which they did
27   not agree. Defendants intentionally created a “false front” website for the purpose of
28   defrauding banks and credit card companies into believing that customers consented to
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1    these charges, when in fact the customers were expressly informed that they would pay the
2    advertised price for Keto Products. Defendants knowingly conspired together to commit
3    these violations and to benefit financially from this illegal scheme.
4           344. Defendants’ actions with respect to its products as described above are in
5    violation of 18 U.S. Code § 1343 and thus constitute unlawful business acts or practices
6    under the UCL.
7                                            Mail Fraud
8                               In Violation Of 18 U.S. Code § 1341
9           345. Defendants’ conduct as described herein is unlawful because they have
10   committed mail fraud and conspired to commit multiple counts of mail fraud in violation
11   of 18 U.S. Code § 1341.
12          346. Pursuant to 18 U.S. Code § 1341, “[w]hoever, having devised or intending to
13   devise any scheme or artifice to defraud, or for obtaining money or property by means of
14   false or fraudulent pretenses, representations, or promises, or to sell, dispose of, loan,
15   exchange, alter, give away, distribute, supply, or furnish or procure for unlawful use any
16   counterfeit or spurious coin, obligation, security, or other article, or anything represented
17   to be or intimated or held out to be such counterfeit or spurious article, for the purpose of
18   executing such scheme or artifice or attempting so to do, places in any post office or
19   authorized depository for mail matter, any matter or thing whatever to be sent or delivered
20   by the Postal Service, or deposits or causes to be deposited any matter or thing whatever to
21   be sent or delivered by any private or commercial interstate carrier, or takes or receives
22   therefrom, any such matter or thing, or knowingly causes to be delivered by mail or such
23   carrier according to the direction thereon, or at the place at which it is directed to be
24   delivered by the person to whom it is addressed, any such matter or thing” is in violation
25   of the statute.
26          347. Pursuant to 18 U.S. Code § 1349, “[a]ny person who attempts or conspires to
27   commit any offense under this chapter shall be subject to the same penalties as those
28   prescribed for the offense, the commission of which was the object of the attempt or
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1    conspiracy.”
2          348. The Defendants here conspired to commit mail fraud and to receive money
3    obtained from mail fraud in violation of federal law.
4          349. The TFL Defendants transmitted matter or things and took or received matter
5    or things via the Postal Service or private or commercial interstate carriers as part of their
6    scheme to defraud, in particular by shipping products through the mail system to unwitting
7    victims of the scheme with the intent to fraudulently bill them for those products that were
8    not intentionally purchased by their victims, and accepting return packages at their Post
9    Office address in Tampa, Florida, which were shipped across state lines from other states,
10   including from the State of California.
11         350. The money obtained by the Defendants through the through the
12   https://ultrafastketoboost.com    and     https://instaketo.com/   websites     was     obtained
13   fraudulently. As described in this Complaint, the Defendants intentionally used fake news
14   stories and fake endorsements from celebrities, with the intent that Plaintiffs and the Class
15   rely upon them, in order to obtain their debit and credit card numbers for the purpose of
16   fraudulently billing them for additional bottles of the Keto Products, to which they did not
17   agree to purchase. Defendants intentionally created a “false front” website for the purpose
18   of defrauding banks and credit card companies into believing that customers consented to
19   these charges, when in fact the customers were expressly informed that they would pay the
20   advertised price for Keto Products. The Defendants knowingly conspired together to
21   commit these violations and to benefit financially from this illegal scheme.
22         351. Defendants’ actions with respect to their products as described above are in
23   violation of 18 U.S. Code § 1341 and thus constitute unlawful business acts or practices
24   under the UCL.
25              Unlawful Violations of Federal Trade Commission Regulations
26             Concerning Use of Endorsements and Testimonials in Advertising
27                                    16 C.F.R. pt. 255, et seq.
28         352. The Defendants’ acts and practices are unlawful under the California UCL
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1    because they violate Federal regulations governing the use of endorsements and
2    testimonials in advertising.
3          353. Pursuant to 16 C.F.R. pt. 255.1(a), “an endorsement may not convey any
4    express or implied representation that would be deceptive if made directly by the
5    advertiser.” Under 16 C.F.R. pt. 255(1)(c), “[a]dvertisers are subject to liability for false or
6    unsubstantiated statements made through endorsements....”
7          354. The term “endorsement” means “any advertising message (including verbal
8    statements, demonstrations, or depictions of the name, signature, likeness or other
9    identifying personal characteristics of an individual or the name or seal of an organization)
10   that consumers are likely to believe reflects the opinions, beliefs, findings, or experiences
11   of a party other than the sponsoring advertiser, even if the views expressed by that party
12   are identical to those of the sponsoring advertiser.” 16 C.F.R. pt. 255(b). “Endorsement”
13   as used by the regulation means both endorsements and testimonials. Id. at 255(c).
14         355. Endorsers include consumers who receive free products from advertisers
15   through their marketing programs. 16 C.F.R. pt. 255, Example 8. Endorsers also include
16   third party bloggers who are compensated in any way by advertisers, and advertisers are
17   subject to liability for misleading or unsubstantiated representations made by paid
18   endorsers on their websites. 16 C.F.R. pt. 255.1, Example 5.
19         356. Under the regulations, advertisers have a duty to train endorsers and to
20   monitor their statements, and to take necessary steps to halt continued publication of
21   deceptive representations by endorsers: “In order to limit its potential liability, the
22   advertiser should ensure that the advertising service provides guidance and training to its
23   bloggers concerning the need to ensure that statements they make are truthful and
24   substantiated. The advertiser should also monitor bloggers who are being paid to promote
25   its products and take steps necessary to halt the continued publication of deceptive
26   representations when they are discovered.” 16 C.F.R. pt. 255.1, Example 5.
27         357. Plaintiffs incorporate by reference the Factual Allegations section of this
28   Complaint.
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1            358. As that section describes, the Defendants faked various endorsements from
2    celebrities and other third parties, who in fact have no connection to the product, have not
3    used it, and did not make the statements and endorsements the Defendants attributed to
4    them.
5            359. Under 16 C.F.R. pt. 255.2(c), “[a]dvertisements presenting endorsements by
6    what are represented, directly or by implication, to be “actual consumers” should utilize
7    actual consumers in both the audio and video, or clearly and conspicuously disclose that
8    the persons in such advertisements are not actual consumers of the advertised product.”
9            360. The Defendants falsely presented endorsements from celebrities as if those
10   celebrities were actual consumers, including photographs of those purported celebrity
11   consumers, as well as fake reviews from other third parties claiming they had significant
12   weight loss as a result of using the Keto Products, including their “before” and “after”
13   photographs.
14           361. Members of the Class were injured by this unlawful conduct and the violations
15   of these regulations, in that Ms. Sihler, Ms. Bavencoff, and the other Class Members would
16   not have purchased the products but for the fake endorsements from celebrities and other
17   third parties, which made the Keto Products seem credible.
18           362. Defendants’ actions with respect to its endorsers as described above are in
19   violation of 16 C.F.R. pt. 255, et seq. and thus constitute unlawful business acts or practices
20   under the UCL.
21                                   Unlawful Violations of the
22                            Sherman Food, Drug, & Cosmetic Law
23                         Cal. Health & Safety Code, §§ 109875, et seq.
24           363. Defendants’ acts and practices are unlawful under the California UCL because
25   they violate the Sherman Food, Drug, & Cosmetic Law.
26           364.   Defendants’ products constitute cosmetics under the Sherman Food, Drug,
27   & Cosmetic Law. Pursuant to Cal. Health & Safety Code § 109900, a “cosmetic” is “any
28   article, or its components, intended to be rubbed, poured, sprinkled, or sprayed on,
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1    introduced into, or otherwise applied to, the human body, or any part of the human body,
2    for cleansing, beautifying, promoting attractiveness, or altering the appearance.”
3    Defendants’ products are cosmetics under this definition because they are ingested into the
4    human body in some form, and the products sold by them are designed to beautify, promote
5    the attractiveness of, and alter the human body’s weight.
6          365. Defendants’ products also constitute drugs under the Sherman Food, Drug, &
7    Cosmetic Law. Pursuant to Cal. Health & Safety Code § 109925, a “drug” includes “[a]n
8    article used or intended for use in the diagnosis, cure, mitigation, treatment, or prevention
9    of disease in human beings or any other animal” and “[a]n article other than food, that is
10   used or intended to affect the structure or any function of the body of human beings or any
11   other animal.” The Defendants’ products are drugs under this definition because they are
12   not food and because they are intended to affect the structure or function of the human
13   body and its cells, and claim to affect such structure or function.
14         366. Defendants’ products also constitute new drugs under the Sherman Food,
15   Drug, & Cosmetic Law. Pursuant to Cal. Health & Safety Code § 109980, a “new drug”
16   includes “[a]ny drug the composition of which is such that the drug is not generally
17   recognized, among experts qualified by scientific training and experience to evaluate the
18   safety and effectiveness of drugs, as safe and effective for use under the conditions
19   prescribed, recommended, or suggested in the labeling or advertising thereof,” or one that
20   “has become so recognized, but that has not, otherwise than in the investigations, been used
21   to a material extent or for a material time under the conditions.” The Defendants’ products
22   are not generally recognized among experts as being safe and effective for the conditions
23   they are advertised to treat.
24         367. Defendants’ representations as described in this Complaint constitute
25   advertisements under the Sherman Food, Drug, & Cosmetic Law. Pursuant to Cal. Health
26   & Safety Code § 109885, an “advertisement” means “any representations, including, but
27   not limited to, statements upon the products, its packages, cartons, and any other container,
28   disseminated in any manner or by any means, for the purpose of inducing, or that is likely
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1    to induce, directly or indirectly, the purchase or use of any food, drug, device, or cosmetic.”
2    The representations as described herein were likely to induce, directly or indirectly, the
3    purchase of the Defendants’ products, which constitute drugs and cosmetics, and they did
4    in fact induce such purchases as described in this Complaint. The representations were
5    disseminated to the Plaintiffs and the Class using various means, including fake online
6    advertisements and on the Defendants’ landing pages.
7          368. Pursuant to Cal. Health & Safety Code § 110390, “[i]t is unlawful for any
8    person to disseminate any false advertisement of any food, drug, device, or cosmetic. An
9    advertisement is false if it is false or misleading in any particular.”
10         369. Pursuant to Cal. Health & Safety Code § 110395, “[i]t is unlawful for any
11   person to manufacture, sell, deliver, hold, or offer for sale any food, drug, device, or
12   cosmetic that is falsely advertised.”
13         370. Defendants violated Cal. Health & Safety Code § 110390 and § 110395 by
14   disseminating false and misleading advertisements, as described in detail throughout this
15   Complaint, and by selling, delivering, and offering for sale their products which were
16   falsely advertised.
17         371. As stated above, Defendants’ products are new drugs under the Sherman
18   Food, Drug, & Cosmetic Law. See Cal. Health & Safety Code § 109980. New drugs are
19   subject to specific approval requirements, and “[n]o person shall sell, deliver, or give away
20   any new drug” unless the statutory requirements are satisfied. Cal. Health & Safety Code
21   § 111550. One way to satisfy the requirements is that the product is a “new drug, and a
22   new drug application has been approved for it and that approval has not been withdrawn,
23   terminated, or suspended under Section 505 of the federal act (21 U.S.C. Sec. 355).” Cal.
24   Health & Safety Code § 111550(a)(1). Another is that “[t]he department has approved a
25   new drug or device application for that new drug or new device and that approval has not
26   been withdrawn, terminated, or suspended.” Cal. Health & Safety Code § 111550(b). The
27   remaining methods are inapplicable to the Defendants’ products, and on information and
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1    belief, Defendants have failed to satisfy the approval requirements for a new drug under
2    the Sherman Food, Drug, & Cosmetic Law.
3             372. In addition to the various forms of harm alleged throughout this Complaint,
4    which Plaintiffs incorporate here by reference, this particular violation specifically harmed
5    Plaintiffs and the Class by depriving them of the important and valuable protections of this
6    statutory scheme, by causing them to purchase products whose efficacy and safety had not
7    been verified, and by causing them to purchase the products at issue and pay more for those
8    products than they were worth in the absence of statutory compliance.
9             373. Defendants’ actions with respect to its products as described above are in
10   violation of Cal. Health & Safety Code, §§ 109875, et seq. and thus constitute unlawful
11   business acts or practices under the UCL.
12                                        Unlawful Violations of the
13                                Federal Food, Drug, and Cosmetic Act
14                                             21 U.S.C. § 301, et seq.
15            374. Defendants’ acts and practices are unlawful under the California UCL because
16   they violate the Federal Food, Drug, and Cosmetic Act.
17            375. Defendants’ products constitute drugs under the Federal Food, Drug, and
18   Cosmetic Act. Pursuant to 21 U.S.C. § 321(g)(1), a “drug” includes “(C) articles (other
19   than food) intended to affect the structure or any function of the body of man or other
20   animals....”
21            376. Defendants’ products are advertised as affecting the structure or function of
22   the human body and are intended to affect the structure or function of the human body.
23   Defendants advertise that their products are the “Easiest Way to Burn Fat” and “Ultra Fast
24   Keto Boost is a dynamic and powerful ketosis dietary supplement that will assist weight
25   loss, promote abdominal fat burn, and support better digestion and sleep.”60 They claim
26   their products contain “a powerful fat burning ketone, BHB” which has been “modified to
27
28   60
          https://www.ultrafastketoboost.com
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1    produce a [sic] instant fat burning solution the natural way.” 61 They further advertise that
2    their Keto Products alter the functionality of the metabolic state in the human body,
3    claiming: “Beta-hydroxybutyrate is the first substrate that kicks the metabolic state of
4    ketosis into action. If you take it, BHB is able to start processing in your body resulting in
5    energy and greatly speed up weight loss by putting your body into ketosis. . . . Ultra Fast
6    Keto Boost with BHB is here to say because of the insurmountable success people are
7    having losing up to 1 lb. of fat per day!”62
8               377. Defendants’ products constitute new drugs under the Federal Food, Drug, and
9    Cosmetic Act. Pursuant to 21 U.S.C. § 321(p)(1), a “new drug” includes “[a]ny drug
10   (except a new animal drug or an animal feed bearing or containing a new animal drug) the
11   composition of which is such that such drug is not generally recognized, among experts
12   qualified by scientific training and experience to evaluate the safety and effectiveness of
13   drugs, as safe and effective for use under the conditions prescribed, recommended, or
14   suggested in the labeling thereof, except that such a drug not so recognized shall not be
15   deemed to be a “new drug” if at any time prior to June 25, 1938, it was subject to the Food
16   and Drugs Act of June 30, 1906, as amended, and if at such time its labeling contained the
17   same representations concerning the conditions of its use....”
18              378. Defendants’ products are not generally recognized among experts as being
19   safe and effective for the conditions they are advertised to treat.
20              379. Pursuant to 21 U.S.C. § 355(a), “No person shall introduce or deliver for
21   introduction into interstate commerce any new drug, unless an approval of an application
22   filed pursuant to subsection (b) or (j) is effective with respect to such drug.”
23              380. On information and belief, Defendants have not filed a new drug application
24   or obtained approval of any of their products from the Food and Drug Administration. As
25   such, it was unlawful for them to introduce or deliver their products into interstate
26   commerce, and all sales or deliveries of their products in the United States were unlawful.
27
     61
          Id.
28   62
          Id.
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1          381. In addition to the various forms of harm alleged throughout this Complaint,
2    which Plaintiffs incorporate here by reference, this particular violation specifically harmed
3    Plaintiffs and the Class by depriving them of the important and valuable protections of this
4    statutory scheme, by causing them to purchase products whose efficacy and safety had not
5    been verified, and by causing them to purchase the products at issue and pay more for those
6    products than they were worth in the absence of statutory compliance.
7          382. Defendants’ actions with respect to its products as described above are in
8    violation of 21 U.S.C. § 301, et seq. and thus constitute unlawful business acts or practices
9    under the UCL.
10                                   Unlawful Violations of the
11                                Federal Trade Commission Act
12                                     15 U.S.C. § 41, et seq.
13         383. Pursuant to 15 U.S.C. § 45(a)(1), “[u]nfair methods of competition in or
14   affecting commerce, and unfair or deceptive acts or practices in or affecting commerce, are
15   hereby declared unlawful.”
16         384. Pursuant to 15 U.S.C. § 52(a), “[i]t shall be unlawful for any person,
17   partnership, or corporation to disseminate, or cause to be disseminated, any false
18   advertisement—(1) By United States mails, or in or having an effect upon commerce, by
19   any means, for the purpose of inducing, or which is likely to induce, directly or indirectly
20   the purchase of food, drugs, devices, services, or cosmetics; or (2) By any means, for the
21   purpose of inducing, or which is likely to induce, directly or indirectly, the purchase in or
22   having an effect upon commerce, of food, drugs, devices, services, or cosmetics.”
23         385. Defendant’s products are both drugs and cosmetics.
24         386. As described throughout this Complaint and in the First, Second, and Third
25   Causes of Action, Defendants engaged in unfair methods of competition in or affecting
26   commerce, as well as unfair or deceptive acts or practices in or affecting commerce. The
27   act of selling their products online satisfies the requirement of “in or affecting commerce.”
28         387. As described throughout this Complaint and in the First, Second, and Third
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1    Causes of Action, Defendants disseminated false advertisements online and sold their
2    products online, which satisfies the requirement of “in or affecting commerce.” Those
3    advertisements were intended to induce and did in fact induce the purchase of Defendants’
4    products.
5          388. Defendants’ actions with respect to its products as described above are in
6    violation of the Federal Trade Commission Act, 15 U.S.C. § 41, et seq. and thus constitute
7    unlawful business acts or practices under the UCL.
8                Unlawful Violations of Federal Trade Commission Regulations
9           Concerning Use of the Word “Free” and Other Similar Representations
10                                     16 C.F.R. pt. 251, et seq.
11         389. Defendants’ acts and practices are unlawful under the California UCL because
12   they violate Federal regulations governing the use of the word “free” and other similar
13   representations in advertising.
14         390. Pursuant to 16 C.F.R. pt. 251.1(a)(2), “[b]ecause the purchasing public
15   continually searches for the best buy, and regards the offer of ‘Free’ merchandise or service
16   to be a special bargain, all such offers must be made with extreme care so as to avoid any
17   possibility that consumers will be misled or deceived.”
18         391. “[A] purchaser has a right to believe that the merchant will not directly and
19   immediately recover, in whole or in part, the cost of the free merchandise or service by
20   marking up the price of the article which must be purchased, by the substitution of inferior
21   merchandise or service, or otherwise.” 16 C.F.R. pt. 251.1(b).
22         392. Because of this right, Federal regulations strictly limit the duration of any
23   ‘free’ offers in any given trade area: “So that a ‘Free’ offer will be special and meaningful,
24   a single size of a product or a single kind of service should not be advertised with a ‘Free’
25   offer in a trade area for more than 6 months in any 12-month period. At least 30 days should
26   elapse before another such offer is promoted in the same trade area. No more than three
27   such offers should be made in the same area in any 12-month period. In such period, the
28   offeror's sale in that area of the product in the size promoted with a ‘Free’ offer should not
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1    exceed 50 percent of the total volume of his sales of the product, in the same size, in the
2    area.”
3             393. On information and belief, Defendants advertised false promotional offers of
4    “Buy 3 Bottles, Get 2 Free” and “Buy 2 Bottles, Get 1 Free” for more than six months from
5    at least February 2018 through the present time, and 100% of the sales were promoted with
6    a “free” offer.
7             394. Offers labeled as “free” must comply with strict Federal disclosure
8    regulations: “When making ‘Free’ or similar offers all the terms, conditions and obligations
9    upon which receipt and retention of the ‘Free’ item are contingent should be set forth
10   clearly and conspicuously at the outset of the offer so as to leave no reasonable probability
11   that the terms of the offer might be misunderstood. Stated differently, all of the terms,
12   conditions and obligations should appear in close conjunction with the offer of ‘Free’
13   merchandise or service. For example, disclosure of the terms of the offer set forth in a
14   footnote of an advertisement to which reference is made by an asterisk or other symbol
15   placed next to the offer, is not regarded as making disclosure at the outset.” 16 C.F.R. pt.
16   251.1(c).
17            395. Defendants failed to comply with these requirements to clearly and
18   conspicuously disclose all terms, conditions, and obligations at the outset because on the
19   https://ultrafastketoboost.com and https://instaketo.com/ landing pages, the terms were not
20   disclosed, false representations were made about the actual prices of the Keto Products,
21   and no disclosures were made to the consumers that they would be billed for five bottles,
22   even though they did not order them nor consented to purchase them.
23            396. Defendants’ actions with respect to their use of the word “free” as described
24   above are in violation of 16 C.F.R. pt. 251, et seq. and thus constitute unlawful business
25   acts or practices under the UCL.
26            397. Defendants David Flynn, Rickie Joe James, Beyond Global Inc., Brightree
27   Holdings Corp. and BMOR Global LLC directly violated the UCL’s “unlawful” prong.
28   Those defendants sold and distributed the Keto Products, operated ultrafastketoboost.com
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1    and instaketo.com, as well as the “false fronts,” worked with other John Doe affiliates and
2    affiliate networks to create fake celebrity advertisements, and hired TFL to ship the
3    products. These acts were committed by Beyond Global Inc., Brightree Holdings Corp.
4    and BMOR Global LLC, and supervised and controlled by David Flynn and Rickie Joe
5    James personally. They thus are directly liable for violations of every law listed in this
6    Cause of Action.
7          398. Defendants The Fulfillment Lab Inc. and Rick Nelson directly violated the
8    UCL’s unlawful prong, in particular by committing mail fraud by shipping the products,
9    by manufacturing and delivering the products in violation of the Sherman Food, Drug, &
10   Cosmetic Law, and by introducing and delivering for introduction into interstate commerce
11   the products in violation of the Federal Food, Drug, & Cosmetic Act. These acts were
12   committed by TFL, and supervised and controlled by Rick Nelson personally. With respect
13   to the remainder of the laws listed in this Cause of Action, TFL and Nelson are liable under
14   theories of aiding and abetting and conspiracy.
15         399. Aiding and Abetting (TFL): Defendant The Fulfillment Lab, Inc. aided and
16   abetted Beyond Global Inc., the Keto Defendants, and other John Does, and is thus also
17   responsible for and liable for their conduct under this Cause of Action. The Fulfillment
18   Lab, Inc. knew about these violations of the UCL and knew that these misrepresentations
19   were being made to Plaintiffs and the Class.
20         400. TFL knew of the UCL violations and misrepresentations involving the Keto
21   Products from the very beginning of the wrongful conduct. Plaintiff incorporates by
22   reference the facts and allegations outlined in the Aiding and Abetting portion of the First
23   Cause of Action as to TFL’s knowledge. In addition to the BBB reviews specific to the
24   Keto Products and the local news story, other circumstantial evidence about its business
25   practices supports this allegation. As described herein, TFL acted as the returns processor
26   for the Keto Products, and it was made aware of the UCL violations and misrepresentations
27   through customer complaints. TFL provided its custom software to Beyond Global Inc.
28   and the Keto Defendants, integrated that software into ultrafastketoboost.com and
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1    instaketo.com, meaning it was aware of all of the misrepresentations on those websites.
2    TFL further directly runs advertising campaigns for its customers and assists in that
3    advertising, including for Beyond Global Inc. and the Keto Defendants, meaning that it
4    was aware of the fake celebrity advertisements and other misrepresentations described
5    herein as being part of the sales funnel. TFL was further familiar with schemes like this
6    generally because it specifically targeted scammers as customers and recruited them as
7    clients at conferences. TFL further acted as consultants for Beyond Global Inc. and the
8    Keto Defendants in their scam, and in that role was necessarily aware of how the scam
9    worked. Plaintiff incorporates by reference the facts from the First Cause of Action
10   regarding the Mastercard rule changes, which TFL was aware of and intentionally designed
11   its clients’ shipments to circumvent. TFL further had an onboarding process and live
12   customer chats resulting in its knowledge of the wrongs. TFL further had a policy of
13   signing separate contracts with each shell company meaning it knew of the merchant
14   account scheme and false fronts. TFL also knew of the violations of the Sherman Food,
15   Drug, and Cosmetic Law and the Federal Food, Drug, and Cosmetic Act because it had
16   access to the labels for the products, which make unlawful drug claims. The Fulfillment
17   Lab, Inc. knew these violations and misrepresentations were a breach of duty to Plaintiffs
18   and the Class because it knew Beyond Global Inc. and the Keto Defendants were
19   committing fraud, intentional torts, were exposing Plaintiff and the Class to harms TFL
20   could foresee, and TFL knew they were not being treated with due care but instead were
21   being intentionally defrauded.
22         401. The Fulfillment Lab, Inc. gave substantial assistance and encouragement to
23   Beyond Global Inc., the Keto Defendants, and other John Does by: shipping the Keto
24   Products, providing access to their fulfillment software and integrating it with the
25   ultrafastketoboost.com and instaketo.com websites, providing white label product services,
26   providing advice and encouragement, including advice on how to market the products and
27   advice on how to structure the shipments to enable the fraud to avoid VISA and Mastercard
28   rules, providing marketing resources and articles, handling returns and complaints, directly
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1    running advertising campaigns, acting as general consultants advising on how to run the
2    scam, and using their strategic partnerships to refer them to other service providers. The
3    Fulfillment Lab, Inc.’s conduct was a substantial factor in causing harm to Plaintiffs and
4    the Class. The shipping services and shipping of the unordered products were a necessary
5    fig leaf to avoid detection of the fraud and to enable victims’ credit cards and bank accounts
6    to be billed without chargebacks being issued by their banks, and by knowingly shipping
7    more bottles than consumers actually ordered TFL enabled the other defendants to issue
8    unauthorized charges for more than the consumers agreed to. Without TFL’s assistance,
9    Beyond Global Inc., the Keto Defendants, and other John Does’ scam could not have
10   operated—they could not have shipped the products, they would not have had products to
11   ship because of the white label services, they would not have been able to target customers
12   using the software data, and they would not have had TFL’s advice on how to avoid new
13   card brand rules designed to flag and prevent the scam. The injuries to Plaintiffs and the
14   Class would not have occurred but for The Fulfillment Lab, Inc.’s conduct because the
15   scam would have been quickly flagged as fraud and the merchant accounts cancelled
16   without these shipping services to provide the “fig leaf” of a purported product sale. The
17   Fulfillment Lab’s conduct was a proximate cause of the injuries to Plaintiffs and the Class
18   because the injuries were direct and reasonably foreseeable results of the conduct, in that
19   TFL knew how the scam worked and knew about the misrepresentations made on the
20   websites, and it was reasonably foreseeable that providing this assistance would result in
21   customers being billed for products they did not order and which were deceptively
22   marketed. The Fulfillment Lab, Inc. had specific intent to facilitate the wrongful conduct
23   by Beyond Global Inc., the Keto Defendants, and other John Does and consciously decided
24   to participate in that tortious conduct, as evidenced by its recruitment of scammers at
25   conferences, its continued participation despite consumer complaints and investigations by
26   the BBB and the media, and the other facts suggesting its knowledge.
27         402. Even if it did not have knowledge of the wrongful conduct, The Fulfillment
28   Lab, Inc. is separately responsible for and liable for the UCL violations and
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1    misrepresentations by Beyond Global Inc., the Keto Defendants, and other John Does as
2    an aider and abettor because it gave them substantial assistance in achieving the tortious
3    result and its own conduct, separately considered, constitutes a breach of duty to Plaintiff
4    and the Class. The Fulfillment Lab, Inc. owed duties to Plaintiffs and the Class, including
5    a duty not to commit fraud, a duty not to commit intentional torts, a general duty of due
6    care to avoid exposing Plaintiffs and the Class to foreseeable harms, the duties imposed
7    under Cal. Civ. Code 1714(a), duties not to injure Plaintiffs and the Class by violating
8    California and Federal laws, and general duties of care arising from its relationship with
9    and interaction with Plaintiffs and the Class. The Fulfillment Lab, Inc.’s own conduct,
10   separately considered, breached these duties because it directly committed torts against
11   Plaintiff and the Class, namely violations of the UCL “unlawful prong” described in the
12   Fourth Cause of Action (specifically, mail fraud, violations of the Sherman Food, Drug, &
13   Cosmetic Law, and violations of the Federal Food, Drug, & Cosmetic Act) and violations
14   of RICO as described in the Fifth Cause of Action. As described above, it gave them
15   substantial assistance in achieving the tortious result.
16         403. Aiding and Abetting (Nelson): Defendant Rick Nelson aided and abetted
17   Beyond Global Inc., the Keto Defendants, and other John Does, and is thus also responsible
18   for and liable for their conduct under this Cause of Action. Plaintiff incorporates by
19   reference the facts and allegations outlined in the Aiding and Abetting portion of the First
20   Cause of Action as to Nelson’s knowledge. Mr. Nelson knew about these violations of the
21   UCL and knew that these misrepresentations were being made to Plaintiffs and the Class.
22   In particular and as described supra, Mr. Nelson knew because of his involvement in
23   responding to BBB complaints, because of being questioned by local media, because of his
24   personal attendance at conferences recruiting scammers as clients, because of his role as
25   CEO, because of his involvement in live chat meetings and onboarding, and because of the
26   length of the business relationship with Beyond Global Inc. and the Keto Defendants.
27   Nelson also knew of the violations of the Sherman Food, Drug, and Cosmetic Law and the
28   Federal Food, Drug, and Cosmetic Act because he had access to the labels for the products,
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1    which make unlawful drug claims. Nelson knew of the UCL violations and
2    misrepresentations involving the Keto Products from the very beginning of the wrongful
3    conduct. Nelson knew these violations and misrepresentations were a breach of duty to
4    Plaintiffs and the Class because he knew Beyond Global Inc. and the Keto Defendants were
5    committing fraud, intentional torts, were exposing Plaintiff and the Class to harms he could
6    foresee, and he knew they were not being treated with due care but instead were being
7    intentionally defrauded.
8          404. Nelson gave substantial assistance and encouragement to Beyond Global Inc.,
9    the Keto Defendants, and other John Does by: directing, controlling, and supervising TFL’s
10   conduct described herein, including shipping the Keto Products, providing access to their
11   fulfillment software and integrating it with the ultrafastketoboost.com and instaketo.com
12   websites, providing white label product services, providing marketing resources and
13   articles, handling returns and complaints, directly running advertising campaigns, acting
14   as general consultants advising on how to run the scam, and using their strategic
15   partnerships to refer them to other service providers. Nelson personally was involved in
16   providing advice and encouragement, both as part of the onboarding process and in live
17   chat meetings, including advice on how to market the products and advice on how to
18   structure the shipments to enable the fraud to avoid VISA and Mastercard rules. Nelson’s
19   conduct was a substantial factor in causing harm to Plaintiffs and the Class. The shipping
20   services and shipping of the unordered products were a necessary fig leaf to avoid detection
21   of the fraud and to enable victims’ credit cards and bank accounts to be billed without
22   chargebacks being issued by their banks, and by causing TFL to knowingly ship more
23   bottles than consumers actually ordered Nelson enabled the other defendants to issue
24   unauthorized charges for more than the consumers agreed to. Without Nelson’s assistance,
25   Beyond Global Inc., the Keto Defendants, and other John Does’ scam could not have
26   operated—they could not have shipped the products, they would not have had products to
27   ship because of the white label services, they would not have been able to target customers
28   using the software data, and they would not have had Nelson’s advice on how to avoid new
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1    card brand rules designed to flag and prevent the scam. The injuries to Plaintiffs and the
2    Class would not have occurred but for Nelson’s conduct because the scam would have been
3    quickly flagged as fraud and the merchant accounts cancelled without these shipping
4    services to provide the “fig leaf” of a purported product sale. Nelson’s conduct was a
5    proximate cause of the injuries to Plaintiffs and the Class because the injuries were direct
6    and reasonably foreseeable results of the conduct, in that Nelson knew how the scam
7    worked and knew about the misrepresentations made on the websites, and it was reasonably
8    foreseeable that providing this assistance would result in customers being billed for
9    products they did not order and which were marketed in violation of the UCL. Nelson had
10   specific intent to facilitate the wrongful conduct by Beyond Global Inc., the Keto
11   Defendants, and other John Does and consciously decided to participate in that tortious
12   conduct, as evidenced by his recruitment of scammers at conferences, his continued
13   participation despite consumer complaints and investigations by the BBB and the media,
14   and the other facts suggesting his knowledge.
15         405. Even if he did not have knowledge of the wrongful conduct, Nelson is
16   separately responsible for and liable for the UCL violations and misrepresentations by
17   Beyond Global Inc., the Keto Defendants, and other John Does as an aider and abettor
18   because he gave them substantial assistance in achieving the tortious result and his own
19   conduct, separately considered, constitutes a breach of duty to Plaintiff and the Class.
20   Nelson owed duties to Plaintiffs and the Class, including a duty not to commit fraud, a duty
21   not to commit intentional torts, a general duty of due care to avoid exposing Plaintiffs and
22   the Class to foreseeable harms, the duties imposed under Cal. Civ. Code 1714(a), duties
23   not to injure Plaintiffs and the Class by violating California and Federal laws, and general
24   duties of care arising from TFL’s relationship with and interaction with Plaintiffs and the
25   Class. Nelson’s own conduct, separately considered, breached these duties because he
26   directly committed torts against Plaintiff and the Class, namely violations of the UCL
27   “unlawful prong” described in the Fourth Cause of Action (specifically, mail fraud,
28   violations of the Sherman Food, Drug, & Cosmetic Law, and violations of the Federal
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1    Food, Drug, & Cosmetic Act) and violations of RICO as described in the Fifth Cause of
2    Action. As described above, Nelson gave them substantial assistance in achieving the
3    tortious result.
4           406. Conspiracy (General Allegations): Defendants were part of a conspiracy to
5    commit tortious conduct in violation of the UCL. The wrongful UCL “unlawful” prong
6    violations were directly committed by Beyond Global Inc., the Keto Defendants, and other
7    John Does, and violations consisting of mail fraud, violation of the Sherman Food, Drug,
8    & Cosmetic Law, and violation of the Federal Food, Drug, & Cosmetic Act were also
9    directly committed by TFL and Nelson, as described supra. The conspiracy was in
10   existence between The Fulfillment Lab Inc., Rick Nelson, the Keto Defendants, and other
11   John Does at least as of August 2019. The conspiracy operated at a high level as follows:
12   the Keto Defendants created the products in conjunction with TFL and Nelson as part of
13   TFL’s white label product program; the Keto Defendants created the websites, false fronts,
14   signed up for merchant accounts with shell companies, and sent false front websites to
15   banks; the Keto Defendants marketed the products with advice and assistance from TFL
16   and Nelson; Nelson personally advised the Keto Defendants on how to run the scam and
17   on their marketing; Nelson directed, controlled, and supervised TFL’s conduct; TFL
18   shipped the products and provided other services in support of the scheme; and other John
19   Does were hired by the Keto Defendants to perform other support services and to create
20   “affiliate advertising” sending victims to the websites. Each Defendants’ role in the
21   conspiracy is described in further detail in this Complaint in the sections on each
22   Defendant, which are incorporated here by reference.
23          407. The conspiracy damaged Plaintiffs and the Class, in that they lost money or
24   property, time, and attention, were billed for products they did not order, and paid more for
25   products than they would have had they been aware that Defendants’ representations were
26   false. Plaintiffs and other Class Members ended up with Products that were overpriced,
27   inaccurately marketed, and did not have the characteristics, qualities, or value promised by
28   Defendants, and therefore suffered injury in fact.
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1          408. Conspiracy (TFL): Defendant The Fulfillment Lab Inc. was part of a
2    conspiracy to commit the UCL violations described herein. TFL agreed with Beyond
3    Global Inc., the Keto Defendants, and other John Does to commit these wrongful acts, and
4    intended that these wrongful acts be committed. Such agreement is implied by the conduct
5    of the parties and can be inferred from the nature of the acts done, as explained in the
6    conspiracy section as to TFL in the First Cause of Action, which is incorporated by
7    reference herein. The agreement can be inferred from the relationship between the parties
8    because of the close consulting relationship, because of the length of the business
9    relationship, and because it was structured such that TFL was contracting with numerous
10   shell companies individually despite knowing it was actually working for other John
11   Doe(s). The agreement can be inferred from the interests of the co-conspirators because
12   TFL received payment according to how many items it shipped, and therefore had incentive
13   to encourage the shipment of as many items as possible regardless of whether they were
14   actually ordered. There was at least a tacit agreement to commit the wrongful acts because
15   TFL was repeatedly informed of these wrongful acts, and yet it did not quit shipping the
16   products or terminate the business relationship despite telling customers complaining about
17   Ultrafast Keto Boost on the BBB website that “TFL carefully reviews its relationship with
18   any company that has been accused of fraudulent business practices.”
19         409. TFL agreed to cooperate in the commission of these wrongful acts and
20   committed wrongful conduct in furtherance of the conspiracy. Such cooperation includes
21   all of the activities identified as substantial assistance and encouragement in the aiding and
22   abetting section of the First Cause of Action, which is incorporated by reference here. TFL
23   acted in concert with its co-conspirators, as explained therein.
24         410. TFL was aware that its co-conspirators planned to commit these UCL
25   violations, and it knew of the unlawful purpose of the conspiracy, as described supra in the
26   aiding and abetting section of the First Cause of Action as to TFL, which is incorporated
27   here by reference. TFL acted in furtherance of its own financial gain, in that it was paid for
28   its services by Beyond Global Inc. and the Keto Defendants and made money each time a
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1    customer was injured. TFL owed duties to Plaintiffs and the Class, including a duty not to
2    commit fraud, a duty not to commit intentional torts, a general duty of due care to avoid
3    exposing Plaintiffs and the Class to foreseeable harms, the duties imposed under Cal. Civ.
4    Code 1714(a), duties not to injure Plaintiffs and the Class by violating California and
5    Federal laws, and general duties of care arising from its relationship with and interaction
6    with Plaintiffs and the Class.
7          411. Conspiracy (Nelson): Defendant Nelson was part of a conspiracy to commit
8    the UCL violations described herein. Nelson agreed with Beyond Global Inc., the Keto
9    Defendants, and other John Does to commit these wrongful acts, and intended that these
10   wrongful acts be committed. Such agreement is implied by the conduct of the parties and
11   can be inferred from the nature of the acts done as explained in the conspiracy section as
12   to TFL in the First Cause of Action, which is incorporated by reference herein. The
13   agreement can be inferred from the relationship between the parties because of the close
14   consulting relationship, because of the length of the business relationship, because it was
15   structured such that TFL was contracting with numerous shell companies individually
16   despite knowing it was actually working for other John Doe(s), and because of Nelson’s
17   role in onboarding clients and in controlling TFL’s activities. The agreement can be
18   inferred from the interests of the co-conspirators because Nelson owns TFL, and TFL
19   received payment according to how many items it shipped, and therefore he had incentive
20   to encourage the shipment of as many items as possible regardless of whether they were
21   actually ordered. There was at least a tacit agreement to commit the wrongful acts because
22   Nelson was repeatedly informed of these wrongful acts, and yet he did not quit shipping
23   the products or terminate the business relationship despite telling customers complaining
24   about Ultrafast Keto Boost on the BBB website that “TFL carefully reviews its relationship
25   with any company that has been accused of fraudulent business practices.”
26         412. Nelson agreed to cooperate in the commission of these wrongful acts and
27   committed wrongful conduct in furtherance of the conspiracy. Such cooperation includes
28   all of the activities identified as substantial assistance and encouragement in the aiding and
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1    abetting section of the First Cause of Action, which is incorporated by reference here.
2    Nelson acted in concert with his co-conspirators, as explained therein.
3             413. Nelson was aware that his co-conspirators planned to commit these UCL
4    violations, and he knew of the unlawful purpose of the conspiracy, as described supra in
5    the aiding and abetting section of the First Cause of Action as to Nelson, which is
6    incorporated here by reference. Nelson acted in furtherance of his own financial gain, in
7    that TFL was paid for its services by Beyond Global Inc. and the Keto Defendants and
8    made money each time a customer was injured, and Nelson further profited by providing
9    other services through other companies he owned such as Skinutra. Nelson owed duties to
10   Plaintiffs and the Class, including a duty not to commit fraud, a duty not to commit
11   intentional torts, a general duty of due care to avoid exposing Plaintiffs and the Class to
12   foreseeable harms, the duties imposed under Cal. Civ. Code 1714(a), duties not to injure
13   Plaintiffs and the Class by violating California and Federal laws, and general duties of care
14   arising from his role in TFL’s relationship with and interaction with Plaintiffs and the
15   Class.
16                                    FIFTH CAUSE OF ACTION
17                            Violation of the Racketeer Influenced and
18                                Corrupt Organizations Act (“RICO”)
19                                      18 U.S.C. §§ 1961, et seq.
20                                          (All Defendants)
21            414. Plaintiffs incorporate all preceding and subsequent paragraphs by reference as
22   if set forth fully herein.
23            415. Plaintiffs bring this claim individually and on behalf of the Class under the
24   Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961, et
25   seq., on behalf of themselves and the Classes against all Defendants.
26            416. 18 U.S.C. § 1962(c) provides that “[i]t shall be unlawful for any person
27   employed by or associated with any enterprise engaged in, or the activities of which affect,
28   interstate or foreign commerce, to conduct or participate, directly or indirectly, in the
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1    conduct of such enterprise’s affairs through a pattern of racketeering activity or collection
2    of unlawful debt.”
3             417. 18 U.S.C. § 1962(d) provides that “[i]t shall be unlawful for any person to
4    conspire to violate any of the provisions of subsection (a), (b), or (c) of this section.”
5             418. All Defendants have committed violations of these two sections, as described
6    in further detail below.
7             419. Defendants are “persons” within the meaning of 18 U.S.C. § 1961(3), which
8    defines a person as “any individual or entity capable of holding a legal or beneficial interest
9    in property.”
10            420. The TFL Enterprise: TFL constitutes an “enterprise” within the meaning of
11   18 U.S.C. § 1961(4) because it is a corporation (“the TFL enterprise”). TFL’s President,
12   Defendant Nelson, a person, conducted TFL’s affairs through illegal acts, specifically
13   multiple related acts of mail fraud, as well as conspiracy to commit wire fraud and bank
14   fraud.
15            421. The TFL Enterprise has been in operation as a racketeering enterprise since at
16   least July 2017 (the date when a BBB investigation identified TFL as a hub for online free
17   trial scam activity because of repeated complaints about its involvement in fraud). The
18   company itself was formed on March 22, 2012. Defendant Richard Nelson is the CEO of
19   TFL and has operated the company since it was founded. At some point between 2012 and
20   2017, Nelson caused TFL to begin seeking out free trial scammers as clients and to begin
21   engaging in mail fraud on their behalf, as well as conspiring to assist them in committing
22   bank fraud and wire fraud. Nelson was recruiting free trial scammers as customers at the
23   Panama Global Banking Summit at least as of March 8, 2017, when he attended on behalf
24   of TFL as a speaker and sponsor. In 2019, in response to changes in the Mastercard rules,
25   Nelson advised his clients to modify their fraud by shipping multiple underordered
26   products at once to evade rules on subscription/continuity billing.
27            422. The TFL Enterprise qualifies as a closed-ended enterprise because the
28   predicate acts occurred over a period exceeding three years (from March 2017 to the date
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1    suit was filed). The TFL Enterprise qualifies as an open-ended enterprise, in that it was
2    actively continuing to commit predicate acts as of the date of the filing of this lawsuit, and
3    it has continued to receive BBB complaints of fraudulent billing post-suit. Its past conduct
4    by its nature poses a threat of repetition not only because the conduct has continued post-
5    suit, but because TFL’s business has been structured around providing support services for
6    clients known to be engaging in fraud, and such clients comprise a large part of TFL’s
7    client base. Committing these predicate acts has become a regular way of doing business
8    at TFL and is thus likely to recur.
9            423.   TFL was providing services to the Keto Defendants at least as of August
10   2019.
11           424. The services provided by TFL to the Keto Defendants and Beyond Global Inc.
12   are described in the aiding and abetting section as to TFL in the First Cause of Action,
13   which is incorporated by reference. Those services were not routine contracts or the acts
14   of a routine service provider. First, TFL had knowledge of the scam, as described in detail
15   in the aiding and abetting section as to TFL in the First Cause of Action, which is
16   incorporated here by reference. Second, the nature of the services provided rules out any
17   innocent explanation, such as that TFL was a mere shipping company. Those services
18   included directly running advertising campaigns, which required knowledge of the
19   fraudulent ads. The shipments were specifically structured at the advice of TFL and Nelson
20   as one time five-bottle shipments to avoid new Mastercard rules targeting free trial scams
21   by allowing the charges to be made under a different billing code which would avoid
22   various restrictions. TFL further had a policy of signing separate contracts with each shell
23   company used to create a merchant account, as evidenced by exhibits in a civil suit
24   involving one of TFL’s clients who was criminally indicted in Puerto Rico for running a
25   “free trial” scam. Because the Keto Defendants were operating numerous shell companies,
26   and TFL knew their true identities from its lengthy client onboarding process, when TFL
27   signed separate service contracts with large numbers of these shell companies separately it
28   knew it was providing services to a fraudulent scheme. TFL signed dozens upon dozens of
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1    contracts with separate shell companies with nominal owners and executives it had never
2    interacted with to ship the same two products from the same two websites, knowing that
3    its real client for the Keto Products was someone else. There is no innocent explanation for
4    structuring its contracts this way, and both TFL and Nelson were fully aware of the nature
5    of the merchant account scheme both from Nelson’s attendance at the Panama Global
6    Banking Summit and from the Puerto Rico criminal indictment of one of TFL’s clients.
7    TFL and Nelson further publicly stated in BBB posts that the company had a policy of
8    ending business relationships with clients who committed fraud, but despite being
9    repeatedly notified of the fraud here, it continued the relationship with the Keto
10   Defendants.
11         425. As CEO and owner Nelson controls TFL and sets its policies. He caused TFL
12   to directly commit numerous acts of mail fraud between at least March 8, 2017 and the
13   present by shipping products for various clients who he and TFL knew to be operating
14   fraudulent scams, including “free trial scams.” Nelson supervised, controlled, and directed
15   these acts of mail fraud. When the FTC began cracking down on subscription scams and
16   VISA/Mastercard imposed new restrictions, Nelson caused TFL to restructure the
17   shipments of its clients as a single bulk shipment of unordered products to avoid these
18   restrictions and continue the fraud. Many of the specific predicate acts are described in
19   detail infra, but there are far more predicate acts whose details are currently within the
20   exclusive possession of TFL and Nelson, committed both with the Keto Defendants and
21   Beyond Global Inc. and with other unrelated clients as well.
22         426. Nelson and TFL’s activities with respect to the Keto Defendants and Beyond
23   Global Inc. are described in detail in the aiding and abetting section and conspiracy sections
24   as to them in the First Cause of Action, which are incorporated here by reference. The TFL
25   Enterprise provided substantially similar services to its other clients as it did to the Keto
26   Defendants and Beyond Global Inc. Those client relationships were separate from the
27   relationship with the Keto Defendants and Beyond Global Inc., but are part of the TFL
28   Enterprise’s own pattern of racketeering activity.
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1          427. The TFL Enterprise operated in partnership with the Keto Defendants and
2    Beyond Global Inc. with respect to the Keto Products and to other unknown products
3    proprietary to the Keto Defendants and Beyond Global Inc. Each of them agreed to operate
4    different parts of the scam, with TFL and Nelson attempting to nominally separate
5    themselves from the illegal activity by posing as a legitimate service provider for
6    fulfillment services. The relationship between the Keto Defendants and Beyond Global Inc.
7    and TFL/Nelson was structured as a vendor-vendee relationship, with TFL/Nelson as the
8    vendor, except that the services being provided included illegal racketeering activity and
9    were performed to knowingly advance a fraudulent scheme. TFL acted as a “hub” for
10   various fraud operations including this one, coaching them, consulting for them, and
11   passing information between them about how to effectively conduct the fraud and how to
12   avoid being detected.
13         428. The Keto Enterprise: The overall Keto scam constitutes an “enterprise”
14   within the meaning of 18 U.S.C. § 1961(4), which defines an enterprise as “any individual,
15   partnership, corporation, association, or other legal entity, and any union or group of
16   individuals associated in fact although not a legal entity.” As described herein, all of the
17   Defendants are individuals and legal entities who associated in fact to comprise and operate
18   the Keto scam (the “Keto Enterprise”). The Keto Enterprise consists of The Fulfillment
19   Lab Inc., Richard Nelson, David Flynn, Rickie Joe James, Beyond Global Inc., Brightree
20   Holdings Corp. and BMOR Global LLC and the currently unknown John Does. This
21   enterprise has been in existence at least since February 20, 2018, when the first “false front”
22   was registered for Ultrafast Keto Boost. Beyond Global Inc. joined the enterprise on or
23   around its date of incorporation on July 16, 2019. TFL and Nelson joined the enterprise at
24   least as of August 2019.
25         429. Defendants agreed to—and did—operate the Keto Enterprise through a
26   pattern of racketeering activity. Defendants conducted the Keto Enterprise’s affairs through
27   a pattern of illegal acts, specifically, multiple related acts of mail fraud, wire fraud, and
28   bank fraud, as described infra.
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1          430. The individuals and entities comprising the Keto Enterprise had a common
2    purpose, namely to defraud victims purchasing the Keto Products. Each individual and
3    entity involved benefited financially from doing so. TFL was able to sell additional
4    services, and earned money for each shipment. Nelson profited from this because he was
5    TFL’s owner and was paid as its CEO. The Keto Defendants profited from each sale
6    because they were the ultimate owners of the Keto Products. TFL/Nelson’s involvement
7    went beyond routine commercial dealings into fraud, as described supra. Beyond Global
8    Inc. and the Keto Defendants likewise were not engaging in routine commercial dealings
9    because they knew the customers had not actually ordered the products they were selling,
10   and intentionally deceived customers about what they were ordering and about
11   endorsements and other characteristics of those products as described herein.
12         431. The Keto Enterprise was structured as a vendor/vendee relationship, with
13   Beyond Global Inc. and the Keto Defendants as the owners of the Keto Products hiring
14   TFL/Nelson as well as other John Does as vendors to assist in the fraud. The relationship
15   was a lengthy one, as described supra, and began with a multi-month onboarding process
16   in which Nelson guided and advised Beyond Global Inc. and the Keto Defendants about
17   how to set up this kind of fraud based on his experience with other clients running identical
18   schemes. Nelson regularly conducted live chat meetings with Beyond Global Inc. and the
19   Keto Defendants to coordinate their activities, and to advise them and consult for them.
20   TFL regularly interacted with Beyond Global Inc. and the Keto Defendants and
21   communicated with them, and also used the software designed by Nelson to allow Beyond
22   Global Inc. and the Keto Defendants to monitor data about the shipments, their inventory,
23   and TFL’s activities. That software further allowed coordination by enabling Beyond
24   Global Inc. and the Keto Defendants to make decisions and set parameters as to the services
25   through an API, which among other things enabled them to submit orders and cancel
26   orders. The TFL software further enabled coordination through a “management console”
27   which among other things enabled Beyond Global Inc. and the Keto Defendants to review
28   the reasons for customer returns, which were collected by TFL. Employees of TFL also
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1    were in regular contact with Beyond Global Inc. and the Keto Defendants regarding issues
2    which involved knowledge of the scam such as customer complaints. The relationship
3    between Beyond Global Inc. and the Keto Defendants and TFL/Nelson was an ongoing
4    organization with both formal and informal elements. It was formalized through contracts
5    signed between various shell companies and TFL. However, there was also an informal
6    aspect, in that TFL knew that these contracts were with sham entities and in fact it was
7    providing services to the John Does behind the scheme. TFL knew this because those John
8    Does were who it was actually communicating with and being compensated by. Beyond
9    Global Inc., the Keto Defendants, TFL, and Nelson worked together in an indispensable
10   and integrated manner to mutually engage in wrongful acts, in that: (1) none of the sales
11   could have occurred without all of them acting together because each of them performed a
12   necessary part of the transaction; (2) each predicate act involved coordination using
13   specialized software, in which Beyond Global Inc. and the Keto Defendants would collect
14   consumer information on their website and transfer it to TFL through TFL’s fulfillment
15   software, which had been integrated into their websites for that purpose.
16         432. The Keto Defendants hired other additional John Doe vendors, such as
17   affiliate networks and “crooked processors.” These vendors were paid a portion of the
18   proceeds in exchange for their services, knowing that they were assisting in a scam. The
19   John Doe affiliate networks aggregated groups of freelance affiliates and were paid a flat
20   amount by the Keto Defendants, generally on a “cost per action” basis (in other words,
21   each time someone made a purchase). The “crooked processors” assisted with processing
22   transactions through the merchant accounts and had a vendor/vendee relationship with the
23   Keto Defendants. Further information regarding their role is within the exclusive
24   possession of the Defendants.
25         433. Each of the members of the Keto Enterprise knew about the general nature of
26   the enterprise and knew that the enterprise extended beyond their individual role. The
27   nature and structure of these scams was widely known across the industry, as evidenced by
28   the keynote speech at the Affiliate Summit in 2019 described herein. TFL employees
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1    attended that January 2019 Affiliate Summit, and TFL operated a vendor booth there
2    seeking clients. The Keto Defendants knew about the entirety of the enterprise because
3    they hired the vendors used to support the scam. TFL and Nelson knew about the general
4    nature of the enterprise from the onboarding process, their consulting and coaching, their
5    attendance at conferences, and for the various reasons described in the aiding and abetting
6    sections in the First Cause of Action as to their knowledge. They knew the enterprise
7    extended beyond their individual role, and in fact regularly referred partner vendors to
8    scammers including the Keto Defendants. Nelson specifically discussed the various vendor
9    relationships his clients had in a panel he spoke on at the 2017 Panama Global Banking
10   Summit, and noted that he and other vendors talked to one another about their activities
11   and reputations. TFL further interacted with these other vendors regularly as part of the
12   software integration process and to transfer data.
13         434. The Keto Enterprise functioned as a continuing unit because these
14   formal/informal relationships lasted for a long period of time, at least from February 20,
15   2018 until the date this lawsuit was filed on August 6, 2020, and continued post-suit at least
16   through July 2021, as of which time TFL was continuing to ship the Keto Products for the
17   Keto Defendants.
18         435. The Keto Enterprise qualifies as a closed-ended enterprise because the
19   predicate acts occurred over a period exceeding a year and a half (from February 20, 2018
20   to the date suit was filed). The Keto Enterprise qualifies as an open-ended enterprise, in
21   that it was actively continuing to commit predicate acts as of the date of the filing of this
22   lawsuit, and it has continued to receive BBB complaints of fraudulent billing post-suit. Its
23   past conduct by its nature poses a threat of repetition not only because the conduct has
24   continued post-suit, but because both TFL and the Keto Defendants’ businesses have been
25   structured around fraudulently billing customers (with respect to TFL as described above,
26   and with respect to the Keto Defendants in terms of using a shell company/merchant
27   account scheme). Committing these predicate acts has become a regular way of doing
28   business among these Defendants and is thus likely to recur.
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1          436. Predicate Acts: Each of the Defendants committed, conspired to commit, and
2    agreed to the commission of at least two predicate acts.
3          437. 18 U.S.C. § 1961(1) defines racketeering activity to include “any act which is
4    indictable under any of the following provisions of title 18, United States Code... section
5    1341 (relating to mail fraud), section 1343 (relating to wire fraud), section 1344 (relating
6    to bank fraud)....”
7          438. 18 U.S.C. § 1961(1) defines a pattern of racketeering activity as “at least two
8    acts of racketeering activity, one of which occurred after the effective date of this chapter
9    and the last of which occurred within ten years (excluding any period of imprisonment)
10   after the commission of a prior act of racketeering activity.”
11         439. Two predicate acts of wire fraud were involved in the sale to Ms. Sihler. On
12   or around December 11, 2019, Ms. Sihler was shown advertising claiming that InstaKeto
13   had been endorsed by the six celebrity “Sharks” from Shark Tank and well-known
14   magazines. This advertising was transmitted via the Internet through interstate commerce
15   into California. The advertisement was false because InstaKeto had not actually been
16   endorsed by any celebrities or well-known magazines. She was then taken to the InstaKeto
17   landing page, where she was falsely told she would be billed for only three bottles, as
18   described supra. The InstaKeto landing page was also transmitted via the Internet through
19   interstate commerce into California. Both of these websites (the initial Shark Tank page
20   and the InstaKeto landing page) were caused to be transmitted by Beyond Global Inc. and
21   the Keto Defendants. They knew that Shark Tank cast members and magazines had not
22   endorsed their product, because if true this would have been highly publicized and would
23   have involved contracts and contact with journalists. They further knew that they intended
24   to ship 5 bottles and not three, and knew they intended to charge Ms. Sihler a significantly
25   higher price than what they had represented they would. Previously, Beyond Global Inc.
26   and the Keto Defendants had run free trial scams. At the advice of Nelson and TFL, they
27   devised this specifically as a scheme to defraud and to obtain money via false or fraudulent
28   representations, and specifically chose to structure the scam as shipping additional bottles
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1    to evade FTC scrutiny of subscription charges and Mastercard brand rules that went into
2    place on April 12, 2019. Those Mastercard rules introduced stricter payment processing
3    rules for subscription billing, but they did not apply to multiple bottles in a single shipment.
4    This scheme enabled them to overcharge consumers without billing under MCC 5968
5    (Direct Marketing—Continuity/Subscription Merchants), the subscription code subject to
6    the rule.
7           440. These transmissions of the Shark Tank website and the InstaKeto website to
8    Ms. Sihler constitute two separate predicate acts of wire fraud, which Beyond Global Inc.
9    and the Keto Defendants directly committed, and which Nelson and TFL conspired to
10   commit by agreeing to their commission and by advising them on the scam generally and
11   specifically by advising them to structure their shipments to avoid Mastercard rules. Each
12   Defendant had a specific intent to deceive or defraud. Defendants Flynn and James knew
13   about the deceptions, and had supervised the creation of the websites at issue and purchased
14   the advertising on behalf of Beyond Global Inc., Brightree Holdings Corp., and BMOR
15   Global LLC, which they used as shell companies to sell the products. Nelson and TFL
16   agreed to the commission of these predicate acts and intended that they occur. The place
17   of origination of the websites is unknown, but the merchant account was listed as being
18   located in Port Orange, Florida, and Nelson and TFL’s activities took place in Florida.
19          441. The sale to Ms. Sihler also involved one predicate act of mail fraud committed
20   by each of the Defendants. TFL used United States mails to send the shipment, under the
21   supervision, direction, and control of Nelson (who caused the shipment), and directed by
22   Beyond Global Inc. and the Keto Defendants (who caused the shipment because they had
23   hired TFL to ship their products). Shortly after December 11, 2019, TFL shipped five
24   bottles of a product labeled “Instant Keto” to Ms. Sihler. That shipment came from Tampa,
25   Florida and was sent to Ms. Sihler in Coronado, California. As stated above, on the advice
26   of Nelson and TFL, those shipments were structured as a single five-bottle bundle, rather
27   than the fake “free trial” subscription which Beyond Global Inc. and the Keto Defendants
28   had previously used for other products. All of the Defendants specifically intended to
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1    continue committing fraud despite FTC and Mastercard crackdowns on subscription fraud
2    by restructuring the shipments to avoid a subscription. TFL and Nelson were both
3    specifically aware of the nature of the Keto scam by then, as detailed in the aiding and
4    abetting section as to Nelson in the First Cause of Action (incorporated here by reference).
5    In particular, as noted there, TFL received complaints on its BBB page about the Keto scam
6    describing both the fake Shark Tank ads and lying about the number of bottles that would
7    be shipped. Two of those complaints occurred on September 30, 2019 (describing fake
8    number of bottles) and November 20, 2019 (describing fake Shark Tank ads and laying out
9    details of fake prices). TFL responded to these complaints on October 17, 2019 and
10   December 4, 2019 respectively—meaning it knew well before it shipped the bottles to Ms.
11   Sihler that it was shipping bottles that had not actually been ordered and that had been
12   advertised with fake Shark Tank ads. TFL further received specific complaints on its BBB
13   page about the pricing issue regarding Ultrafast Keto Boost on October 2, 2019 and
14   November 1, 2019 which it did not respond to, but which it was aware of because Nelson
15   monitored the TFL BBB page and personally wrote TFL’s responses to the complaints
16   (often signed in his own name).
17         442. TFL, Nelson, Beyond Global Inc., and the Keto Defendants devised a scheme
18   to defraud and to obtain money via false or fraudulent representations, as discussed supra.
19   TFL used United States mails (via Postal Service or private or commercial interstate
20   carrier) to deliver the shipment to Ms. Sihler, under the supervision, direction, and control
21   of Nelson, and directed by Beyond Global Inc. and the Keto Defendants (who had hired
22   TFL to ship their products). This act was in furtherance of the scheme, in that shipping the
23   unordered products was a necessary “fig leaf” to allow Beyond Global Inc. and the Keto
24   Defendants to keep billing for them. Each Defendant had a specific intent to deceive or
25   defraud. The act of shipping went beyond an ordinary business transaction here, not only
26   because of TFL and Nelson’s knowledge of the wire fraud discussed above and intent to
27   participate in it, but because the shipment was specifically structured this way on the advice
28   of TFL/Nelson to knowingly evade Mastercard rules and FTC scrutiny which applied only
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1    to subscriptions. By structuring the shipment this way, victims could be billed for
2    unordered products just as in a traditional free trial scam, but because they were shipped
3    the unordered products all at once, the billing code would not be identified as MCC 5968
4    (Direct Marketing—Continuity/Subscription Merchants) and the Mastercard rules would
5    not apply.
6          443. Two predicate acts of wire fraud were involved in the sale to Ms. Bavencoff.
7    On or around October 14, 2019, Ms. Bavencoff was shown advertising on Facebook
8    claiming that Ultrafast Keto Boost had been endorsed by the six celebrity “Sharks” from
9    Shark Tank and well-known magazines. This advertising was transmitted via the Internet
10   through interstate commerce into California. The advertisement was false because Ultrafast
11   Keto Boost had not actually been endorsed by any celebrities or well-known magazines.
12   She was then taken to the Ultrafast Keto Boost landing page, where she selected an option
13   thinking she would not be billed for “free” bottles, as described supra. Instead she was
14   billed for all five bottles. The Ultrafast Keto Boost landing page was also transmitted via
15   the Internet through interstate commerce into California. Both of these websites (the initial
16   Shark Tank page and the Ultrafast Keto Boost landing page) were caused to be transmitted
17   by Beyond Global Inc. and the Keto Defendants. They knew that Shark Tank cast members
18   and magazines had not endorsed their product, because if true this would have been highly
19   publicized and would have involved contracts and contact with journalists. They further
20   knew that they intended to ship 5 bottles and that none of the bottles were “free,” and knew
21   they intended to charge Ms. Bavencoff a significantly higher price than what they had
22   represented they would. Just as with Ms. Sihler, Beyond Global Inc. and the Keto
23   Defendants shipped all the unordered bottles structured as a single shipment to avoid
24   Mastercard rules and FTC scrutiny.
25         444. These transmissions of the Shark Tank website and the Ultrafast Keto Boost
26   website to Ms. Bavencoff constitute two separate predicate acts of wire fraud, which
27   Beyond Global Inc. and the Keto Defendants directly committed, and which Nelson and
28   TFL conspired to commit by advising them on the scam generally and specifically by
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1    advising them to structure their shipments to avoid Mastercard rules. Each Defendant had
2    a specific intent to deceive or defraud. Defendants Flynn and James knew about the
3    deceptions, and had supervised the creation of the websites at issue and purchased the
4    advertising on behalf of Beyond Global Inc., Brightree Holdings Corp., and BMOR Global
5    LLC, which they used as shell companies to sell the products. Nelson and TFL agreed to
6    the commission of these predicate acts and intended that they occur. The place of
7    origination of the websites is unknown, but the merchant account lists “NV,” Beyond
8    Global Inc. is incorporated in Wyoming but listed a Nevada address on the bottle, and
9    Nelson and TFL’s activities took place in Florida.
10         445. The sale to Ms. Bavencoff also involved one predicate act of mail fraud
11   committed by each of the Defendants. TFL used the mails to send the shipment, under the
12   supervision, direction, and control of Nelson (who caused the shipment), and directed by
13   Beyond Global Inc. and the Keto Defendants (who caused the shipment because they had
14   hired TFL to ship their products). Shortly after October 14, 2019, TFL shipped five bottles
15   of Ultrafast Keto Boost to Ms. Bavencoff. That shipment came from Tampa, Florida and
16   was sent to Ms. Bavencoff in Santee, California. As stated above, on the advice of Nelson
17   and TFL, those shipments were structured as a single five-bottle bundle, rather than the
18   fake “free trial” subscription which Beyond Global Inc. and the Keto Defendants had
19   previously used for other products. All of the Defendants specifically intended to continue
20   committing fraud despite FTC and Mastercard crackdowns on subscription fraud by
21   restructuring the shipments to avoid a subscription. TFL and Nelson were both specifically
22   aware of the nature of the Keto scam by then, as detailed in the aiding and abetting section
23   as to Nelson in the First Cause of Action (incorporated here by reference). In particular, as
24   noted there, TFL received complaints on its BBB page about the Keto scam describing
25   both the fake Shark Tank ads and lying about the number of bottles that would be shipped.
26   One of those complaints occurred on September 30, 2019 (describing fake number of
27   bottles) and TFL further received specific complaints on its BBB page about the pricing
28   issue regarding Ultrafast Keto Boost on October 2, 2019. TFL and Nelson were aware of
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1    these complaints because Nelson monitored the TFL BBB page and personally wrote
2    TFL’s responses to the complaints (often signed in his own name). Their intent is further
3    evidenced by the fact that they continued shipping the Keto Products long after receiving
4    these complaints.
5          446. TFL, Nelson, Beyond Global Inc., and the Keto Defendants devised a scheme
6    to defraud and to obtain money via false or fraudulent representations, as discussed supra.
7    TFL used United States mails (via Postal Service or private or commercial interstate
8    carrier) to deliver the shipment to Ms. Bavencoff, under the supervision, direction, and
9    control of Nelson, and directed by Beyond Global Inc. and the Keto Defendants (who had
10   hired TFL to ship their products). This act was in furtherance of the scheme, in that shipping
11   the unordered products was a necessary “fig leaf” to allow Beyond Global Inc. and the
12   Keto Defendants to keep billing for them. Each Defendant had a specific intent to deceive
13   or defraud. The act of shipping went beyond an ordinary business transaction here, not only
14   because of TFL and Nelson’s knowledge of the wire fraud discussed above and intent to
15   participate in it, but because the shipment was specifically structured this way on the advice
16   of TFL/Nelson to knowingly evade Mastercard rules and FTC scrutiny which applied only
17   to subscriptions. By structuring the shipment this way, victims could be billed for
18   unordered products just as in a traditional free trial scam, but because they were shipped
19   the unordered products all at once, the billing code would not be identified as MCC 5968
20   (Direct Marketing—Continuity/Subscription Merchants) and the Mastercard rules would
21   not apply.
22         447. These sales and shipments of Ultrafast Keto Boost and Instant Keto were not
23   isolated, but were part of a pattern of related shipments and predicate acts that occurred
24   over a long period of time. The sales and shipments of these two products were occurring
25   from at least February 2018. The Keto Defendants and/or Beyond Global Inc. registered
26   the “false front” website for Ultrafast Keto Boost used to defraud the banks and credit card
27
28
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1    companies on or about February 20, 2018.63 The Keto Defendants first registered the Ultra
2    Fast Keto Boost website - https://ultrafastketoboost.com - on July 3, 2019, and first
3    registered Instant Keto’s website - https://instaketo.com/ - on August 8, 2018, with a last
4    update on September 20, 2019.64
5          448. Plaintiffs are unable to fully plead details of those predicate acts because the
6    facts are largely within the possession of the Defendants, but the examples below are
7    representative and show that the predicate acts committed against Plaintiffs were part of a
8    long-running pattern which was ongoing as of the date of filing of this lawsuit and has
9    continued post-suit, and is thus likely to recur.
10         449. A BBB complaint posted on November 12, 2019 reported the following
11   regarding Ultra Fast Keto Boost:
12         Sat 8/24:I purchased the online offer "buy 2 & get 1 more for free".They
           charged me full price,I cancelled,they never responded & still charged me. On
13
           Sat Aug. 24 of 2019, I purchased online an offer on Ultra Fast Keto Boost
14         website "buy 2 bottles & get 1 more for free". They sent me a confirmation
           email without any details or any amount, but they were saying that I have paid
15
           for this offer. When I went online on Monday Aug. 26 (since nothing was
16         updated on Sunday), on my online back account I saw that they charged my
           card with an extra 50 dollars (As if I never had the special offer, and they were
17
           charging me for all 3 bottles). I immediately emailed them and cancelled the
18         order and of course I disputed the charge in my card. They never responded
           to my email, I never received the product (and to be honest I wouldn't care to
19
           receive it, after this SCAM and FRAUD they "played" on me), and now 3
20         months later they STILL have the nerve to demand from me to pay them and
           they causing me problems with my bank and my credit card. They ARE
21
           CROOKS, FRAUDS & SCAMMERS!!! THEY SHOULD NOT BE
22         TRUSTED BY ANYONE!!!!!
23
           450. On information and belief, and based on the lengthy process required to file a
24
     BBB complaint that requires numerous consumer details, this shipment occurred as
25
26
27   63
       https://whois.domaintools.com/thesuperbooster.com
     64
       http://whois.domaintools.com/instaketo.com and
28   http://whois.domaintools.com/ultrafastketoboost.com
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1    described by the customer, and involved at least one predicate act of wire fraud directly
2    committed by Beyond Global Inc. and the Keto Defendants substantially identical to those
3    committed against Ms. Bavencoff (the transmission of the website via the Internet to an
4    unknown location within the United States). That act occurred on August 24, 2019. The
5    shipment constituted mail fraud, as the product was shipped by TFL (under the direction,
6    control, and supervision of Nelson) from Tampa or Utah via United States mails to an
7    unknown location within the United States. The shipment occurred in August or September
8    2019. The purpose of these transmissions and shipments was to obtain money from the
9    consumer, and the transmissions and shipments were made in furtherance of the scheme to
10   defraud. Otherwise, the facts and allegations as to these predicate acts are substantially
11   identical to those involving Ms. Bavencoff, which are incorporated here by reference.
12         451. A BBB complaint posted on January 14, 2020 reported the following
13   regarding Ultra Fast Keto Boost:
14         I purchased 3 bottles of Keto Boost from Ultra Fast Keto Boost in Las vegas,
           Nv. online from an ad on facebook. The promotion was to buy 3 bottles of
15
           this product @ $39.95 & receive 2 free bottles. This was on 10/31/19. When
16         I received the bottles they were not the item that was shown in the ad on
           facebook. This ad was also promoted by members of shark tank tv show. The
17
           ad shows dropping a tablet into a glass of water before bedtime & drinking it.
18         When the product arrived the contents were capsules & not the pills shown in
           the ad. I have not been able to locate this company as the product was sent
19
           from Tampa, Fl. & there was no listing for that # in 411 I went to my credit
20         union yesterday to try to locate the # of the company & discovered that an
           amount of $198.70 was charged to my account. Today I finally located a
21
           phone # in Las Vegas & when I talked to a person re: my bill he simply stated
22         that the bottles were for 69.95 & not 39.95. I asked to speak to his manager &
           he informed me that there was no one higher up than him on the floor. I then
23
           asked to speak speak to someone other than billing & he then informed me
24         that they no longer carry the product I purchased & they cannot help me with
           my complaint about the difference in the product I received & the product
25
           shown on the air. The name of this company is Ultra Fast Keto Boost. Address
26         is 9121 W. Russell Rd., suite 116B, Las Vegas, Nv.,89148. There phone # is
           888-970-0692.
27
28
                                              159
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1          452. “Ultra Fast Keto Boost” responded on February 10, 2020 acknowledging the
2    order but refusing to provide a refund. On information and belief, and based on the lengthy
3    process required to file a BBB complaint that requires numerous consumer details, as well
4    as the response, this shipment occurred as described by the customer, and involved at least
5    two predicate acts of wire fraud directly committed by Beyond Global Inc. and the Keto
6    Defendants substantially identical to those committed against Ms. Bavencoff (the
7    transmission of the Facebook advertisement and the website via the Internet to an unknown
8    location within the United States). That act occurred on October 31, 2019. The shipment
9    constituted mail fraud, as the product was shipped by TFL (under the direction, control,
10   and supervision of Nelson) from Tampa via United States mails to an unknown location
11   within the United States. The shipment occurred in November 2019. The purpose of these
12   transmissions and shipments was to obtain money from the consumer, and the
13   transmissions and shipments were made in furtherance of the scheme to defraud.
14   Otherwise, the facts and allegations as to these predicate acts are substantially identical to
15   those involving Ms. Bavencoff, which are incorporated here by reference.
16         453. A BBB complaint posted on February 28, 2020 reported the following
17   regarding Ultra Fast Keto Boost:
18         Returned product as info given me. No money returned. They signed for the
           product via usps. On Dec 1, 2019 I purchased 1 bottle of Ultra Fast Keto Boost
19
           for 69.00(or close). When I got the pkg it was 5 btls and they charged my
20         account 198.60(or )I called the LV office and was given the address of PO
           Box 3011-145 Salt lake City Ut. I sent the product back on 12/11/2019 and
21
           they signed for it as recd on 12/17/2019. I have not been able to contact them
22         as the numbers are all no longer avail. I want my money back. Also they want
           to charge me 5.00 for restock on each bottle. I told then I would pay that for
23
           the bottle I had ordered but not for the 4 bottles they sent and i had not
24         authorized. I want my money back. I am a Sr Citizen and they put me in a
           very hard place by charging my account the astronomical amount from my
25
           account and causing me financial hardship. I have tried to locate them and
26         work with them but to no avail so I need your help to get ALL my money
           back. I have my bank statement, I even filed a complaint with my bank
27
           because they took out so much money and I didnt know who had done it. I
28
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1              also have the Certified mail receipt with the tracking number showing when
               they rec'd the product back.
2
3              454. On information and belief, and based on the lengthy process required to file a
4    BBB complaint that requires numerous consumer details, as well as the response, this
5    shipment occurred as described by the customer, and involved at least one predicate act of
6    wire fraud directly committed by Beyond Global Inc. and the Keto Defendants
7    substantially identical to those committed against Ms. Bavencoff (the transmission of the
8    website via the Internet to an unknown location within the United States). That act occurred
9    on December 1, 2019. The shipment constituted mail fraud, as the product was shipped by
10   TFL via United States mails (under the direction, control, and supervision of Nelson) from
11   Salt Lake City, Utah to Ohio. TFL is registered to do business in Utah at 1232 S
12   GLADIOLA ST #200 Salt Lake City, UT 84104, and it operates a fulfillment center in
13   Utah.65 The shipment occurred between December 1, 2019 and December 11, 2019. The
14   purpose of these transmissions and shipments was to obtain money from the consumer, and
15   the transmissions and shipments were made in furtherance of the scheme to defraud.
16   Otherwise, the facts and allegations as to these predicate acts are substantially identical to
17   those involving Ms. Bavencoff, which are incorporated here by reference.
18             455. A BBB complaint posted on June 24, 2020 reported the following regarding
19   “Instaketo”:
20             I returned a package (which I never ordered however transaction took place
               as a fraud) and never received a refund. In late 10/2019 I recognized a
21
               transaction on my credit card (for $201.68) which I am not aware of under the
22             name of Instaketo in Tampa Florida. I reside in Little Rock, Arkansas. I called
               my bank (Bank of America) to report a fraud and they instantly processed me
23
               a refund and issued me a new credit card, meanwhile they told me they will
24             do some investigations. A few days later, I received a package (package label
               is attached) from the company composed of 5 boxes of tablets or capsules to
25
               enhance a ketogenic state in the blood along with an email confirming delivery
26             with order ID XXXXXX!! I was confused how they got my name, address
               and my credit card information. Also if someone wants to make a fraud why
27
28   65
          https://www.thefulfillmentlab.com/news/the-fulfillment-lab-is-a-fulfillment-solutions-business.
                                                     161
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1          he/she sent it to me. So, I suspect that the company is involved in this process.
           So I reached out to the company by email (correspondence attached) to let
2
           them know about what happened and request to return it back and get a refund.
3          I was surprised that they already have an account by name middle and last
           name which I have no idea about. What they did that they showered me with
4
           great offers to keep the package and not get a refund, which increased my
5          suspicions that they are behind that process.
6
           456. On information and belief, and based on the lengthy process required to file a
7
     BBB complaint that requires numerous consumer details, this shipment occurred as
8
     described by the customer, and involved at least one predicate act of mail fraud, as the
9
     product was shipped by TFL via United States mails from Tampa, Florida to Little Rock,
10
     Arkansas. The shipment occurred in late October 2019. The purpose of these transmissions
11
     and shipments was to obtain money from the consumer, and the transmissions and
12
     shipments were made in furtherance of the scheme to defraud. Otherwise, the facts and
13
     allegations as to these predicate acts are substantially identical to those involving Ms.
14
     Sihler, which are incorporated here by reference.
15
           457. A BBB complaint posted on June 11, 2020 reported the following regarding
16
     “Insta Keto”:
17
           Price of total order was deceiving. Not returnable by Post Office. Located
18         package and returned. Did not receive a full refund. I purchased Insta Keto
           supplements thinking I was paying $39.95. What I ended up being charged
19
           was $198.70. When I saw this pending on my account, I immediately called
20         the customer service number to cancel. I was told to call back because it had
           already been shipped.
21
22         458. The customer went on to state that the Insta Keto product was shipped from
23   Salt Lake City, Utah, and that the customer lived in Ohio. “Ultra Fast Keto Boost
24   Response” replied acknowledging that a refund had been requested, and stating it had been
25   delayed due to COVID.
26         459. On information and belief, and based on the lengthy process required to file a
27   BBB complaint that requires numerous consumer details, as well as the response, this
28   shipment occurred as described by the customer, and involved at least one predicate act of
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1    wire fraud directly committed by Beyond Global Inc. and the Keto Defendants
2    substantially identical to those committed against Ms. Sihler (the transmission of the
3    website via the Internet to an unknown location within the United States). That act occurred
4    in mid-2020 based on the response stating that delays had occurred because of COVID.
5    The shipment constituted mail fraud, as the product was shipped by TFL via United States
6    mails (under the direction, control, and supervision of Nelson) from Salt Lake City, Utah
7    to Ohio. The shipment occurred in mid-2020. The purpose of these transmissions and
8    shipments was to obtain money from the consumer, and the transmissions and shipments
9    were made in furtherance of the scheme to defraud. Otherwise, the facts and allegations as
10   to these predicate acts are substantially identical to those involving Ms. Sihler, which are
11   incorporated here by reference.
12         460. A BBB complaint posted on June 29, 2020 reported the following regarding
13   Instant Keto:
14         I thought I only ordered the free bottle, but somehow ended up with the
           biggest order. I figured I would try it anyway because it had a guarantee that
15
           if it didn't work you could get your money back. Well it didn't work, so I went
16         online to find out how/where to send it back for a refund. After visiting the
           website my computer came down with a virus. (They were the only new
17
           website I went to). After getting it fixed, I still have not heard from them on
18         how to get my money back. Do not want to go back to their website and
           possibly get a virus again. Product_Or_Service: Instant Keto pills
19
20         461. “Ultra Fast Keto Boost Response” responded to the complaint as follows:
21         There has been no contact/correspondence from the customer. All customers
           receive an email with a Customer Support number to contact us, we operate a
22
           24/7 customer support center. The customers order date is 14MAY2020 and
23         the customers complaint date is 29JUNE2020 which puts the customer passed
           the 30 Day guarantee. We can offer the customer a partial refund of $173.70
24
           and the customer may keep the product or return it. Customers are responsible
25         for return shipping per our Terms and Conditions.
26
           462. On information and belief, and based on the lengthy process required to file a
27
     BBB complaint that requires numerous consumer details, as well as the response, this
28
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1    shipment occurred as described by the customer, and involved at least one predicate act of
2    wire fraud directly committed by Beyond Global Inc. and the Keto Defendants
3    substantially identical to those committed against Ms. Sihler (the transmission of the
4    website via the Internet to an unknown location within the United States). That act occurred
5    on May 14, 2020. The shipment constituted mail fraud, as the product was shipped by TFL
6    via United States mails (under the direction, control, and supervision of Nelson) from
7    Tampa, Florida or Utah to an unknown location within the United States. The shipment
8    occurred in late May 2020. The purpose of these transmissions and shipments was to obtain
9    money from the consumer, and the transmissions and shipments were made in furtherance
10   of the scheme to defraud. Otherwise, the facts and allegations as to these predicate acts are
11   substantially identical to those involving Ms. Sihler, which are incorporated here by
12   reference.
13          463. Similarly, a BBB complaint posted on October 13, 2020 reported the
14   following regarding Instant Keto:66
15          Unfortunately, I got caught up in this scam!! I saw an ad on Facebook for
            Instant Keto, buy 3 bottles at $39.70 each and get 2 bottles free. When they
16
            sent me my bill, they charged me for all 5 bottles. I insisted on getting
17          compensated for the OVERCHARGE! Nothing was mentioned at the time
            that if I get that refund for an OVERCHARGE, it forfeits the money back
18
            guarantee! This was on August 22nd. In mid September, I called to tell them
19          the pills were not working and wanted to return unused pills for a refund. The
            guy told me to wait un the end of September (he said September 28th) and
20
            then if the pills still did not work, I would get a refund. I did that and since
21          then all **** broke loose. I sent them an email in detail and asked for my
            refund. They don't do that through email. I had to all and put me through all
22
            the stress. I called twice since then and this is when they try to tell me I cannot
23          get a refund because I gave up that right with the warranty when I accepted a
            refund for an OVERCHARGE!! That is absurd!! Plus, they said I was past the
24
            warranty period of the 22nd of September, when the guy CLEARLY told me
25          to call back on the 28th!! Was that a tactic on his part to ensure I would not
            get the refund'?? They not only scammed me but the pills DO NOT WORK!!!
26
            And if we do not do anything, they are going to continue to take advantage of
27
     66
       https://www.bbb.org/us/fl/tampa/profile/high-risk-free-trial-offers/ultra-fast-keto-boost-0653-
28   90369793/complaints (last visited Jan. 3, 2021).
                                                   164
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1          so many other people, especially              poor seniors like myself!!
           Product_Or_Service:  Instant Keto              Order_Number:   XXXXXX
2
           Account_Number: none
3
4          464. On information and belief, and based on the lengthy process required to file a
5    BBB complaint that requires numerous consumer details, this shipment occurred as
6    described by the customer, and involved two predicate acts of wire fraud directly
7    committed by Beyond Global Inc. and the Keto Defendants and substantially identical to
8    those committed against Ms. Sihler (the transmission of the Facebook ad and the website
9    via the Internet to an unknown location within the United States). Those two acts occurred
10   on August 22, 2020. Beyond Global Inc. and the Keto Defendants directly committed a
11   third act of wire fraud against this unknown consumer by falsely promising the consumer
12   a refund in mid-September 2020, with the sole intent of stalling to avoid paying a refund.
13   That act was via wire (telephone) from an unknown location to an unknown location within
14   the United States. The shipment constituted mail fraud, as the product was shipped by TFL
15   via United States mails (under the direction, control, and supervision of Nelson) from
16   Tampa, Florida or Utah to an unknown location within the United States. The shipment
17   occurred in late August 2020. The purpose of these transmissions and shipments was to
18   obtain money from the consumer, and the transmissions and shipments were made in
19   furtherance of the scheme to defraud. Otherwise, the facts and allegations as to these
20   predicate acts are substantially identical to those involving Ms. Sihler, which are
21   incorporated here by reference.
22         465. The predicate acts of bank fraud consisted of the Keto Defendants presenting
23   “false front” websites to financial institutions when confronted with chargebacks. By
24   falsely claiming that consumers purchased from a website where the terms were clearly
25   disclosed and agreed to, the Keto Defendants prevented banks from issuing lawful
26   chargebacks to the Class. This false front was first registered on February 20, 2018, and on
27   information and belief has been used to defraud banks on an ongoing basis since then.
28   Further details are unknown because they are in the exclusive possession of Beyond Global

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1    Inc. and the Keto Defendants. The purpose was to further the scheme to defraud by
2    preventing it from being detected. As described supra in the section on the Keto
3    Defendants, Defendant Flynn, Defendant Brightree Holdings Corp., and Defendant TFL
4    also committed the predicate act of bank fraud by working together to hide from a banking
5    institution, VyaPay, the fact that the Instant Keto/InstaKeto products were both being
6    shipped by Brightree Holdings. They did so by falsifying the name of the product in TFL’s
7    software, which VyaPay had access to, so that it would appear to be the same product as
8    the Ultra Fast Keto Boost product. The details of that fraud are incorporated herein by
9    reference.
10         466. These predicate acts were both the but-for and proximate causes of injuries to
11   Plaintiffs and the Class, as described in the aiding and abetting and conspiracy sections of
12   the First Cause of Action as to Nelson and TFL, which are incorporated here by reference.
13   But-for the acts of mail fraud by Nelson and TFL, the scam could not have existed because
14   it would have had no “fig leaf” to bill consumers for unordered products. But-for
15   structuring the shipments to evade subscription rules, the scam would have been flagged
16   by the card brands and their merchant processing cut off. But-for the acts of wire fraud by
17   Beyond Global Inc. and the Keto Defendants, consumers would not have been injured
18   because they would have known the truth about the products and would have known the
19   real number of products they were ordering. But-for sending the false fronts to banks and
20   the bank fraud as to VyaPay, the banks would have reviewed the actual websites consumers
21   bought from and flagged the products as fraudulent to prevent them from being sold. These
22   predicate acts were a proximate cause of the injuries to Plaintiffs and the Class because the
23   injuries were direct and reasonably foreseeable results of the conduct, in that the
24   Defendants all knew how the scam worked and knew about the misrepresentations made
25   on the websites, and it was reasonably foreseeable that shipping unordered products,
26   sending false fronts to banks, lying about celebrity or corporate endorsements, lying about
27   the number of products that would be shipped, or making the other misrepresentations
28   would result in injury.
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1          467. These predicate acts are related. They have the same participants (TFL,
2    Nelson, Beyond Global Inc., and the Keto Defendants). They have the same purpose
3    (shipping unordered products to consumers to fraudulently bill them). The method of
4    commission was the same, as all involve near-identical Keto diet products shipped and sold
5    by the same companies on similar websites using similar fraudulent advertising. They all
6    were structured identically, with the consumer agreeing to purchase fewer bottles than were
7    ultimately shipped. They are not isolated in that they continued over a long period.
8          468. Defendants’ acts of wire fraud, mail fraud, and bank fraud were committed
9    willfully and intentionally as described herein, and were made in furtherance of the scheme
10   and common course of conduct in that they were designed to defraud customers of the Keto
11   Products of money and property.
12         469. The predicate acts affected interstate commerce, in that the shipments crossed
13   state lines and the advertisements were transmitted via wire across the country, resulting
14   in purchases of the Keto Products through interstate commerce which were sent via United
15   States mail and private shipping carriers.
16         470. The RICO violations alleged here have caused harm to a specific business or
17   property interest. In particular, as a result of the misrepresentations and omissions
18   described herein, Plaintiffs reasonably relied upon the representations regarding the
19   products. In reasonable reliance on these false representations, and as a result of the RICO
20   violations, Plaintiffs and other Class Members purchased the products at issue and paid
21   more for those products than they would have had they been aware that Defendants’
22   representations were false or had the Defendants not engaged in the unlawful conduct
23   described herein. Plaintiffs and other Class Members ended up with Products that were
24   overpriced, inaccurately marketed, and did not have the characteristics, qualities, or value
25   promised by Defendants, and therefore Plaintiffs and other Class Members have suffered
26   specific harm to a property interest, the money they paid to the Defendants. Plaintiff’s
27   banks were further harmed through the “false front” websites and the churning of merchant
28   accounts.
                                               167
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1          471. The RICO violations here have caused concrete financial loss. In particular,
2    as described above, money was paid by Plaintiffs and members of the Classes to Beyond
3    Global Inc. and the Keto Defendants in reliance on their misrepresentations and omissions.
4    Plaintiffs and the Class Members were overcharged for those products relative to their
5    actual value, and the value was substantially inflated by the various misrepresentations and
6    omissions as described further herein.
7          472. Beyond Global Inc., the Keto Defendants, TFL, and Nelson conspired to
8    commit the predicate acts described above (and others substantially similar predicate acts
9    against Plaintiff, the Class, and other victims) in violation of 18 U.S.C. § 1962(d). Plaintiff
10   incorporates by reference the conspiracy sections of the First Cause of Action as to these
11   respective defendants, which details the nature of this conspiracy, and the aiding and
12   abetting sections of the First Cause of Action for the respective defendants, which details
13   their knowledge of and assistance in the conspiracy. Beyond Global Inc. and the Keto
14   Defendants knew they were participating in a criminal endeavor because they knew they
15   were making the various false representations to consumers and banks described herein.
16   Similarly, TFL and Nelson each knew they were participating in a criminal endeavor as
17   described in their aiding and abetting sections as well as supra in this cause of action. All
18   four of these Defendants adopted the goal of furthering that criminal endeavor, again as
19   described in those conspiracy and aiding and abetting sections and supra in this cause of
20   action. Beyond Global Inc., the Defendants, TFL, and Nelson both agreed to commit and
21   participated in a violation of at least two predicate acts, as described in detail supra for
22   each predicate act. The agreement between these Defendants can be inferred from their
23   activities and relationships, as described in the conspiracy sections in the First Cause of
24   Action. To the extent they did not directly commit predicate acts, TFL and Nelson knew
25   about the scheme and agreed to facilitate it for the reasons described in the aiding and
26   abetting section of the First Cause of Action (in particular the facts outlined there showing
27   their knowledge and their substantial assistance, which also constitute facilitation under
28   1962(d)).
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1          473. On information and belief, many of the misrepresentations are actively being
2    made to new customers and deceptive websites are still operative. On information and
3    belief, additional predicate acts occurred far earlier and will be uncovered in discovery,
4    particularly through the Keto Defendants’ sales of earlier products and their current sales
5    of the Keto products.
6          474.   Because of these violations and pursuant to 18 U.S.C. § 1964(c) and 1964(d),
7    Defendants are liable to Plaintiffs and the Class Members for three times the damages
8    Plaintiffs and the Class Members have sustained, plus the cost of this suit, including
9    reasonable attorneys’ fees.
10                                       PRAYER FOR RELIEF
11         Wherefore, Plaintiffs demand judgment as follows:
12         A.     An order declaring that this action may be maintained as a class action
13   pursuant to Rule 23 of the Federal Rules of Civil Procedure, certifying this case as a class
14   action, appointing Plaintiffs as representative of the Class, and designating their attorneys
15   as Class Counsel;
16         B.     Declaratory judgment that Defendants’ actions are unfair and unlawful;
17         C.     An award of injunctive relief as permitted by law or equity including an order
18   prohibiting Defendants from engaging in the unlawful and tortious acts described above;
19         D.     A finding that such injunction constitutes public injunctive relief, has resulted
20   in the enforcement of an important right affecting the public interest and otherwise meets
21   the requirements of California Code of Civil Procedure § 1021.5, and an award of
22   attorney’s fees and costs pursuant to § 1021.5;
23         E.     For judgment for Plaintiffs and the Class on their claims in an amount to be
24   proven at trial, for economic, monetary, consequential, compensatory or statutory damages
25   caused by Defendants’ practices, along with punitive damages;
26         F.     For restitution and/or other equitable relief, including without limitation
27   disgorgement of all revenues, profits, and unjust enrichment that Defendants obtained from
28
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1    Plaintiffs and the Class as a result of its unlawful, unfair, and deceptive business practices
2    described herein;
3           G.     For damages of three times the damages Plaintiffs and the Class Members
4    have sustained, plus the cost of this suit, including reasonable attorney’s fees pursuant to
5    18 U.S.C. § 1964(c) and (d);
6           H.     An award of attorney’s fees and costs;
7           I.     For pre-judgment and post-judgment interest as provided for by law or
8    allowed in equity; and
9           J.     Such other and further relief as is necessary and appropriate.
10                                 DEMAND FOR JURY TRIAL
11          Pursuant to Fed. R. Civ. Proc. 38(b), Plaintiffs demand a trial by jury on all issues
12   so triable.
13   DATED: March 7, 2022                                   Respectfully submitted,
14
15                                                          KNEUPPER & COVEY, PC

16
                                                            /s/Kevin M. Kneupper
17
                                                            Kevin M. Kneupper, Esq.
18
                                                            Attorneys for Plaintiffs Janet Sihler
19                                                          and Charlene Bavencoff and the
20                                                          putative Class
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                        EXHIBIT 1
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        Subscription Traps and Deceptive
          Free Trials Scam Millions with
            Misleading Ads and Fake
            Celebrity Endorsements



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C. Steven Baker stbaker@bbbinc.org                          Issued December 2018
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     Introduction

     Y
             ou’ve seen them on the internet: ads or links leading
             to pictures of celebrities and products that sound
             intriguing. The ads claim these “miracle” products will
     help you lose weight easily, combat wrinkles or whiten teeth.
     Often, fraudulent operations involved with these types of
     ads employ the latest internet marketing techniques and
     professional looking websites.
        You may be enticed to try these products through a
     “risk-free” trial. You might think they seem like a good deal.
     You only have to pay $1.95 for shipping and handling. The
     claims look plausible, and celebrities would not endorse a
     product unless they believed it works. There may be a risk
     that the product doesn’t work as claimed, but it costs next
     to nothing to ﬁnd out. Just enter your name, address and
     credit card number and act quickly; supplies are limited.
        Better Business Bureau’s (BBB’s) in-depth investigative
     study found that many of these free trial offers are not
     free. They do not just send free product samples to try. If
     you can locate and read the ﬁne print on the order page,
     or the terms and conditions buried by a link, you’ll discover
     that you may have only 14 days to receive, evaluate and
     return the product to avoid being charged $100 or more.
     In addition, the same hidden information may state that
     by accepting the offer, you’ve also signed up for monthly
     shipments of the products. Those also will be charged to
     your credit card and become subscription traps. Many
     people ﬁnd it difficult to contact the seller to stop recurring
     charges, halt shipments and get a refund.
        The study found that many of the celebrity endorsements
     are fake. Dozens of celebrity names are used by these
     frauds without their knowledge or permission, ranging from
     Oprah Winfrey, Chrissy Teigen and Ellen Degeneres to Mike
     Rowe, Tim Allen and Sally Field. Sometimes the ﬁne print
     even admits these endorsements are not real.
        BBB receives complaints from free trial offer victims
     nearly every day and warns consumers to use extreme
     caution before agreeing to the offer and entering their            new products. Credible companies make sure consumers
     credit card information. The chance of encountering this           understand what they are signing up for and do not hide
     type of deception is high; they have infested the internet         key information.
     and social media. Solving this issue will require widespread         Megan Olsen at the Council for Responsible Nutrition,
     education, law enforcement and work by credit card                 the trade association for the major dietary supplement
     companies to recognize these types of fraudulent activities        companies, says, “No legitimate company selling dietary
     and deter access to the credit card system.                        supplements would engage in bogus free trial offers, trick
                                                   Losses in cases of   people into subscriptions for continuing shipments, make
                                                this type pursued       outrageous unsupportable claims for products, or employ
                                                by the Federal          the names of celebrities without permission. In fact, we work
                                                Trade Commission        with BBB to identify bogus product claims and encourage
                                                (FTC) over the          law enforcement action against deceptive practices.”
                                                last ten years total      The fraud involves a variety of players, from those who
                                                more than $1.3          obtain the products to advertisers, shippers and credit card
                                                billion. Fraudsters     processors. But locating these operations can be elusive and
                                                have created a          identifying those behind them challenging.
                                                global multi-billion      This study shows the scope of the problem, describes the
                                                dollar industry.        components that make fraudulent operations successful,
                                                   Free trial offers    discusses efforts to combat this deception and offers
                                                can be legitimate       recommendations.
                                                ways to introduce



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 Scope of the problem
 How large is the fake free trial offer
 industry?
   The problem is growing. Available data from the FTC
 shows that complaints about “free trials” more than
 doubled between 2015 to 2017, though not all people who
 complain actually lose money. Victims in 14 resolved FTC
 cases lost $1.3 billion. There may have have been more than
 a million victims just in those cases.
   BBB has identiﬁed 36,986 complaints and Scam
 Tracker Reports over the last three years, though not all
 involve monetary loss. Consumers reporting to BBB lost an
 average of $186.
   In addition, the FBI’s Internet Crime Complaint Center
 (IC3) has seen an increase in complaints about free trial
 offers.
                    IC3
 Year        Complaints        Losses
 2015           1738           $5,709,227
 2016           1927           $3,884,439
 2017          2486            $5,669,170
 Total          6151           $15,262,836                       Who are the victims of free trial offer
    The Canadian Anti-Fraud Centre (CAFC) examined               frauds?
 free trials and subscription traps in April of 2017. They          An examination of complaints and reports to BBB found
 only received 54 complaints from 2011 to 2016, but from         that 72 percent were females and 28 percent were male.
 March 2016 to March 2017 they received 518 complaints,          This may be because so many of these products are skin
 an 859 percent increase. Of the 518 complainants, 474           creams geared to that demographic. Other products may
 lost money, with a total loss of $192,419 Canadian dollars      be directed to a male audience and some, such as diet pills,
 (approximately $146,812 U.S. dollars) and an average loss of    may affect a general audience. In addition, victims appear
 CA$248.                                                         to span all income and education levels.
    The CAFC also identiﬁed 371 company names engaged               Ages of victims: The Internet Crime Complaint Center
 in free trial offers. The most common “gifts” or products       complaints are spread fairly evenly over age ranges, with a
 ordered by victims were facial and wrinkle creams.              slight increase in ages 30-39.
    This is undoubtedly a worldwide problem. UK law
                                                                                      From 2015 - 2017
 enforcement says they get complaints but “don’t have
 reliable numbers.”                                              Under 20 20-29     30-39 40-49 50-59        60+ Not given
    The Australian Competition and Consumer Commission              78     634       1303   1231   1056      1041  808
 (ACCC) has noticed a sharp increase in complaints about
 free trial offers and issued a warning about this type          Who is behind free trial offer frauds and
 of fraud in September 2018. The ACCC says: “reports             where are they located?
 to Scamwatch increase[ed] 400 percent and losses                  The FTC’s enforcement in this area strongly suggests that
 increasing a staggering 3,800 per cent so far in 2018.” The     many of the free trial offer/subscription traps enterprises
 ACCC also warned that these regularly include supposed          operate from the U.S. and Canada. FTC cases have all been
 endorsements from celebrities.                                  against U.S. enterprises except Jesse Wilms, who ran his
    These numbers most likely are low for several reasons.       operation from Western Canada. Nevertheless, these may
 First, FTC studies have found that less than 10 percent of      well use merchant processing accounts from overseas
 fraud victims report their losses to BBB or law enforcement.    banks. The CAFC’s study in April 2017 found 312 merchant
 Second, many of these products are sold internationally,        accounts from banks in 14 countries. The most common
 and victims in other countries are unlikely to ﬁle complaints   location for banks behind the credit card processing were
 in the U.S. or Canada. Complaint numbers are difficult to       China, Latvia, Canada and the UK. These companies also
 obtain because law enforcement does not yet categorize          sell extensively outside the U.S.; in one recent FTC case the
 these types of complaints separately.                           defendants claim that 93 percent of their customers are in
                                                                 other countries.




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    How Free Trial Offer Frauds Work                                  Consumer uses
                                                                      search engine
       An FTC case from 2010 may help illustrate how these
                                                                      or other high-
    free trial offer enterprises actually operate. The following
                                                                      volume site to
    contains the FTC’s evidence and allegations made in court
                                                                      ﬁnd “Acai”
    before the case ultimately settled:
       Central Coast Nutraceuticals (CCN) sold a weight loss
    pill called AcaiPure, as well as a “colon cleansing” product
    dubbed Colopure. At the time, Acai berries were all the
    rage and were supposedly a miracle diet product. Acai             Search reveals
    berries grow on Acai palm trees in South America. CCN             an acai berry
    said its AcaiPure weight loss pills contained an extract of       warning link
    Acai berries.                                                     placed and
       CCN hired “affiliates” that placed ads at popular internet     paid for by
    sites. Those who clicked on these links were ﬁrst taken to        affiliate
    “landing pages” that looked like independent news articles
    written by “reporters” who had supposedly investigated
    CCN’s diet products and, to their surprise, found they
    produced amazing results. Readers were then provided              Warning
    with a link to click through to CCN’s website. The affiliates     link takes
    were paid a commission from CCN when they got people              consumer to
    to go to the website, or when they signed up for a free trial.    a news site
    The FTC separately sued an affiliate network that was             owned by
    using this tactic to get people to CCN’s website.                 the affiliate
       CCN’s website was well designed and very professional. It      advertising
    even had a “virtual spokesperson” in a video superimposed         their product
    over the text who talked about the “beneﬁts” of the
    products. In addition, CCN’s site claimed that the products
    were endorsed by Rachel Ray and Oprah Winfrey.
       The spokesperson claimed that the pills were
    “scientiﬁcally proven to help people lose up to ﬁve times        Convinced by
    their body fat, compared to a traditional diet and exercise      the investigative
    program,” and that they enable “rapid weight loss in a           report the
    ﬁercely short time period, without any unwanted side             consumer
    effects, starvation, impossible to follow diet schemes or        clicks the
    unnecessary fatigue.” For its Colopure colon cleansing           merchants link
    product, CCN listed dramatic information about the               and purchases
    dangers of colon cancer and conveyed that its product            products
    would prevent colon cancer.
       In addition, CCN claimed that people could get a free         Merchant then
    trial of these products for only a few dollars and see for       pays the affiliate
    themselves if they worked.                                       for each purchase
                                                                     through the link
      Click here to download and view this short video of the
    speaking model and the website.

      As CCN’s video model said:                                        Customers were asked to provide their credit or debit
       “We stand behind Pure, and by doing so, we’re                 card numbers to pay $4.95, or sometimes $1.95, for the
       not even going to ask you to pay for it. That’s right.        “free” trial. Those who did were shipped a one month
       We’ll send you a risk-free 30-day supply of our               supply of the pills and were often charged $59.95 right
       incredible AcaiPure, absolutely free of charge, so            away. And CCN would continue sending – and charging for
       you can experience the amazing and incredible,                – these pills every month.
       fat-ﬁghting power of AcaiPure ﬁrst-hand without                  These terms were only disclosed in very ﬁne print if a
       any risk. All we ask for is for you to pay a small            customer scrolled down to the bottom of the order page
       shipping and handling fee of $4.95 and we’ll rush it          where customers entered their credit card number. Another
       to you right away. So, be quick. With all the media           ﬁne print statement said that by ordering, customers
       attention surrounding AcaiPure, supplies are going            agreed to CCN’s terms and conditions. You can see the ﬁne
       fast and we can’t guarantee this free 30-day supply           print by going to the end of the video.
       will still be available next time you visit us.”                 So how did the free trial actually work? Victims had to


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 receive the pills and return them within 14 days to avoid        trial offer practices with the Arizona Attorney General’s
 being charged. Of course it took several days for the            office but continued operating in violation of that court
 product to arrive, so it was really not possible for people to   order.
 try the pills and see if they worked before they had to be          Victims lost at least $80 million to CCN. The FTC sued
 sent back.                                                       the company in August 2010, and a federal court in Chicago
    The invoice victims received explained that in order          froze its assets and appointed a receiver to take over
 to return the product they had to call and get a Return          operations. One and a half million dollars was recovered to
 Merchandise Authorization Number (RMA) from CCN. But             refund to victims.
 often, CCN didn’t answer its phone number, so those were
 difficult to obtain.                                             Anatomy of the Fraud
    In addition, victims not only had to pay to ship the          Several components must come together for the fraud to
 product back, they also had to do so in a form that              be effective. These usually include:
 provided proof that CCN actually received them, such as
 certiﬁed mail. Again, victims did not learn of this condition    1. A product
 until after they had received the pills.                         2. Enticing advertising
    Many victims struggled to get a refund. And all the while     3. A website
 CCN kept shipping more bottles of pills and charging
                                                                  4. Celebrity endorsement
 customers credit cards.
    But what about the pills? The FTC alleged the Acaipure        5. Product shipping
 and Colopure pills were nearly the same pill, though             6. Payment processing
 Colopure did not contain the acai berry extract. According       7. Customer service operations
 to a medical expert assisting the FTC, there was no reason         While these functions could be done from one office,
 to think either product worked as claimed. He said AcaiPure      a variety of players often work in tandem to make the
 simply had a laxative effect and none of the ingredients         deception effective.
 could produce the weight loss effects CCN claimed. He
 also said that, contrary to CCN’s claims, there had been         1. The Product
 no scientiﬁc studies conducted on either acai berries or           To engage in a deceptive free trial offer there must
 AcaiPure.                                                        be a product to sell. Over the last ten years these have
    The FTC noted that BBB received over 2800 complaints          mostly consisted of diet pills, teeth whiteners, wrinkle and
 about CCN. The National Advertising Division of BBB              anti-aging creams and, most recently, cannabis extract
 found CCN’s claims about colon cleansing deceptive, and          products.
 although CCN promised to end those claims, it instead              Despite the fact that the pills are often sold for around
 changed the product name and continued to make                   $100 for a 30 day supply, the pills themselves are not
 the claims. Despite being sued by Oprah Winfrey for              necessarily costly. An online search for Acai berry pills
 claiming she endorsed the product, CCN continued using           found at least one web site offering pills in bulk at a cost of
 testimonials for her. CCN settled another case over its free


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                                              100 pills for three cents.
         Inside a Free Trial Scam                The claims made for the products sold through
                                              fraudulent free trials are often deceptive. The FTC has
                                              issued a guide for advertisers about weight loss claims
                                              that are basically never true, such as that a product “causes
      Consumer                                substantial weight loss no matter what or how much the
      decides they                            consumer eats.” Similarly, the FDA has warned that claims
      would like to                           made for anti-aging creams or wrinkle removal are also
      try the “FREE                           unlikely to be true.
      TRIAL”.                                    Some recent free trial offers include pills made from
                                              Cannabis extract with an ingredient called CBD. The
                                              FDA has again warned about claims made about CBD
                                              - particularly those that claim they can prevent or cure
                                              diseases.
                                                 The FDA in the U.S. and Health Canada both require
                                              that labels for dietary supplements list the ingredients
                                              they contain. Despite these requirements, how do you
                                              know that the products contain what they claim? One FTC
                                              case involved spam email selling male enhancement pills
      They expect to pay                      that were said to be “100% herbal and safe.” In fact, the
      $1.03 plus shipping.                    pills contained sildenaﬁl (the active ingredient in Viagra)
                                              which can pose a health risk and requires a prescription.
      When in actuality                       The company also claimed to sell generic versions of
      they are paying                         prescription drugs that were FDA approved. However, the
      $94.31 for a trial pack                 pills, shipped from India, were not approved by the FDA
      and an auto monthly                     and were sent without a required prescription. A recent
      renewal subscription                    article in Scientiﬁc American found that hundreds of
      to Product A.                           dietary supplements actually contain prescription drugs.
                                                 Advertising. In order to get victims to decide to try a
                                              “free trial,” these frauds often make extreme claims for the
                                              supposed merits of their products. In addition to claims
                                              that they are “miracle” products, medical breakthroughs or
      Consumer begins to                      that new science proves that they work, deceptive claims
      complete checkout.                      are often conveyed in “testimonials” from supposedly
                                              happy customers or, as discussed below, endorsements by
      An additional                           celebrities or other trusted ﬁgures.
      $94.31 for a trial                         Substantiation. Central to all consumer protection laws
      pack and monthly                        on advertising is the principle that claims for products
      subscription to                         must be truthful and substantiated. For some claims,
      Product B is added                      absolute truth may be difficult to establish, and in those
      to the total without                    cases advertisers must be able to back up their claims with
      the consumer’s                          “substantiation.” These are basic principles of advertising
      knowledge.                              law supported by the FTC, the state attorneys general and
                                              BBB. Here is the FTC policy statement on substantiation.
                                              Under Canadian law, as well, companies must have
                                              adequate and proper testing to support their product
      The total cost is                       claims. Some FTC free trial offer cases have challenged
      $188.26 for the                         product claims while others have focused solely on the
      consumer trial                          deceptive free trial marketing.
      packs and monthly                          So what sort of substantiation, or support, must
      subscriptions to                        advertisers have before they make claims for their
      Products A and B.                       products? Testimonials from “happy” customers or popular
                                              articles will not suffice. Most claims about diet pills, wrinkle
      Much higher than the                    creams or other products sold as “free trials” are going
      expected $1.03 plus                     to require some sort of clinical study or other scientiﬁc
      shipping.                               evidence. Needless to say, many of the “miracle” claims
                                              made for products sold through free trial offers lack any
                                              such support, and defendants in the FTC cases have made
                                              few attempts to justify the claims they make.


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                                                                 on domains with names like “channel5healthnews.com;
                                                                 dailyconsumeralerts.com, and online6health.com.” these
                                                                 websites often include falsiﬁed celebrity endorsements
                                                                 and fantastic claims about products. Some had the term
                                                                 “advertorial” at the top of the page, but the FTC alleged
                                                                 that this term did not reduce the deception. In addition,
                                                                 the comments supposedly posted by satisﬁed users at the
                                                                 bottom of the page were phony.
                                                                    These articles included links to the domains where users
                                                                 could order “free trials” of the products.
                                                                    In 2011, the FTC sued ten different affiliates who directed
                                                                 traffic to fake articles with deceptive ads.
                                                                    Emails. Claims for bogus free trials may also come by
                                                                 email. Many people have received emails that appeared
                                                                 to be from an acquaintance, and contain only a link in the
                                                                 email body. These are sent by fraudsters, some of whom
                                                                 also work as deceitful affiliates. The links in the emails often
                                                                 take users to sites selling products with free trial offers. This
                                                                 is not a legitimate marketing technique; sending unsolicited
                                                                 email is a crime.
                                                                 3. The web page
                                                                   After clicking through from ads or landing pages by
                                                                 affiliates, victims arrive at the web page where they can
                                                                 get the free trial of the product. As noted in the following
                                                                 section, these may have pictures of celebrities that
                                                                 supposedly endorse the products. In some cases, they
                                                                 claim that a celebrity has left their job to launch a new skin
                                                                 care business, or that celebrities have invested their own
                                                                 money in the business.
                                                                   The web pages appear professional. They often try to
 2. Deceptive Affiliate Marketing                                create a sense of urgency by claiming limited supplies
    Many fraudsters offering fake free trials drive traffic to   are available. Sometimes, they also have
 their websites by using display ads and sponsored content.      “countdown clocks” indicating that the
 In addition, BBB found that nearly 30 percent of victims        offer will expire shortly if the
 encountered these ads on social media.                          consumer does not act
    For example, the “one tip for a tiny belly” ad has been      immediately.
 used to promote free trial offers. As described in a              Customers are required
 Washington Post article, the FTC found that it led users to     to enter their address and
 a health-related fake free trial.                               payment information. If any
    Many fake free trial offers use affiliate networks to        disclosures letting people
 advertise their products. Someone who wants to drive            know that they have only a
 traffic to their website hires an affiliate network, which      short period of time to try
 in turn hires individual affiliates to place advertising. The   the product and return it or
 affiliates often buy space for ads or sponsored content         be charged, or that additional
 on popular websites. Clicking on one of these ads will
 take people to a website where products are sold, or to a
 “landing page” that then refers users to the main site for
 the product. Commissions are paid to the affiliate network,
 which in turn pays the affiliates. Affiliates can either be
 paid per click or per order placed. Commissions for these
 misleading “free trial” offers can be $30 to $50 for every
 person who signs up.
    Often, deceitful advertisements for these offers use
 landing pages that are designed to look like consumer
 articles from reputable news sites. In one offer, the
 articles promoted Acai berry diet pills. The fake articles
 appeared to be from news websites, and were hosted



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    supplies will be shipped monthly at a
    recurring cost, are on the landing page, they
    are often in very ﬁne print and victims may
    have to scroll down to the bottom of the
    screen to encounter them.
      These sites sometimes tell people that by                     offer
                                                                      ff mean to the   h public
                                                                                              bli that
                                                                                                   h they
                                                                                                       h can get a ffullll refund,
                                                                                                                             f d ffor
    entering their information they are agreeing to the terms       any reason, if they are unhappy with the purchase. Many
    and conditions which can only be seen if you click on a         free trial offer scams refuse to give refunds.
    hyperlink and read pages of legalese. In some cases, people        These guides also state that an ad mentioning a
    may be asked to check a box that they have read the terms       satisfaction guarantee or similar offer should inform
    and conditions. Most likely, people don’t actually read the     consumers of any material conditions or limitations on the
    terms and conditions. As an April Fool’s stunt, one online      offer. For example, a restriction on the offer to a speciﬁc
    game site inserted a clause saying that by placing an order     time period, such as 30 days, is a material condition that
    visitors were signing over their immortal soul. Very few        should be clearly disclosed. Failing to disclose terms
    people even noticed it.                                         adequately is deceptive and therefore, illegal.
      It is illegal to offer a satisfaction guarantee, money back      It is also illegal to trap people into continued monthly
    guarantee or free trial offer unless purchasers can get         billing without full disclosure in advance and a simple
    a full refund. Terms must be clearly disclosed. The FTC         way to cancel. The U.S. has a speciﬁc statute addressing
    has advertising guides, compilations of rules developed         this situation. Adopted at the end of 2010, the Restore
    through decades of law enforcement, that directly address       Online Shoppers Conﬁdence Act (ROSCA) followed
    free trial offers. The same provisions are contained in         FTC hearings on negative option issues on the internet.
    BBB’s Code of Advertising. They state that claims of a          It helps consumers avoid subscription traps. ROSCA
    satisfaction guarantee, money back guarantee or free trial      addresses recurring billing, and not just for free trial offers.


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 It also covers repeated billings for things such as health         4. Celebrity endorsements
 clubs, dating sites, book/magazine clubs, cooking or other           One of the oldest tactics in advertising is to claim that
 products sold on television.                                       a celebrity uses the product. Celebrities are often paid for
 There are three main ROSCA requirements.                           endorsing legitimate products.
 1. Such offers must “clearly and conspicuously” disclose             Another basic rule of advertising law is that the
    all material terms of the offer BEFORE getting a                endorsement must be real. In the case of the free trial
    consumer’s billing information. So what does clearly            offers, often the fraudsters simply obtain pictures of
    and conspicuous mean? It basically means something              celebrities and claim that they tried the product and
    that people can easily see and understand. The FTC has          endorse it. Several of the FTC’s free trial offer cases
    provided some guidance on how to do this. Important             have directly challenged the claims that celebrities have
    information can’t be hidden in a hyperlink to terms and         endorsed the products when they actually have not.
    conditions, in ﬁne print, or in a footnote.                       In some cases, the deceptive websites even have ﬁne
 2. Companies must get a “consumer’s express informed               print admitting that the claimed endorsement is not real.
    consent” before charging people. In other words,                For example, a website claiming that Joy Behar was leaving
    consumers must affirmatively agree to the program of            “The View” to set up her own line of skin-care products
    regular charges and understand them.                            actually contained this ﬁne print disclaimer, posted
 3. There must be a “simple mechanism” for a consumer to            inconspicuously:
    “stop recurring charges.” California has its own law on            “This website is not a source of facts or real
    auto renewals which has similar requirements.
                                                                       information. All the content featured on our
    Canada does not have a law as speciﬁc as ROSCA,                    website is artiﬁcial and falls under the umbrella of
 though general principles of consumer protection law                  ﬁction. … Any celebrities shown or mentioned on
 should reach the same result. It is illegal to create the false       this page do not endorse this product.” (emphasis
 or misleading general impression that consumers can try a             added)
 product for free, only paying for the shipping costs, when
                                                                       One such website is still live, claiming all ﬁve Shark Tank
 in reality they will be charged the full price of the product if
                                                                    judges invested in a product, and that its product is used
 they don’t call and cancel within a certain number of days.
                                                                    by celebrities. Fine print at the bottom states that it is all
 The truth about how these offers work is often buried in
                                                                    a fake. An internet search of one picture used shows the
 the difficult to read and understand terms and conditions,
                                                                    same picture being used for dozens of other products.
 or ﬁne print. The same terms and conditions will often
                                                                    Similar claims about people leaving to form their own skin
 state that the consumer has been signed up for a monthly
                                                                    care companies have used the names of Joanna Gaines;
 subscription to the product.
                                                                    Marc Zuckerberg’s wife Priscilla Chan, Sean Hannity’s
    The Competition Bureau, the Canadian agency that
                                                                    wife Jill Rhodes, and Lara Spencer from Good Morning
 addresses false and misleading conduct in the marketplace,
                                                                    America. Similar issues involve celebrities in Canada.
 says that deceptive and misleading conduct in the
                                                                       The Australian Consumer and Competition Commission
 digital marketplace is a priority and that they are actively
                                                                    issued a warning about the use of celebrities being used
 examining claims made to the public that might raise issues
                                                                    to endorse fake free trial offer products on September 24,
 under Canadian law.
                                                                    2018. They state that these fake offers have used the names


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    of: Cate Blanchett; Deborah Knight (Nine News Sydney
    presenter); Delta Goodrem; Dr David Sinclair (Head of
    Ageing Lab UNSW); Dr Oz; Emma Thompson; Georgie
    Gardner (Today Show); Jessica Rowe (Studio 10); Kyle
    Sandilands; Lisa Wilkinson (Ch 10); Mark Shuttleworth
    (BBC/CNN); Meghan Markle; Mikhail Varshavski (Dr
    Mike – US Celebrity); Nicole Kidman; Oprah; Sally Field
    (American actress); Sonia Kruger (The Voice, Today Extra);
    and Steve Baxter (Shark Tank).
      In addition, Clearwater, Florida BBB has received
    complaints about free trial offers that claim endorsements
    by: Tim Allen; Christie Brinkley; Priscilla Chan; Chelsea
    Clinton; Ayesha Curry; Leonardo DiCaprio; Ellen
    DeGeneres; Christina El Moussa; Sally Field; Joanna
    Gaines; Kathy Lee Gifford; Lori Greiner; Dr. Steve Gundry;
    Mariska Hargitay; Laura Ingraham; Angelina Jolie; Mila
    Kunis; Ashton Kutcher; Matthew McConaughey; Marie
    Osmond; Victoria Osteen; Dr. Oz; Sarah Palin; Shark
    Tank; Pauley Perrette; Robertson family of Duck Dynasty;
    Kelly Ripa; Gwen Stefani; Martha Stewart; Chrissy Teigen;
    Ivanka Trump; Melania Trump; Vanna White; Oprah
    Winfrey; Giada De Laurentis; Good Morning America; and
    Facebook.
      Toronto Star, Canada’s largest daily newspaper, recently
    published an article describing fake celebrity endorsements
    and subscription traps.


                                                                  5. Product shipping
                                                                    The free trial offer operations also have to get the
                                                                  product shipped to victims. Often, fraudulent free trial
                                                                  operations use fulﬁllment companies to ship the products
                                                                  and, presumably, accept returns.
                                                                    One would think it would be easy to identify these
                                                                  companies. After all, postage has to be paid and most
                                                                  mail has a return address. And most products we receive
                                                                             contain an invoice from the seller. Because the
                                                                             web pages where victims place orders typically
                                                                             d
                                                                             don’t  include physical addresses, the only
                                                                             a
                                                                             address   victims may have is the address of the
                                                                             fu
                                                                             fulﬁllment   company. But those addresses may
                                                                             e
                                                                             end  up being post office boxes or mail boxes etc.
                                                                             a
                                                                             and  not the actual location of the warehouse.
                                                                                For example, BBB in Clearwater, Florida
                                                                             id
                                                                             identiﬁed   a fulﬁlment company they have tied
                                                                             to 447 different products sold through deceptive
                                                                             free trials. They have received 2900 complaints
                                                                             fr
                                                                             a
                                                                             about these products from 2017 to July 2018.
                                                                             BBB for Central Ontario has similarly warned of
                                                                             B
                                                                             fu
                                                                             fulﬁllment    centers in the Toronto area.
                                                                            6. Payment Processing
                                                                            6
                                                                              Credit and Debit cards. For bogus free trial
                                                                            offers, the payment methods of choice are credit
                                                                            o
                                                                            c
                                                                            cards and debit cards. Victims that have paid by
                                                                            c
                                                                            credit card should ﬁle a complaint at bbb.org
                                                                            a
                                                                            and contact their card issuer using the phone
                                                                            n
                                                                            number on the back of the card, and contest the
                                                                            charge, a process called a chargeback.



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                                                                   The credit card companies and payment networks do
                                                                not want to support fraudulent activity, and they regularly
                                                                terminate merchant accounts of fraudulent operations
                                                                when they detect them. In 2016 the Canadian Antifraud
                                                                Centre (CAFC) began getting complaints from people who
                                                                had large charges on their credit cards bills after visiting
                                                                Costco’s website. What they learned was that victims at the
                                                                site were seeing pop-ups asking them to do a short survey.
                                                                Because the survey mentioned Costco, victims believed
                                                                that this was by, or authorized by, Costco, and when they
                                                                saw a free trial offer for wrinkle creams they often used
                                                                their credit card for a small “shipping and handling” charge.
                                                                These victims then learned that they had fallen for a
                                                                subscription trap.
                                                                   The CAFC was able to identify 400 or so merchant
                                                                accounts being used in this ploy and reached out to
                                                                MasterCard and Visa. Because these sites were not
                                                                affiliated with Costco, the merchant accounts were shut
                                                                down.
                                                                   So how does a credit card company know if a company
                                                                accepting credit card transactions is a scam? As a ﬁrst step,
                                                                the company can review the application for a merchant
                                                                account and inspect a company’s website before letting
                                                                them join the system. Additionally, credit card companies
                                                                track chargeback requests; if chargebacks constitute over
                                                                1 percent of transactions from a given merchant, that
                                                                raises red ﬂags, more investigation or ﬁnes, and possibly
                                                                termination.
                                                                   Visa has rules that apply to merchants who accept their
                                                                cards as payment. Merchants that accept Visa cards must
                                                                ensure that customers have a fair chance to review all terms
                                                                and conditions they are agreeing to before completing any
                                                                transactions. These rules apply worldwide.
                                                                   Speciﬁcally, merchants must properly disclose any
                                                                refund or exchange policies to the cardholder at the time
                                                                of the transaction. This also would include any terms about
                                                                ongoing transactions if the cardholder fails to cancel within
    Unfortunately, credit card companies have often been        the given time frame. For example, for internet transactions,
 reluctant to provide refunds to victims of free trial offers   merchants must properly disclose terms on how to avoid
 or subscription traps. The FTC cases regularly found that      charges for free trials or subscriptions for continuing
 large numbers of people have been unable to chargeback         shipments on their web pages before ﬁnal checkout and
 successfully, and the same holds true for those who have       include a “click to accept” button, checkbox or other
 complained to BBB. More than 1000 victims who had              acknowledgement. When these terms are not disclosed,
 previously complained about deceptive free trial offers to     Visa recommends that victims contact the bank that issued
 BBB responded to a recent survey. Only 57 percent ﬁled for
 a chargeback with their credit card company. Of those who
 did request a refund, 44 percent did not receive one and 14
 percent got a partial refund. It may be necessary for credit
                                                                                                          10%
 card issuers to review their chargeback policies as they             Credit Card Refund           14%
 relate to questionable advertising tactics.
    A story on free trial offer scams by the Canadian
                                                                      Requests and
 Broadcasting Company (CBC) in 2017 found that credit                 Results After Free                           57%
 card companies were not authorizing chargebacks even                 Trial Fraud                   19%
 when the reality of these situations was disclosed only in
 the terms and conditions. As noted above, legally these              Didn’t ask for refund
 types of key terms must be disclosed clearly and where               Didn’t receive requested refund
 people can actually see and understand them.                         Received partial refund
    In addition, the scams employ a variety of methods to try
                                                                      Received full refund
 to evade credit card companies’ anti-fraud policies.


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                                                                      companies. Even without the aid of a dodgy intermediary,
                                                                      fraudsters can ﬁnd ways to evade detection. A defendant
                                                                      in another FTC case employed 51 shell corporations to get
                                                                      merchant accounts and avoid detection and lied to banks
                                                                      on his merchant account application.
                                                                         Having “clean” websites. It is illegal to bury key terms
                                                                      in ﬁne print or other places where victims are unlikely to
                                                                      see them. In another FTC case the company had different
                                                                      versions of its websites. If consumers simply typed in the
                                                                      URL of its websites, a version appeared with prominent
                                                                      disclosures. But consumers that arrived at the website after
                                                                      clicking through from an affiliate site saw something very
                                                                      different and would not have seen the disclosures. This can
                                                                      also make it difficult for victims to show that they have
                                                                      been deceived if they later go to the websites after ﬁnding
                                                                      unexpected charges on their cards.
                                                                         Laundering. What if the credit card charges pass through
                                                                      the account of a merchant that has lots of legitimate
                                                                      business? Doing this can keep overall chargeback rates
                                                                      down. This tactic is illegal under the FTC’s Telemarketing
                                                                      Sales Rule.
                                                                         Changing product names and website addresses. Some
                                                                      companies may offer the same product under a variety of
                                                                      different names and change the web pages continuously.
                                                                      Fake news or other landing pages may only appear at a
                                                                      particular web address for a couple of days. This makes
                                                                      it harder for victims, law enforcement and credit card
                                                                      companies to ﬁnd out what is really happening.
                                                                         Using offshore banks to process. In some cases, the
     their credit card and ask for a chargeback to get their
                                                                      fraudsters get merchant accounts through offshore banks.
     money back. Visa says that the burden of proof is on the
                                                                      Those banks may permit more risky behavior in exchange
     merchant.
                                                                      for charging more for the processing.
       BBB efforts to reach MasterCard were unsuccessful.
                                                                         So what is a consumer to do? Most of us don’t keep
     However, a story of these types of free trial offers by
                                                                      screen shots of the web sites we visit. But if someone
     the Canadian Broadcasting Company in 2017 states:
                                                                      can ﬁnd the site and take a screenshot, it may help with
     “MasterCard’s customer service told a marketplace
                                                                      a chargeback request. And requesting a chargeback is
     producer that consumers are responsible for ﬁnding any
                                                                      important -- not only for getting money returned, but
     charges that may be listed in the terms and conditions,
                                                                      also by helping credit card companies identify fraudulent
     even if they’re in “difficult places to see.” American Express
                                                                      operators.
     declined to comment on its practices, and Discover
                                                                         Debit cards may offer more protection against continuing
     recommends that consumers dispute charges involving
                                                                      shipments when money is drawn directly from a bank
     deceptive transactions.
                                                                      account. Regulation E implements the Electronic Fund
       Here are some ways fraudsters avoid detection by credit
                                                                      Transfer Act in the U.S. and provides special protections.
     card companies.
                                                                      Under Section 10(e):
       Using a crooked processor. Banks that offer credit card
                                                                      • First, no recurring debits can be made unless the
     processing hire Independent Sales Organizations (ISO’s)
                                                                         consumer has provided a written authorization signed
     to solicit and sign up merchants for them. The banks
                                                                         OR has similarly authenticated their agreement to be
     require that these agents comply with detailed rules before
                                                                         charged repeatedly. Electronic signatures are permitted,
     opening accounts to determine if they are legitimate and to
                                                                         but those are also subject to other rules; just clicking a
     monitor their activity for signs of fraud, such as reviewing
                                                                         box will not be sufficient.
     chargeback rates and other suspicious activity.
                                                                      • Second, no authorization is valid unless the terms are
       But what if those providing processing services are in on         “clear and readily understandable” AND they “should
     the fraud? The FTC has sued a number of these ISOs over             evidence the consumer’s identity and assent to the
     the years, often alleging that these third parties were aware       authorization.”
     of the fraud or actively assisted in helping a fraudulent        • Third, a copy of the authorization must be provided to
     company evade the rules of the credit card system. For              the consumer. Victims should complain to their banks if
     example, in one FTC case an ISO spread the credit card              they see such charges on their bank statements.
     charges over 26 merchant accounts to disguise the fraud
                                                                        The FTC has charged violations of Regulation E in several
     activity.
                                                                      of its cases.
       Getting many merchant accounts through shell


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 7. Customer Service
   Most free trial offer companies have telephone numbers
 to call, although many victims report to BBB that they
 have difficulty in getting a live person on the phone, and
 that many of those answering the calls can be quite rude.
 For the most part victims report that they are often able
 to stop future shipments and charges, but usually cannot
 get refunds for charges already made. At best victims are
 offered partial refunds.
   Free trial offer frauds have an incentive to respond to
 complaints and discourage victims from going to their
 credit card company and seeking a chargeback, because
 more complaints to the credit card company can result in
 the loss of the merchant accounts needed to process credit
 cards.

 Victim Narratives
    Rose, a nurse from St. Louis, reported seeing a social
    media ad on her phone for a skin cream product.
    It was sold by a company called Purely Organic
    Cosmetics, and the ad claimed that the product was
    endorsed by Shark Tank. Because it was just a few
    dollars to try the cream, and she said she believed
    Shark Tank was helping to market the product, she
    decided to give it a try.
    Rose said she used a preloaded Visa card with $75
    to pay $4.96 for shipping and handling on a free trial
    offer of the product. While online, she saw an offer
    for a second product for $2 shipping and handling,
    and also paid to try that product. She did not see an
    end date for the trial period, or that the company
    would continue to ship products. She thinks she may
    have clicked a box saying she agreed to terms and
    conditions, but is not sure.                              Kim, from Marin County, California, said when she
    When she told her family about the free trial             saw an online ad for a free trial of a diet product
    product she received, they warned her that it could       called Extreme Fit 180, she was impressed because
    be a scam. Rose did an internet search for Purely         the ad claimed the product was endorsed by the
    Organic Cosmetics and found lots of complaints.           entire cast of Shark Tank and they had all invested
    She said she checked her credit card balance and          in it.
    found only $1.75 remaining.                               She said the cost was only $4.95 for shipping and
    After calling the company and waiting on hold             handling, so it seemed worth a try. Before she could
    for over an hour, she was told she could not get a        check out, she had to view a pop up page for an
    refund, and that a third shipment of products was         “Extreme Cleanse,” which she was not interested in,
    on the way. She said she was able to stop more            and another for a green tea diet supplement. She
    shipments but could not get a refund for what she         thought that at the end she could view her cart and
    already paid.                                             remove these if there was a charge because she did
    When Rose called her credit card company to               not want them. She says she did nothing to indicate
    dispute the charges, she was told that the charges        that she wanted the other items.
    were in the terms and conditions, and that because        After Kim submitted her order she said got an email
    she had accepted them, she could not get her              alert that her credit card had been charged for the
    money back. Her husband printed the terms                 two items she did not want so she immediately
    and conditions, and did ﬁnd information about             called to cancel, and was told the items had already
    continuing shipments.                                     shipped and to just keep them.
    Rose says she did try the lotion for a day or two,        Two weeks later, after Kim found a charge of $79
    but didn’t notice anything special and she threw the      on her credit card from the diet product company,
    products away.                                            she called the company and left messages, but no
                                                              one returned her call. The third time she reached a


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                                                                products appeared two weeks later. One charge was
                                                                from San Diego and the other was from Texas. She
                                                                said she called the phone number on the invoice
                                                                to cancel and was told that she only had 14 days to
                                                                cancel, and she was calling on day 15. Stacy said she
                                                                never saw disclosures that she had 14 days to cancel.
                                                                After two more calls to the company, they refunded
                                                                half of her money.
                                                                Stacy said that she would like to tell this company
                                                                that they are lying crooks and to stop ripping people
                                                                off.

                                                                Julie works in HR in Omaha. In 2017, she reported
                                                                that she saw an article on Facebook about a
                                                                UCLA student who discovered an excellent way
                                                                to lose weight by using a product called Garcinia
                                                                Cambogia. She thought it would be worthwhile to
                                                                get a free sample by paying $4.95 for shipping, so
                                                                she entered her credit card number. She saw no
                                                                terms or conditions.
                                                                She tried the pills for a few days and said she didn’t
                                                                notice any results. She then received a second
                                                                bottle of pills in the mail and thought it was a
        woman who was quite rude, telling her “Well, did        mistake, so she emailed the company and was told
        you read the ﬁne print? Your 14 day free trial is up    to call customer service. After spending 40 minutes
        and now you owe this.” Kim explained that she had       explaining that she did not want more pills and
        called immediately to cancel, and the operator told     wanted her money back, the operator told her that
        her notes showed that she had only cancelled the        “you accepted the terms, and there is nothing we
        orders for the Extreme Cleanse and the Green Tea        can do.” They told her that the company could end
        product. Kim said no, she had canceled everything       her “membership” and stop shipping more, but she
        and was going to complain to BBB. The operator          could not get her money back. She lost $184.
        said she would cancel her account, but would not        Julie went back to the web page where she had
        refund her money.                                       placed her order, and saw that the conditions of the
        After a quick internet search, she found complaints     trial and continuing shipments were mentioned in
        from other people that had the same experience.         ﬁne print on a gray background. She says she would
        She called BBB and her bank to complain; the            never have provided her credit card information for
        charges later were removed.                             the trial if she had seen the terms before purchasing.
        A box with the three products arrived, and she said     She talked to a representative from her bank, who
        she threw them away.                                    said there wasn’t really anything she could do. She
                                                                complained to BBB. She also found and joined a
                                                                Facebook group with almost 1500 members called
        Stacy, from Chicago, reported that she saw an           “STOP GARCINIA CAMBOGIA FREE TRIAL SCAM.”
        internet offer for a new skin care product, Luster      She says that many of the experiences discussed in
        Skin, from Joanna Gaines. It was a free trial, and      the group are very similar to hers.
        customers only had to pay shipping and handling.
                                                                Julie told BBB she wonders how the people at this
        She entered her address and credit card information
                                                                company can sleep at night, and would like to tell
        but didn’t think the order went through, so she went
                                                                them to quit stealing from people.
        back to the site and in minutes the product had a
        different name. Stacy entered her information again
        and saw the same product being endorsed by Kate         Renee teaches ﬁfth grade in Texas. She stated that
        Middleton and Sally Field. She captured screenshots     in December 2017, she saw an ad on Facebook
        of some of the web pages that featured Sally Field.     stating that Joanna Gaines was promoting a new
                                                                skin care line. She said she thought it was worth
        She said she received two different products, a
                                                                $5.95 to get a sample of an anti-aging skin cream
        serum and an eye cream. She tried the products and
                                                                product to see if she liked it. She looked to see if she
        concluded that they didn’t work. Her credit card
                                                                was signing up for something unexpected and didn’t
        statements had small initial charges for the shipping
                                                                see anything, so she entered her debit card to get
        and handling, and then two $95 charges for the
                                                                the trial item.


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    The next day she saw charges on her bank                    doing business and to report fraud.
    statement for $109 and $103. She talked to her                BBBs have been able to tie many products and
    bank, which helped her call the company. Renee              companies to fulﬁllment operations that ship products
    told the company that she had not authorized these          for different companies. In fact, one fulﬁllment company
    charges and did not want the products. She was              has shipped over 400 of these products for many of the
    told that she would have to pay a $40 restocking            businesses in this category.
    fee to return the products, and would then get a              In addition, each of the local BBBs has a person
    refund in 7-10 days. Renee also went to the website         assigned to advertising review, and consumers can submit
    of the company and saw that there were prominent            questionable ads for free trials or other issues to BBB Ad
    disclosures about when the product had to be                Truth for review.
    returned to avoid charges and that more would be              BBB has issued warnings about free trial offers in
    shipped to her monthly. Renee said she felt certain         Ontario; Northeast Florida; North Carolina, North
    that these disclosures were not on the ad she saw           Alabama; Central Georgia; Montana; New York; and
    when she ordered.                                           Delaware. Many other BBB offices have worked with the
    She also reported that she found a blog by Johanna          media to warn about this type of fraud.
    Gaines warning the public that she had not
    developed cosmetic products.                                Law Enforcement
    When Renee received the products, she shipped                 Over the last ten years, the Federal Trade Commission
    them back to the company by certiﬁed mail. She              has been very active in challenging bogus free trial offers.
    did not try the product because she said she felt the       Many of these, but not all, have also included continuing
    company was a scam. Despite calling the company             monthly shipments and charges for products. The FTC has
    several times, she has never received a refund. Her         consistently warned consumers about this type of fraud.
    bank ensured that her card could not be charged             They even produced a video on this subject.
    again. She complained to BBB, but the company still           Products involved have included diet pills, tooth
    did not give her money back.                                whiteners, offers of supposedly free government grants,
                                                                colon cleansers and wrinkle creams. Most have involved
 Efforts to combat the fraud                                    advertising and sales exclusively over the internet, but one,
                                                                Berkeley, also advertised extensively on television.
 BBB’s Role                                                       BBB has identiﬁed 16 cases of this type that the FTC has
    Before doing business with any company it is a good         brought over the last ten years. In many of these cases,
 idea to check them out with BBB. There are more than 100       courts have entered injunctions, freezing assets of the
 BBBs across the U.S. and Canada, some also with regional       companies and their owners and effectively putting them
 offices, and all keep track of and list information online     out of business.
 about businesses, not just ones that are “members” (known        Many of these cases have been settled; others won in
 as Accredited Businesses). Visit BBB.org and enter the         court. One, Triangle, is still litigating and has been appealed.
 name of a company to learn more. Make sure to search             Losses to victims can be calculated, even in a settlement,
 nationwide, not just in your locality.                         because the FTC usually gets a judgment for the full
    To be accredited, businesses must agree to comply with      amount of losses, subtracting refunds from the company or
 BBB Standards for Trust. Accredited businesses can use         refunds obtained from credit card companies, but suspends
 the BBB seal on their websites or in their advertising. But    that judgment if defendants provide available remaining
 beware, there are companies out there that will use the        assets for the FTC to return to victims. Much of the money
 BBB seal without permission. If any doubt exists, check        made by such operations is spent along the way so there is
 the business out on the BBB.org website. Businesses that       rarely enough money to provide full refunds to victims.
 do not comply with BBB’s standards are ejected from              Total losses in 15 cases resolved to date total $1.3 billion. If
 BBB. Accredited businesses must also agree to resolve          average losses were $100 (and they could be higher), that
 complaints.                                                    would mean there could be 13 million victims involved in
    BBB also collects and tries to resolve complaints           these cases. See a list and descriptions of the these cases
 about businesses that are not accredited. BBB has seen         at bbb.org/stlouis/ftc-free-trial-offer-cases
 thousands of complaints about misleading free trial offers.      State cases. Several state attorneys general have ﬁled
    The FTC regularly reaches out to BBB for copies of          civil actions jointly with the FTC. In addition, another case
 complaints or other data on companies it investigates. In      against free trial offers was ﬁled by the Santa Monica,
 its cases the FTC often says that dishonest companies only     California District Attorney’s office. Beachbody was a
 give refunds if consumers report them to BBB or a law          settlement announced in 2017. The company sold exercise
 enforcement agency.                                            videos, supplements and weight loss products. The order
    In addition, BBB assigns businesses a letter grade, from    required a separate check box for auto renewals, and the
 A+ to F, based on complaint activity, regulatory actions       company paid a $3.6 million ﬁne.
 and other factors reﬂecting the BBB’s opinion of how the         Criminal cases. After the FTC has taken civil action, it
 business is likely to interact with its customers. Consumers   may refer cases for criminal prosecution. BBB is aware of
 are encouraged to check out a company’s rating before          two cases so far where that has occurred. Steve Warshak,


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          owner of Berkely, was convicted and sentenced to ten                   What should you do if you believe you have been a victim
          years in prison. Jeremy Johnson, the owner of Iworks, was              of a free trial offer fraud? You have options:
          sentenced to 11 years in prison after appeal.                          • Complain to the company directly.
             In addition, a recent indictment in federal court in                • If that is not successful call the customer service number
          Tennessee charged several businesses and individuals                     on the back of your credit card to complain to the bank.
          over a massive healthcare fraud. The criminal charges                  • Complain to www.bbb.org
          also contended that the same enterprise was advertising                • Report the fraud to www.bbb.org/scamtracker
          “free trial offers” for “millions of dollars” worth of products        • Report it to the Federal Trade Commission (FTC) or
          such as weight loss pills, skin creams, and testosterone                 call 877-FTC-Help
          supplements.                                                           • Report it to the Internet Crime Complaint Center, or
                                                                                   IC3
                                                                                 • Report it to the Canadian Anti-Fraud Centre. Toll free
                                                                                   from the US at 1-888-495-8501.
                                                                                 • In Canada you can also complain directly to the
                                                                                   Competition Bureau.
                                                                                 • Report suspicious, confusing or misleading ads to BBB
                                                                                   Ad Truth.


                       hen buying things over the phone or internet, consumers      such upsells, and the ROSCA law addresses it. For internet
               W       also are often offered additional products or services
               - a practice known as an “upsell.” For example, someone
                                                                                    transactions, any upsell by third parties must ﬁrst disclose
                                                                                    clearly and conspicuously all material terms of the transaction,
     UPSELLS




               may see an item advertised on television and call to place an        a description of the goods or service being offered, and what
               order. After providing their credit or debit card number the         the cost is. They also must get the full credit or debit card
               company may offer to send an additional product, perhaps             number from the consumer, their name, address and a means
               by just saying: “and today we are also going to send you a           of contacting them.
               second product to try” with no mention of the price. Because            For telephone upsells, such as when you call to buy
               the company already has your credit card number, they may            something advertised on TV, the rules are a bit different. If
               simply ship the product and charge you for it.                       during the call, you are offered a “free trial” of an additional
                  Or, the company you reached out to may simply transfer            product, companies must get at least the last four digits of the
               you to another company and it does the upsell. If the company        debit or credit card, and obtain your express informed consent.
               you originally contacted shares your credit card number with a       They must record and keep an audio recording of the entire
               second company, they may be able to charge you even if you           sales call, not just the part where you agree to the charge.
               don’t know the full price and didn’t intend to agree.                   If the telephone call does not involve a free trial offer the
                  Congress has responded to widespread complaints about             requirements are not as strict.



          Recommendations
          • BBB urges credit card companies to do more to ensure
            victims receive chargebacks where key conditions
            are not adequately disclosed. Because this fraud is
            dependent on the use of credit cards, more effort is
            needed to identify and combat deceptive free trial offers
            employing credit card systems. Also, it would helpful if
            they could do more to educate their customers.
          • Additional criminal prosecutions of this conduct are
            needed. The FTC and BBB have done much to address
            the issue, but do not have the ability to bring criminal
            charges. Only criminal prosecutions are likely to deter              By Steve Baker, BBB International Investigations Specialist
            this type of fraud.
          • Social media sites should do more to curtail such                    BBB appreciates assistance provided by FTC and BBB
            deceptive advertising.                                               Clearwater.
          • International cooperation is needed to combat this
            fraud. U.S. and Canadian law authorities need more                   BBB and the Torch Logo are registered trademarks of the Council of
            information about victims from other countries. In                   Better Business Bureaus, Inc . All other trademarks, product names,
            addition, evidence and other key information may be
                                                                                 logos, and brands depicted herein are property of their respective
            located in a variety of countries around the world.
                                                                                 owners and are used for identiﬁcation purposes only and not to imply
          • More consumer education is needed from news media
            and consumer groups like BBB.                                        endorsement.


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                        EXHIBIT 2
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     Charlene Bavencoff, and the putative Class
 7
 8
 9                           UNITED STATES DISTRICT COURT
10                          SOUTHERN DISTRICT OF CALIFORNIA
11
12   JANET SIHLER, Individually and On                Case No.:
13   Behalf of All Others Similarly Situated;
     CHARLENE BAVENCOFF, Individually                 DECLARATION OF KEVIN M.
14   and On Behalf of All Others Similarly            KNEUPPER RE: VENUE PURSUANT
15   Situated,,                                       TO CAL. CIV. CODE § 1780(d)
16                                      Plaintiffs,

17   v.
18   THE FULFILLMENT LAB, INC;
     RICHARD NELSON; BEYOND
19   GLOBAL INC.; and JOHN DOES 1-10,
20                                    Defendants.
21
22
23
24   I, Kevin M. Kneupper, do hereby declare as follows:
25         1.     I am a partner at Kneupper & Covey PC, counsel of record for Plaintiff Janet
26   Sihler and Charlene Bavencoff. I am licensed to practice law in the States of California and
27   Texas. I make this declaration to the best of my knowledge, information, and belief of the
28   facts stated herein.
                                                 1
           DECLARATION OF KEVIN M. KNEUPPER RE: VENUE PURSUANT TO CAL. CIV. CODE § 1780(d)
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 1         2.     Venue is proper in this Court because Defendants are doing business in the
 2   County of San Diego, CA by selling and delivering their products there and the transactions
 3   at issue (the sales to Plaintiffs Janet Sihler and Charlene Bavencoff) also occurred in the
 4   County of San Diego, CA.
 5
 6   I declare and state under penalty of perjury pursuant to the laws of the State of California
 7   that the foregoing is true and correct, and that this Declaration was executed this 5th day
 8   of August, 2020 in Glendale, California.
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13                                                                  Kevin M. Kneupper, Esq.
14                                                                  Declarant

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           DECLARATION OF KEVIN M. KNEUPPER RE: VENUE PURSUANT TO CAL. CIV. CODE § 1780(d)
